                          UNITED STATES BANKRUPTCY COURT
                      FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

  In re:                                              Chapter 11

  ROMAN CATHOLIC DIOCESE OF                           Case No. 1:20-bk-00599 (HWV)
  HARRISBURG,

                Debtor.


                COMMITTEE’S MOTION TO FILE DOCUMENTS UNDER SEAL


           The Official Committee of Tort Claimants (the “Committee” or “Plaintiff”) of the Roman

 Catholic Diocese of Harrisburg (the “Diocese” or “Debtor”), the debtor and debtor in possession

 in the above-captioned case pending under chapter 11 of title 11 of the United States Code (the

 “Bankruptcy Code”), hereby moves this Court for an order, pursuant to 11 U.S.C. §§ 105(a) and

 107(b), Fed. R. Bankr. P. 9018-1, and L.R. 9018-1 authorizing the Committee to file, under seal,

 (i) an unredacted copy of The Official Committee of Tort Claimants’ Motion for Standing and

 Authority to Commence, Prosecute, and Settle Causes of Action on Behalf of the Debtor’s

 Bankruptcy Estate (the “Derivative Standing Motion”); and (ii) unredacted copies of certain

 exhibits attached to the Declaration of Robert T. Kugler in Support of the Official Committee of

 Tort Claimants’ Motion for Standing and Authority to Commence, Prosecute, and Settle Causes

 of Action on Behalf of the Debtor’s Bankruptcy Estate (the “Kugler Declaration”). In support of

 this motion (the “Motion to Seal”), the Committee respectfully states:

                                             BACKGROUND

           1.     The Debtor filed its petition for Chapter 11 bankruptcy on February 19, 2020 (the

 “Petition Date”). The Debtor continues to operate as a debtor in possession pursuant to sections

 1107 and 1008 of the Bankruptcy Code.



                                                  1

Case 1:20-bk-00599-HWV          Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59               Desc
                                Main Document    Page 1 of 256
            2.       The Committee and Debtor executed a confidentiality agreement (the

 “Confidentiality Agreement”) on March 13, 2020,1 in order to facilitate the transmission of certain

 Confidential Information (defined therein) including, among other things, the Debtor’s business

 records.

            3.       The Confidentiality Agreement provides that Confidential Information may be

 included in pleadings filed with this Court if such Confidential Information is filed with the Court’s

 chambers marked “Confidential Information” and with the clerk of the Court under seal.

            4.       In the Derivative Standing Motion, and the Kugler Declaration exhibits, the

 Committee cites and incorporates Confidential Information produced by the Debtor. In the

 Derivative Standing Motion and in the Kugler Declaration exhibits, the Committee has redacted

 all Confidential Information.

                                         JURISDICTION AND VENUE

            5.       The Court has jurisdiction over the Motion pursuant to 28 U.S.C. §§ 157 and 1334.

            6.       The Motion constitutes a core proceeding pursuant to 28 U.S.C. § 157(b)(2). The

 Court has authority to determine the Motion by final order.

            7.       Venue in this Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                   RELIEF REQUESTED AND COMPLIANCE WITH L.R. 9018-1

            8.       By the Motion to Seal, the Committee respectfully requests entry of an order

 authorizing the Committee to file, under seal, (i) an unredacted copy of the Derivative Standing

 Motion; and (ii) unredacted copies of certain exhibits attached to the Kugler Declaration.




 1
     Attached hereto as Exhibit A is a true and correct copy of the Confidentiality Agreement.

                                                            2

Case 1:20-bk-00599-HWV                 Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59           Desc
                                       Main Document    Page 2 of 256
        9.      The Committee makes this request not because it believes the Confidential

 Information included in the Derivative Standing Motion and Kugler Declaration Exhibits should

 be sealed from the public, but out of deference to the Confidentiality Agreement.

        10.     The Committee will provide to the Debtor unredacted copies of the Derivative

 Standing Motion and Kugler Declaration exhibits.

        11.     The Committee will retrieve from the clerk’s office any documents filed under seal

 information as soon as such documents are no longer sealed or there is a final order on the

 Derivative Standing Motion.

        12.     Contemporaneously herewith, the Committee has filed redacted copies of the

 Derivative Standing Motion and the Kugler Declaration exhibits.

        13.     Contemporaneously herewith, the Committee has filed unredacted copies of the

 Derivative Standing Motion and Kugler Declaration exhibits with the clerk’s office in accordance

 with L.R. 9018-1.

                               BASIS FOR RELIEF REQUESTED

        14.     The Committee seeks to file Confidential Information referenced in the Derivative

 Standing Motion and attached as exhibits to the Kugler Declaration under seal to comply with the

 Confidentiality Order.

        15.     Section 107(b) of the Bankruptcy Code provides bankruptcy courts with the power

 to issue orders that will protect entities from the potential harm that may result from disclosing

 certain confidential information. This section provides, in relevant part:

                On request of a party in interest, the bankruptcy court shall . . . (2)
                protect a person with respect to scandalous or defamatory matter
                contained in a paper filed in a case under this title.

 11 U.S.C. § 107(b). Similarly, Bankruptcy Rule 9018 states:



                                                  3

Case 1:20-bk-00599-HWV          Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59              Desc
                                Main Document    Page 3 of 256
                On motion or on its own initiative, with or without notice, the court
                may make any order which justice requires … (2) to protect any
                entity against scandalous or defamatory matter contained in any
                paper filed in a case under the Code.

 Fed. R. Bankr. P. 9018. 14.

        16.     Local Rule 9018-1 requires that a motion to seal include the document to be sealed.

 See Local Rule 9018-1. The motion to seal must include:

                (1) the grounds for sealing; (2) the identity of any parties, other than the
                moving party, who will have access to the documents to be sealed; (3) the
                duration of the seal; (4) the time when the movant will either unseal the
                documents or retrieve the physical documents (if any) at the conclusion of
                the matter; (5) a redacted copy of the documents sought to be sealed with
                only those redactions necessary to preserve confidentiality, made in good
                faith; and (6) a proposed order that contains language indicating the order
                is without prejudice to the rights of any party in interest, or the United States
                Trustee, to seek to unseal the documents, or any part thereof.

 Id. Further, upon filing the motion to seal, “the moving party must electronically file a copy of the

 unredacted documents sought to be sealed with the clerk’s office.” Id.

        17.     To enforce the Confidentiality Agreement, this Court has authority to restrict access

 to certain papers and grant protective orders. See In re Wells Fargo Bank, N.A., 2019 WL 642850,

 at *2 (Bankr. W.D. Pa. Feb. 14, 2019); In re Owens Corning Armstrong World Indus., Inc., 560

 B.R. 229, 237 (Bankr. D. Del. 2016) (“[A] court retains the authority to seal documents when

 justice so requires.”). If the Court determines that the documents fall within the scope of section

 107(b), “the court is required to protect a requesting interested party and has no discretion to deny

 the application.” In re Orion Pictures Corp., 21 F.3d 24, 27 (2d Cir. 1994).

        18.     The information that the Committee is seeking to file under seal—Confidential

 Information included in the Derivative Standing Motion and Kugler Declaration exhibits—was

 produced by the Debtor to the Committee pursuant to the Confidentiality Agreement. As such, the

 Committee should be permitted to file such information under seal.


                                                   4

Case 1:20-bk-00599-HWV          Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                    Desc
                                Main Document    Page 4 of 256
                                        CONCLUSION

        19.     Therefore, the Committee respectfully requests that the Court enter an order,

 substantially in the form of the proposed order attached hereto as Exhibit B, authorizing the

 Committee to file unredacted copies of the Derivative Standing Motion and the Kugler Declaration

 Exhibits under seal.

                                                 Respectfully submitted,


 Dated: December 23, 2021                        /s/ Robert T. Kugler
                                                 Robert T. Kugler (MN #194116)
                                                 Edwin H. Caldie (MN #0388930)
                                                 STINSON LLP
                                                 50 South Sixth Street, Suite 2600
                                                 Minneapolis, MN 55402
                                                 Telephone: (612) 335-1500
                                                 Facsimile: (612) 335-1657
                                                 Email: robert.kugler@stinson.com
                                                 Email: edwin.caldie@stinson.com

                                                 COUNSEL FOR THE OFFICIAL
                                                 COMMITTEE OF TORT CLAIMANTS




                                                5

Case 1:20-bk-00599-HWV        Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59               Desc
                              Main Document    Page 5 of 256
                                  EXHIBIT A
                            Confidentiality Agreement




Case 1:20-bk-00599-HWV   Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document    Page 6 of 256
                              CONFIDENTIALITY AGREEMENT
                                                                      1311-‘
        This Confidentiality Agreement(the "Agreement")is made this[ ]day of March 2020,
 by and among the Roman Catholic Diocese of Harrisburg (the "Debtor") in the chapter 11
 bankruptcy case being administered as case number 1:20-bk-00599 (the "Bankruptcy Case") in
 the United States Bankruptcy Court for the Middle District of Pennsylvania (the "Bankruptcy
 Court"), the Official Committee of Tort Claimants (the "Committee") appointed in the
 Bankruptcy Case, and the Authorized Recipients (as defined below).

                                            RECITALS

         WHEREAS, on February 19, 2020 (the "Petition Date"), the Debtor filed a voluntary
 petition for relief under chapter 11 of title 11 of the United States Code (the "Bankruptcy Code")
 in the Bankruptcy Court, commencing the Bankruptcy Case.

        WHEREAS, the Debtor continues to be in possession of its property and estate and
  manages its day-to-day business as a debtor in possession.

        WHEREAS,on March 6,2020,the Office ofthe United States Trustee for the Middle District
 ofPennsylvania appointed the Committee.

        WHEREAS, the Debtor and the Committee desire to enter into this Confidentiality
 Agreement, in order to set forth their understandings and agreements with respect to the ability of
 the Committee, its designated representatives, and its counsel or other professional advisers to
 have access to confidential information as defined in this Agreement.


                                           DEFINITIONS

          For purposes of this Agreement, the following terms have the given definitions:

          A.      "Confidential Information" shall include all documents, agreements, records,
  reports, data, forecasts, projections, business plans, interpretations, audit reports, and all other
  written, visual, or oral information, regardless of the method of memorialization or transmission,
  concerning the Debtor and provided by or on behalf of the Debtor to the Committee in connection
  with the Bankruptcy Case, which are not available to the general public(including but not limited
  to, profit and loss statements, balance sheets, comparative results of operations, and explanations
  related to the foregoing). Notwithstanding the foregoing Confidential Information shall exclude:
 (i) information that is or becomes publicly available, other than as a result of acts in breach of
  either this Agreement or other confidentiality agreements by an Authorized Recipient; (ii)
  information that is in the Authorized Recipient's or its Representatives' possession or that of its
  Representatives (as defined below) prior to disclosure by the Debtor or its professionals but not
  obtained in violation of this Agreement; (iii) information that is disclosed to an Authorized
  Recipient or any of its Representatives by a third party and not, to an Authorized Recipient's or
  such Representative's knowledge, information or belief, in violation of any confidentiality
  agreement or undertaking with the Debtor or this Agreement; (iv) information that is
  independently developed, discovered, or arrived at by an Authorized Recipient or any of its
  Representatives without violating this Agreement; or (v) any information which the Bankruptcy
  Court orders not be protected as Confidential Information or as "trade secret or confidential
  research, development, or commercial information" under section 107(b)(1) of the Bankruptcy
  Code.
 4815-0729-7718.1


Case 1:20-bk-00599-HWV         Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                 Desc
                               Main Document    Page 7 of 256
        B.     "Authorized Recipient" shall mean a party that executes this Agreement. An
Authorized Recipient may share Confidential Information with its agents, employees, directors,
officers, members, managers, partners, affiliates, professionals, advisers, and other representatives
who are informed of the confidential nature of such Confidential Information and instructed to
keep it confidential in accordance with the terms of this Agreement (the "Representatives"). The
Authorized Recipients agree to be responsible for their Representatives (other than those
Representatives who execute an Agreement to Protect Confidential Information in substantially
the form attached to this Agreement as Exhibit A).
                                        The Agreement

               The Debtor and the Authorized Recipients, in consideration of the mutual
undertakings set forth expressly in this Agreement and for good and valuable consideration, the
receipt and sufficiency of which are expressly acknowledged, agree as follows:

       1.     The Provision of Confidential Information. The Debtor may, from time to time,
provide Confidential Information to the Authorized Recipients. Except as may otherwise be
expressly agreed to in writing by the Debtor, all Confidential Information is being provided
without any representation or warranty, express or implied, on the part of the Debtor. Neither the
Debtor nor the Authorized Recipients shall be under any obligation to the other by virtue of this
Agreement, except for the matters specifically agreed to in this Agreement. Nothing in this
Agreement shall be deemed to impose any obligation to provide Confidential Information upon
the Debtor.

        2.      The Treatment of Confidential Information. The Authorized Recipients shall
not disclose Confidential Information, directly or indirectly, to any person, other than their
Representatives, unless:(i) such disclosure is authorized by this Agreement; or (ii) such disclosure
is authorized, in advance, by an order of the Bankruptcy Court. In the event an Authorized
Recipient challenges the designation of any Confidential Information by seeking an order of the
Bankruptcy Court, the burden of establishing that such alleged Confidential Information is not
entitled to protection as Confidential Information shall be on the Authorized Recipient.

        3.     Authorized Uses of Confidential Information. Authorized Recipients may use
Confidential Information solely in connection with the Bankruptcy Case, as limited by this
Agreement, and for no other purposes. Nothing contained in this Agreement shall prevent an
Authorized Recipient from including Confidential Information in any pleading filed with the
Bankruptcy Court or in any hearing held before the Bankruptcy Court; provided, however, that
such inclusion of Confidential Information shall be done only if:(a)such Confidential Information
is filed with the Bankruptcy Court chambers marked "Confidential Information" and with the
Clerk of the Bankruptcy Court under seal;(b) counsel for the Debtor is notified in writing of the
proposed use of such Confidential Information five(5) business days before such pleading is filed
so that the Debtor may seek appropriate protective relief;(c) the Authorized Recipient obtains an
order of the Bankruptcy Court, after notice and a hearing, allowing the proposed use of the
Confidential Information;(d) the Authorized Recipient advises the Debtor that it intends to use
such Confidential Information in a hearing and requests an in camera determination from the
Bankruptcy Court,on notice to the Debtor,to permit the proposed use of Confidential Information;
or (e)the Debtor agrees to the proposed use of Confidential Information.



                                                  2
Case 1:20-bk-00599-HWV           Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                  Desc
                                 Main Document    Page 8 of 256
         4.      Subpoena or Court Order. In the event that an Authorized Recipient receives a
 request to disclose all or any part of the Confidential Information under the terms of a subpoena
 or other order issued by a court of competent jurisdiction or by another governmental agency, the
 Authorized Recipient shall, unless prohibited by law, rule or regulation: (a) promptly notify the
 Debtor of the existence, terms and circumstances surrounding such a request;(b)consult with the
 Debtor on the advisability of taking steps to resist or narrow such request;(c) if disclosure of such
 Confidential Information is required, furnish only such portion of the Confidential Information as
 the Authorized Recipient is legally required to disclose; and (d) reasonably cooperate with the
 Debtor in its efforts to obtain an order or other reliable assurance that confidential treatment will
 be accorded to such portion of the Confidential Information that is required to be disclosed.
 Further, Confidential Information may be disclosed without notice to a regulator or self-regulatory
 authority in the course of such regulator's general examination or inspection.

         5.      Compliance. The Authorized Recipients shall employ reasonable measures to
 control, consistent with this Agreement, access to the Confidential Information. Consistent with
 that obligation, the Authorized Recipients shall ensure that any of their Representatives given
 access to the Confidential Information are informed of the obligations set forth herein.

        6.      Adviser Eyes Only Confidential Information. The Debtor may request, on a
 case-by-case basis, in writing, that certain Confidential Information be treated as "Adviser Eyes
 Only Information" if the Debtor determines in good faith that the disclosure of Adviser Eyes Only
 Information would pose a very high risk of competitive harm to the Debtor. Upon the consent of
 the Committee to such designation, Adviser Eyes Only Information may not be shared with any
 Authorized Recipient other than counsel and financial advisers to the Committee, as a whole,
 provided, however, that upon further review, the Committee or an Authorized Recipient, through
 Committee counsel, may later oppose or dispute the designation of certain Confidential
 Information as Adviser Eyes Only Information and immediately submit the dispute to the
 Bankruptcy Court for resolution if the parties are unable to resolve the dispute. Unless otherwise
 agreed by the Debtor and an Authorized Recipient or ordered by the Bankruptcy Court, Adviser
 Eyes Only Information shall be treated in the same manner as other Confidential Information as
 provided in this Agreement, except that Adviser Eyes Only Information may be shared only with
 counsel and financial advisers to the Committee, as a whole.

         7.      Remedies. The Authorized Recipients acknowledge that in the event of any breach
 ofthis Agreement,immediate, substantial, and irrevocable damage may result and the Debtor may
 not be made whole by monetary damages alone. Accordingly, the Debtor, in addition to any other
 remedy to which the Debtor may be entitled by law or in equity, shall be entitled to seek an
 injunction to prevent breaches of this Agreement, and to seek an order compelling specific
 performance of this Agreement. Such remedy and any and all other remedies provided for in this
 Agreement shall be cumulative and not exclusive and in addition to any other remedies which may
 exist under this Agreement or otherwise. No failure or delay by any party in exercising any right,
 power, defense or privilege hereunder shall operate as a waiver, nor shall any single or partial
 exercise or the exercise of any right, power, or privilege under this Agreement. The parties to this
 Agreement agree to meet and attempt to resolve in good faith any dispute that arises under this
 Agreement.

        8.     Entire Agreement. This Agreement contains the entire agreement and
 understanding of the parties with respect to the subject matter of this Agreement, and supersedes

                                             3
Case 1:20-bk-00599-HWV         Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                  Desc
                               Main Document    Page 9 of 256
all prior agreements, negotiations, representations, and proposals, written and oral, relating to the
subject matter of this Agreement. This Agreement may be amended or modified only in a writing
executed by the parties.

        9.       Successors. This Agreement shall inure to the benefit of, and shall be binding upon,
the parties, their respective successors and permitted assigns.

         10.     Waiver of Jury Trial. The parties to this Agreement expressly agree to the waiver
of a trial by jury in any suit, action, or other proceeding whatsoever relating to the enforcement or
interpretation of this Agreement and/or the series of transactions contemplated by this Agreement.

        1 1.   Parties to Bear Own Expenses. Except as expressly set forth in this Agreement,
                                                                                              in
each party shall bear its own costs, expenses, taxes, and other charges whatsoever incurred
connection with the execution and performance of this Agreement. Notwithstanding the foregoing,
in the event of a willful breach of this Agreement, the non-breaching party shall be entitled to
recover all reasonable costs, including reasonable attorneys' fees, incurred in enforcing the
Agreement against such willfully breaching party.

        12.    Legal Enforceability. If for any reason any provision of this Agreement shall be
deemed by a court of competent jurisdiction to be legally invalid or unenforceable, the validity,
legality, and enforceability of the remainder of this Agreement shall not be affected and such
provision shall be deemed modified to the minimum extent necessary to make such provision
consistent with applicable law and, in its modified form, such provision shall then be enforceable
and enforced.

        1 3.    Termination of Agreement. This Agreement shall survive the confirmation of any
plan of reorganization or liquidation for the Debtor, and all Confidential Information provided by
the Debtor shall remain subject to the terms and provisions of this Agreement until one (1) year
after confirmation of such a Plan or the entry of an order converting or dismissing the Bankruptcy
Case. Within thirty (30) days after the confirmation of a plan of reorganization or liquidation for
the Debtor, upon written request of the Debtor, the Authorized Recipients shall destroy all copies
in the possession of the Authorized Recipients of all documents, to the extent containing
Confidential Information, without expense to the Debtor. Notwithstanding the foregoing,
Confidential information may be retained as required by law or regulation or bona fide document
retention or electronic archiving policies or procedures.

       14.     Choice of Law. This agreement shall be governed by and construed and enforced
in accordance with the laws of the Commonwealth of Pennsylvania, without giving effect to the
provisions, policies or principles of the laws of the Commonwealth of Pennsylvania relating to
choice or conflict of laws. Each of the undersigned expressly consents to the jurisdiction of the
Bankruptcy Court, with respect to any dispute relating to or arising out of this Agreement.



        1 5.    Counterparts. This Agreement may be executed in two or more counterparts, each
 of which shall be deemed an original. In that event, in proving this Agreement, it shall only be
 necessary to produce or account for the counterpart signed by the party against whom the proof is
 being presented. Additional persons may execute this Agreement in the future and, as a result,
 become Authorized Recipients.
                                   4
Case 1:20-bk-00599-HWV Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                            Desc
                       Main Document   Page 10 of 256
         16.     Authority of Signatories. Each signature below constitutes an acknowledgment
 that the signer is the designated and authorized representative of the designated entity.




                                  [Signature Pages Follow]




                                               5
Case 1:20-bk-00599-HWV      Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59            Desc
                            Main Document   Page 11 of 256
      IN WITNESS WHEREOF, the parties hereto have duly executed and delivered this
Agreement as of the day and year first above written.


                                      ON BEHALF OF THE DEBTOR:


Dated: 0.4---C-Oc 13, 'kei             By:
                                                   cs.



Dated:     t,r(17‘ 13 1 2020
                                       Robert T. Kugler(MN # 194116)(pro hac vice
                                       admission pending)
                                       Stinson LLP
                                       50 South Sixth Street, Suite 2600
                                       Minneapolis, MN 55402
                                       Main: 612-335-1500
                                       Facsimile:    612-335-1657
                                       Email: robert.kugler@stinson.com

                                       Proposed Counsel to the Official Committee ofTort
                                       Claimants




                                         6
Case 1:20-bk-00599-HWV       Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59         Desc
                             Main Document   Page 12 of 256
                                               EXHIBIT A

               AGREEMENT TO PROTECT CONFIDENTIAL INFORMATION

 Name:

 Address:

 Employer:




          1.        I have read the Confidentiality Agreement and a copy of it has been given to me. I

 understand the provisions of the Confidentiality Agreement and agree to comply with and to be

 bound by its provisions as a Representative (as defined in the Confidentiality Agreement).

          2.        I further agree to submit to the jurisdiction of the United States Bankruptcy Court

 for the Middle District of Pennsylvania for adjudication of any dispute regarding my compliance

 with the terms of this Confidentiality Agreement.

 Dated:                                                   Name:




 4815-0729-7718.1


Case 1:20-bk-00599-HWV            Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                Desc
                                  Main Document   Page 13 of 256
                                    Exhibit B
                                (Proposed Order)




Case 1:20-bk-00599-HWV   Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 14 of 256
                                 UNITED STATES BANKRUPTCY COURT
                             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 In re:                                              Chapter 11

 ROMAN CATHOLIC DIOCESE OF                           Case No. 1:20-bk-00599 (HWV)
 HARRISBURG,

               Debtor.


          ORDER APPROVING COMMITTEE’S MOTION TO FILE DOCUMENTS UNDER SEAL


          Upon consideration of the Committee’s Motion to File Documents Under Seal (the “Motion to Seal”),

filed by the Official Committee of Tort Claimants (the “Committee”), and the Court having considered any

objections to the requested relief; and after due deliberation, and good and sufficient cause appearing therefor,

IT IS ORDERED:

          1.     The Motion to Seal is GRANTED.

          2.     The Committee may file unredacted copies of the Derivative Standing Motion and Kugler

Declaration exhibits under seal.

          3.     This Order is without prejudice to the rights of any party in interest, or the United States Trustee,

to seek to unseal the sealed documents, or any part thereof.




      Case 1:20-bk-00599-HWV           Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                   Desc
                                       Main Document   Page 15 of 256
                            UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

  In re:                                            Chapter 11

  ROMAN CATHOLIC DIOCESE OF                         Case No. 1:20-bk-00599 (HWV)
  HARRISBURG,

                Debtor.


  NOTICE OF THE OFFICIAL COMMITTEE OF TORT CLAIMANTS’ MOTION FOR
    STANDING AND AUTHORITY TO COMMENCE, PROSECUTE, AND SETTLE
   CAUSES OF ACTION ON BEHALF OF THE DEBTOR’S BANKRUPTCY ESTATE


           PLEASE TAKE NOTICE that on December 23, 2021, the Official Committee of Tort

 Claimants filed the Official Committee of Tort Claimant’s Motion for Standing and Authority to

 Commence, Prosecute, and Settle Causes of Action on Behalf of the Debtor’s Bankruptcy Estate.

           PLEASE TAKE FURTHER NOTICE that a hearing to consider the relief sought in the

 Motion has been scheduled for January 11, 2021, at 9:30 a.m. (E.T.), before the Honorable Henry

 W. Van Eck, United States Bankruptcy Judge for the Middle District of Pennsylvania, Ronald

 Reagan Federal Building, 228 Walnut Street. In accordance with L.R. 9074-1, and the Court’s

 Remote Appearance guide, hearing participants may appear for this hearing by videoconference.

 Instructions for appearing remotely are available at: http://www.pamb.uscourts.gov/remote-

 appearance-guide,

           PLEASE TAKE FURTHER NOTICE that responses or objections, if any, to the relief

 requested in the Motion: (i) must be made in writing; (ii) shall state with particularity the grounds

 therefor; (iii) shall conform to the Federal Rules of Bankruptcy Procedure and the Local

 Bankruptcy Rules for the Middle District of Pennsylvania.




 CORE/3519315.0002/171700802.1

Case 1:20-bk-00599-HWV           Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                Desc
                                 Main Document   Page 16 of 256
 Dated: December 23, 2021                       /s/ Robert T. Kugler
                                                Robert T. Kugler (MN #194116)
                                                Edwin H. Caldie (MN #0388930)
                                                STINSON LLP
                                                50 South Sixth Street, Suite 2600
                                                Minneapolis, MN 55402
                                                Telephone: (612) 335-1500
                                                Facsimile: (612) 335-1657
                                                Email: robert.kugler@stinson.com
                                                Email: edwin.caldie@stinson.com

                                                COUNSEL FOR THE OFFICIAL
                                                COMMITTEE OF TORT CLAIMANTS




 CORE/3519315.0002/171700802.1

Case 1:20-bk-00599-HWV           Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                                 Main Document   Page 17 of 256
                            UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

  In re:                                              Chapter 11


  ROMAN CATHOLIC DIOCESE OF
  HARRISBURG,                                         Case No. 1:20-bk-00599 (HWV)

                Debtor.



  THE OFFICIAL COMMITTEE OF TORT CLAIMANTS’ MOTION FOR STANDING
   AND AUTHORITY TO COMMENCE, PROSECUTE, AND SETTLE CAUSES OF
       ACTION ON BEHALF OF THE DEBTOR’S BANKRUPTCY ESTATE


                                          INTRODUCTION

           Prior to filing for bankruptcy, and as the rate of claims asserted by survivors of childhood

 sexual abuse (“Survivors”) escalated nationwide, the Roman Catholic Diocese of Harrisburg (the

 “Diocese”) orchestrated a large-scale, fraudulent scheme to place its assets beyond the reach of its

 creditors—all while acting carefully to ensure that it would remain in control of such assets. The

 Diocese's scheme placed millions into two, self-settled trusts. The assets within these two trusts

 remain under the control of the Diocese and its Bishop, but the trusts wrongfully impose a thorough

 barrier to creditor claims against trust assets through their inclusion of broad spendthrift clauses.

           The Diocese now, having sought the protections of bankruptcy due to Survivors’ claims,

 disclaims any interest in the assets held in the trusts. It asserts instead that these assets are held in

 trust for the benefit of, and to perform the functions of, the Roman Catholic Church within the

 territorial confines of the Diocese. The Diocese maintains this position despite the fact that the

 trust assets continue to serve as the Diocese’s primary source of operational funding.




 CORE/3519315.0002/171700803.1

Case 1:20-bk-00599-HWV           Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                    Desc
                                 Main Document   Page 18 of 256
          If allowed to continue, the Diocese's scheme would fraudulently shelter over $80 million

 in assets from proper administration in this chapter 11 case. The Official Committee of Tort

 Claimants (the “Committee”) thus moves for the exclusive and irrevocable authority to commence,

 prosecute, and settle two complaints against two separate trusts created by the Diocese, because

 the Diocese has refused to do so itself and—as the architect of the fraudulent scheme intended to

 remove its assets from the reach of creditors—the Diocese has a profound conflict of interest. The

 complaints include claims for:

          (1)      Avoidance and recovery of fraudulent transfers to the 2009 Trusts (defined herein)

                   pursuant to 11 U.S.C. § 544(b)(1), 11 U.S.C. § 550, the Pennsylvania Uniform

                   Voidable Transactions Act (“PUVTA”), and 12 Pa. Cons. Stat. § 5104(a);

          (2)      Turnover and account of estate property held in the 2009 Trusts pursuant to 11

                   U.S.C. § 541, 11 U.S.C. § 542, and Pennsylvania’s “Self-Settled Trust” Common

                   Law Doctrine;

          (3)      Turnover and account of estate property held in the 2009 Trusts pursuant to 11

                   U.S.C. § 541, 11 U.S.C. § 542, 11 U.S.C. § 544(a) and 20 Pa. Cons. Stat. § 7745;

          (4)      Avoidance and recovery of transfers to the 2009 Trusts pursuant to 11 U.S.C. §

                   544(a), 11 U.S.C. § 550, and Pennsylvania’s “Alter Ego” Common Law Doctrine;

          (5)      Declaratory relief that the 2009 Trusts are self-settled trusts containing

                   unenforceable spendthrift provisions and, as a result, the 2009 Trusts are void and

                   the 2009 Trusts’ assets constitute property of the Debtor’s bankruptcy estate

                   pursuant to 11 U.S.C. § 541;1




 1
  The Committee’s proposed adversary complaints include claims for declaratory relief that certain assets are property
 of the estate. Although Court approval of derivative standing is required to pursue an action pursuant to Bankruptcy
 Code Sections 544 and 548, permission is not required to determine property of the estate under Section 541. See
 Comm. of Tort Litigants v. Catholic Diocese of Spokane, No. CV-05-0274, 2006 WL 211792 (E.D. Wash. Jan 24,
 2006) (stating that committee was not required to obtain “specific permission…to bring an adversary action to
 determine the assets of the estate”).

                                                          2
 CORE/3519315.0002/171700803.1

Case 1:20-bk-00599-HWV              Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                             Desc
                                    Main Document   Page 19 of 256
          (6)      Declaratory relief that the 2009 Trusts’ assets are subject to the interests of the

                   Diocese’s creditors pursuant to 20 Pa. Cons. Stat. § 7745 and are property of the

                   Debtor’s bankruptcy estate pursuant to U.S.C. § 541; and

          (7)      Injunctive relief compelling the Diocese to terminate the 2009 Trusts and turnover

                   of the 2009 Trusts’ assets to the Debtor’s bankruptcy estate.

          The Committee has demanded that the Diocese pursue the foregoing claims and the

 Diocese has refused. Because the Diocese’s decision to forego these claims is unreasonable and

 unjustified, the Committee seeks Court approval to file two complaints in substantially the forms

 attached to the Declaration of Robert T. Kugler In Support of the Official Committee of Tort

 Claimant’s Motion for Standing and Authority to Commence, Prosecute, and Settle Causes of

 Action on Behalf of the Debtor’s Bankruptcy Estate (“Kugler Decl.”) as Exhibit A (the “Charitable

 Trust Complaint”) and Exhibit B (the “Real Estate Trust Complaint”, and together with the

 Charitable Trust Complaint, the “Complaints”).

                                           FACTUAL BACKGROUND

     A. The Diocese’s Bankruptcy Case

          1.       The Diocese filed its petition for Chapter 11 bankruptcy on February 19, 2020 (the

 “Petition Date”). The Diocese continues to operate as a debtor in possession pursuant to sections

 1107 and 1008 of the Bankruptcy Code.

          2.       The Diocese indicated that it filed for Chapter 11 bankruptcy “in order to fairly

 provide compensation for unresolved claims of survivor of abuse and preserve the ability of the

 [Diocese] to continue providing essential ministries and services within the Diocese.”2




 2
  ECF No. 2, Informational Br. ¶ 158. Attached to the Kugler Decl. as Exhibit C is the Informational Brief of the
 Roman Catholic Diocese of Harrisburg [ECF No. 2].

                                                        3
 CORE/3519315.0002/171700803.1

Case 1:20-bk-00599-HWV            Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                          Desc
                                  Main Document   Page 20 of 256
          3.       The Diocese’s Chapter 11 bankruptcy filing was precipitated by the “prospect [of

 the Diocese] facing claims asserted in amounts exceeding the [Diocese’s] economic ability to

 pay.”3

          4.       In its bankruptcy schedules, as amended on May 12, 2020, the Diocese listed nearly

 one-hundred (100) “unsecured tort creditors” in an attachment to its list of creditors with

 nonpriority unsecured claims.4

     B. The 2009 Trusts

          5.       On November 13, 2009, the Diocese, as sole settlor and grantor, transferred

 substantially all of its assets, including its real and non-real property, into two trusts, which

 effectively placed the Diocese’s assets beyond the direct reach of its creditors.5

          6.       In the Charitable Trust Declaration of Trust, then-Bishop Kevin Rhoades declared

 that he held all of the Diocese’s non-real estate assets as trustee of the Roman Catholic Diocese of

 Harrisburg Charitable Trust (the “Charitable Trust”).6

          7.       In the Real Estate Trust Declaration of Trust, Bishop Rhoades declared that he held

 all of the Diocese’s real estate assets as trustee of the Roman Catholic Diocese of Harrisburg Real

 Estate Trust (the “Real Estate Trust”, and together with the Charitable Trust, the “2009 Trusts” or

 the “Trusts”).7




 3
   See id. at ¶ 155.
 4
   See ECF No. 297, Amended Schedule A/B and E/F, at p. 30-35. Attached to the Kugler Decl. as Exhibit D is the
 Debtor’s Amended Schedule A/B and E/F.
 5
   See Kugler Decl. at Ex. E and Ex. F. Attached to the Kugler Decl. as Exhibit E is the Roman Catholic Diocese of
 Harrisburg Charitable Trust Declaration of Trust (the “Charitable Trust Declaration of Trust”) and as Exhibit F is the
 “Roman Catholic Diocese Real Estate Trust Declaration of Trust (the “Real Estate Trust Declaration of Trust”).
 6
   See Kugler Decl. at Ex. E, § 3.1, § 3.8, and Exhibit C.
 7
   See id. at Ex. F, § 3.1, § 3.8, and Exhibit C.

                                                           4
 CORE/3519315.0002/171700803.1

Case 1:20-bk-00599-HWV              Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                              Desc
                                    Main Document   Page 21 of 256
          8.       The Trust Declarations8 direct that any successors as trustee of the Charitable Trust

 and Real Estate Trust “shall be the then current Bishop as designated by the Pope.”9 The current

 Bishop of the Diocese is Bishop Ronald W. Gainer.

          9.       At the time of creation, and since, the 2009 Trusts contained substantially all of the

 Diocese’s assets.10

          10.      As such, under the guise of the 2009 Trusts, the Diocese effectively has had no

 assets since the moment the 2009 Trusts were created on November 13, 2009.11 The Diocese

 acknowledges that the “Charitable Trust is the primary source of funding of the [Diocese],” and

 that the Diocese has “very limited assets” and “operates on a break-even basis.”12

          11.                                                                                                , both

 trusts exist solely to carry out Diocesan operations, and therefore, benefit only the Diocese.13

          12.      The Charitable Trust Declaration of Trust states that the purpose of the Charitable

 Trust is to “perform the functions of, and to carry out the purposes of the Roman Catholic Church,

 specifically in carrying out Diocesan operations within the territorial confines of the Diocese.”14

          13.      The Real Estate Trust Declaration of Trust similarly states that the purpose of the

 Real Estate Trust is to “carry[] out Diocesan operations relating to real property within the

 territorial confines of the Diocese.”15




 8
    For ease of reference, the Charitable Trust Declaration of Trust and Real Estate Trust Declaration of Trust are
 collectively referred to as the “Trust Declarations.”
 9
   Id. at Ex. E, § 3.1; Ex. F, § 3.1.
 10
    See id. at Ex. E, § 1.2(a); Ex. F, § 1.2(a).
 11
    See id.
 12
    ECF No. 2, Informational Br. ¶¶ 49, 150; ECF No. 15, Linscott Decl. ¶ 2. Attached to the Kugler Decl. as Exhibit
 G is the Declaration of Christopher G. Linscott In Support of First Day Motions [ECF No. 15].
 13
    See Kugler Decl. at Ex. E, § 1.1(a); Ex. F, § 1.1(a).
 14
    Id. at Ex. E, § 1.1(a) (emphasis added).
 15
    Id. at Ex. F, § 1.1(a).

                                                         5
 CORE/3519315.0002/171700803.1

Case 1:20-bk-00599-HWV             Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                            Desc
                                   Main Document   Page 22 of 256
          14.      In addition, the 2009 Trusts are each subject to spendthrift provisions. Specifically,

 the Trust Declarations state that trust assets “shall not be subject to voluntary or involuntary

 assignment, transfer, anticipation, legal process, judgments or claims of creditors of . . . any other

 trust or other entity held or administered by the same Trustee, or affiliated in any way with the

 Diocese of Harrisburg.”16

          15.      The Diocese further maintains that “no assets” of either the Charitable Trust or the

 Real Estate Trust are assets of the estate.17

          16.      The creation of the 2009 Trusts, and the conveyance of substantially all of the

 Diocese’s real and non-real property, was intended to place the Diocese’s assets beyond the reach

 of its creditors, including Survivors. Both the planning process leading to the creation of the 2009

 Trusts, and the creation of the 2009 Trusts, exhibited multiple and obvious badges of fraud,

 including:

                   a. The Diocese retained possession and control of the real and non-real estate

                        assets after the transfers were made to the 2009 Trusts as the Bishop continued

                        to control the assets as trustee of the 2009 Trusts;18

                   b. Before the transfers were made, the Diocese faced the increasing threat of

                        litigation based on widely-publicized reports of clergy sexual abuse throughout

                        the United States;

                   c.




 16
    Id. at Ex. E, § 1.2(c); Ex. F, § 1.2(c).
 17
    ECF No. 2, Informational Br. ¶¶ 50, 57.
 18
    See Kugler Decl. at Ex. E, § 3.1, § 3.8, and Exhibit C; Ex. F, § 3.1, § 3.8, and Exhibit C.

                                                            6
 CORE/3519315.0002/171700803.1

Case 1:20-bk-00599-HWV               Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59               Desc
                                     Main Document   Page 23 of 256
                                                                         ; 19

                      d. The transfers included substantially all of the Diocese’s real estate and non-real

                          estate assets;

                      e. The Diocese became insolvent as a result of the transfer of all of its non-real

                          estate assets to the Charitable Trust and all of its real estate assets to the Real

                          Estate Trust;

                      f. The 2009 Trusts’ assets must be used to benefit the Diocese;20 and

                      g. The Diocese did not receive any consideration, or consideration reasonably

                          equivalent in value, to the assets transferred.

            17.       Notably, the creation of the 2009 Trusts mirrored restructuring efforts of other

 dioceses within the United States, all of which were undertaken in response to escalating claims

 of clergy sexual abuse and extended limitations periods for Survivors to bring suit.




                                                                            21



            18.       The 2009 Trusts can be summarized as follows:




 19
      Kugler Decl. at Ex. H. Attached to the Kugler Decl. as Exhibit H
 20
      Id. at Ex. E, § 1.1; Ex. F, § 1.1.
 21
      Kugler Decl. at Ex. I. Attached to the Kugler Decl. as Exhibit I


                                                              7
 CORE/3519315.0002/171700803.1

Case 1:20-bk-00599-HWV                 Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                 Desc
                                       Main Document   Page 24 of 256
                                                                                 Bishop is Trustee
                                           Charitable Trust with
                                           Spendthrift Provision
                                                                                Diocese is de facto
                                                                                   Beneficiary
          Diocese’s Real and
          Personal Property
                                                                                 Bishop is Trustee
                                           Real Estate Trust with
                                           Spendthrift Provision
                                                                                Diocese is de facto
                                                                                   Beneficiary

      C. The Committee’s Demands Upon the Diocese to Recover Estate Assets

          19.      The Committee has been in communication with the Diocese since the filing of this

 bankruptcy case regarding the assets contained in the 2009 Trusts. Specifically, the Committee

 inquired with the Diocese as to whether it would pursue claims against the 2009 Trusts and

 affirmatively requested that the Diocese do so or agree to Committee standing to do so. On

 December 10, 2021, the Committee submitted a final written demand to the Diocese to pursue the

 claims identified in the Complaints against the 2009 Trusts.22

          20.      The Diocese has failed to respond to the Committee’s demand that the Diocese

 pursue the claims identified in the Complaints or to stipulate to Committee standing to file and

 prosecute the Complaints on behalf of the estate.

                                      JURISDICTION AND VENUE

          21.      The Court has jurisdiction over the Motion pursuant to 28 U.S.C. §§ 157 and 1334.

          22.      The Motion constitutes a core proceeding pursuant to 28 U.S.C. § 157(b)(2). The

 Court has authority to determine the Motion by final order.


 22
   Attached to the Kugler Decl. as Exhibit J is the Committee’s written demand to the Diocese to pursue the claims
 identified in the Complaints against the 2009 Trusts.

                                                        8
 CORE/3519315.0002/171700803.1

Case 1:20-bk-00599-HWV             Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                          Desc
                                   Main Document   Page 25 of 256
           23.     Venue in this Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                                       RELIEF REQUESTED

           24.     By this Motion, the Committee requests an order granting it authority to commence,

 prosecute, and settle (with court approval) litigation against the 2009 Trusts. The Committee

 proposes to bring the Complaints attached as Exhibits A and B to the Kugler Declaration—each

 of which will increase the assets of the estate for the benefits of the Diocese’s creditors.

           25.     The statutory predicates for the relief requested in this Motion include 28 U.S.C.

 §§ 105, 541, 542, 544, 550, 1103, and 1109; 12 Pa. Cons. Stat. § 5104(a); and 20 Pa. Cons. Stat.

 § 7745.

                                             ARGUMENT

 I.        Requirements for Derivative Standing.

           “Section 544(b) of the Bankruptcy Code gives the trustee—and by extension, a debtor-in-

 possession in Chapter 11 cases—both the power and the responsibility to bring fraudulent transfer

 actions so as to maximize the value of the bankruptcy estate.” In re Nat’l Forge Co., 326 B.R. 532,

 542 (W.D. Pa. May 26, 2005); see also Louisiana World Exposition v. Fed. Ins. Co., 858 F.2d 233,

 249–50 (5th Cir. 1988). In Cybergenics II, the Third Circuit held that bankruptcy courts, pursuant

 to their equitable powers, can confer upon creditors’ committees derivative standing to bring

 avoidance actions for the benefit of the estate when the debtor fails to do so in violation of its

 fiduciary duties. Official Committee of Unsecured Creditors of Cybergenics Corp. v. Chinery (In

 re Cybergenics Corp.) (“Cybergenics II”), 330 F.3d 548, 580 (3d Cir. 2003), pet. for cert.

 dismissed, 540 U.S. 1001 (2003) and 540 U.S. 1002 (2003).




                                                   9
 CORE/3519315.0002/171700803.1

Case 1:20-bk-00599-HWV           Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                Desc
                                 Main Document   Page 26 of 256
          The ability of a creditors’ committee to obtain derivative standing is often critical to the

 preservation of estate assets and serves important interests, particularly in the context of a Chapter

 11 reorganization:

                           …In Chapter 11 cases where no trustee is appointed, §
                   1107(a) provides that the debtor-in-possession, i.e., the debtor’s
                   management, enjoys the powers that would otherwise vest in the
                   bankruptcy trustee. Along with those powers, of course, comes the
                   trustee’s fiduciary duty to maximize the value of the bankruptcy
                   estate.


                            This situation immediately gives rise to the proverbial
                   problem of the fox guarding the henhouse. If no trustee is appointed,
                   the debtor—really, the debtor’s management—bears a fiduciary
                   duty to avoid fraudulent transfers that it itself made. One suspects
                   that if managers can devise any opportunity to avoid bringing a
                   claim that would amount to reputational self-immolation, they will
                   seize it . . . For that reason, courts and commentators have
                   acknowledged that the debtor-in-possession “often acts under the
                   influence of conflicts of interest.” . . . These conflicts of interest can
                   arise even in situations where there is no concern that a debtor’s
                   management is trying to save its own skin. For example, a debtor
                   may be unwilling to pursue claims against individuals or businesses,
                   such as critical suppliers, with whom it has an ongoing relationship
                   that it fears damaging…. In any of these situations, the real losers
                   are the unsecured creditors whose interests avoidance actions are
                   designed to protect.

 Id. at 573-74 (citations omitted).

          To ensure that the Chapter 11 debtor’s gate-keeping role is not arbitrarily usurped, courts

 have generally recognized derivative standing where: “(i) the creditor has alleged a colorable claim

 that would benefit the estate (ii) the debtor has unjustifiably refused to pursue the claim itself; and

 (iii) the creditors’ committee has obtained permission from the bankruptcy court to initiate the

 action on behalf of the estate.” Nat’l Forge, 326 B.R. at 543; see also Fogel v. Zell, 221 F.3d 955,

 965 (7th Cir. 2000); In re Gibson Group, Inc., 66 F.3d 1436, 1438 (6th Cir. 1995); In re Louisiana

 World Exposition, Inc., 832 F.2d 1391, 1397 (5th Cir. 1987) (collecting cases); In re Tennessee


                                                      10
 CORE/3519315.0002/171700803.1

Case 1:20-bk-00599-HWV            Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                 Desc
                                  Main Document   Page 27 of 256
 Valley Steel Corp., 183 B.R. 795, 800 (Bankr. E.D. Tenn. 1995); In re First Capital Holdings

 Corp., 146 B.R. 7, 11 (Bankr. C.D. Cal. 1992); In re Toledo Equipment Co., Inc., 35 B.R. 315,

 320 (Bankr. N.D. Ohio 1983).

          Here, the Committee satisfies each element for derivative standing as it has identified

 colorable claims that could recover over $80 million for the estate, and the Diocese has

 unjustifiably refused to pursue these claims. The Court should therefore permit the Committee to

 assert the Complaints on behalf of the estate in order to protect the estate’s, and its creditors’’

 interest.

 II.      The Estate’s Claims are Colorable.

          “[A] creditor’s claims are colorable if they would survive a motion to dismiss.” In re

 Rosenblum, 545 B.R. 846, 863–64 (E.D. Pa. 2016) (quoting In re Racing Servs., Inc., 540 F.3d

 892, 900 (8th Cir. 2008)). Therefore, to state a colorable claim,

                   [A] complaint must contain sufficient factual matter, accepted as
                   true, to “state a claim to relief that is plausible on its face.” A claim
                   has facial plausibility when the plaintiff pleads factual content that
                   allows the court to draw the reasonable inference that the defendant
                   is liable for the misconduct alleged. The plausibility standard is not
                   akin to a “probability requirement,” but it asks for more than a sheer
                   possibility that a defendant has acted unlawfully.

 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citation omitted). Under this standard, “the tenet that

 a court must accept as true all of the allegations contained in a complaint is inapplicable to legal

 conclusions. Threadbare recitals of the elements of a cause of action, supported by mere conclusory

 statements, do not suffice.” Id.

          A.       The Estate’s Claims for Actual Fraud are Colorable under the Pennsylvania
                   Uniform Voidable Transfers Act because the Transfers were made with the
                   Intent to Hinder and Defraud Creditors and the Claims are Timely.

                   i.       The Fraudulent Transfer Claims are Colorable because the Diocese
                            Transferred the Assets to Hinder and Defraud the Survivors.


                                                      11
 CORE/3519315.0002/171700803.1

Case 1:20-bk-00599-HWV            Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59              Desc
                                  Main Document   Page 28 of 256
          The Committee has a colorable claim against the 2009 Trusts because the Diocese

 orchestrated the transfer of assets in order to hinder and defraud the Survivors and other creditors

 of the Diocese. Section 544(b)(1) authorizes the avoidance of “any transfer of an interest of the

 debtor in property or any obligation incurred by the debtor that is voidable under applicable law

 by a creditor holding an unsecured claim. 11 U.S.C. § 544(b). “Once avoidable pursuant to [11

 U.S.C. § 544(b)], the transfer is avoided in its entirety for the benefit of all creditors, not just the

 extent necessary to satisfy the individual creditor actually holding the avoidance claim. Official

 Committee of Unsecured Creditors of Cybergenics Corp. v. Chinery (In re Cybergenics Corp.)

 (“Cybergenics I”), 226 F.3d 237, 243 (3d Cir. 2000) (emphasis added) (citing Moore v. Bay (In

 re Sassard & Kimball, Inc.), 284 U.S. 4, 5 (1931)). Further, “it is not necessary . . . that there be

 more than one such creditor” able to bring avoidance action under applicable state law. 5 Collier

 on Bankruptcy ¶ 544.06 [1] (16th ed. 2021).

          The PUVTA provides that a transfer made by a debtor is fraudulent as to a creditor if the

 debtor made the transfer “with actual intent to hinder, delay or defraud any creditor of the debtor.”

 12 Pa. Cons. Stat. § 5104(a). If the creditor establishes by a preponderance of the evidence that the

 debtor made a fraudulent transfer, “the creditor may, inter alia, avoid the transfer or obligation,

 attach the transferred assets or other property of the transferee, obtain an injunction barring further

 transfers, or seek appointment of a receiver over the transferred asset.” K-B Bldg. Co. v. Sheesley

 Constr., Inc., 833 A.2d 1132, 1135–36 (Pa. Super. Ct. 2003).

          Since “individuals are rarely willing to admit intent, actual fraud is rarely proven by direct

 evidence.” In re Valley Building & Constr. Corp., 435 B.R. 276, 285 (Bankr. E.D. Pa. 2010)

 (quotation omitted). But courts consider factors, commonly referred to as “badges of fraud,” in

 determining whether a party has proven fraud through circumstantial evidence. Holber v. Dolchin


                                                   12
 CORE/3519315.0002/171700803.1

Case 1:20-bk-00599-HWV           Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                   Desc
                                 Main Document   Page 29 of 256
 Slotkin & Todd, P.C. (In re American Rehab & Physical Therapy, Inc.), 2006 WL 1997431, at

 *15–16 (Bankr. E.D. Pa. May 18, 2006).

          The PUVTA provides a non-exhaustive list of such factors for use in determining whether

 “actual intent” exists:

                   (1)      the transfer or obligation was to an insider;

                   (2)     the debtor retained possession or control of the property
                   transferred after the transfer;

                   (3)      the transfer or obligation was disclosed or concealed;

                   (4)    before the transfer was made or obligation was incurred, the
                   debtor had been sued or threatened with suit;

                   (5)      the transfer was of substantially all the debtor’s assets;

                   (6)      the debtor absconded;

                   (7)      the debtor removed or concealed assets;

                   (8)    the value of the consideration received by the debtor was
                   reasonably equivalent to the value of the asset transferred or the
                   amount of the obligation incurred;

                   (9)     the debtor was insolvent or became insolvent shortly after
                   the transfer was made or the obligation was incurred;

                   (10) the transfer occurred shortly before or shortly after a
                   substantial debt was incurred; and

                   (11) the debtor transferred the essential assets of the business to
                   a lienor who transferred the assets to an insider of the debtor.

 12 Pa. Cons. Stat. § 5104(b). Courts differ in how they assess these “badges.” Compare In re

 Valley Bldg. & Const. Corp., 435 B.R. 276, 285 (Bankr. E.D. Pa. 2010) (requiring a finding of

 “goodly” number of these factors to establish fraudulent intent), with In re Cohen, 142 B.R. 720,

 728 (Bankr. E.D. Pa. 1992) (stating that a “strong finding” as to just one badge will suffice); see

 also In re Cook, 126 B.R. 261, 269 (Bankr. E.D. Tex. 1991) (stating that just one factor can support


                                                      13
 CORE/3519315.0002/171700803.1

Case 1:20-bk-00599-HWV             Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59             Desc
                                   Main Document   Page 30 of 256
 a finding of fraud and that “[t]he accumulation of several factors can lead inescapably to the

 conclusion that the debtor possessed a requisite intent.” (quotation omitted)). However, courts

 review these factors qualitatively rather than quantitatively. Knoll v. Uku, 154 A.3d 329, 333 (Pa.

 Super. Ct. 2017). This list is not exclusive, and a court can find actual intent to defraud even in the

 absence of any of the enumerated badges. In re C.F. Foods, L.P., 280 B.R. 103, 109 (Bankr. E.D.

 Pa. 2002).

            The following badges of fraud related to the depletion of the Diocese’s assets in connection

 with the creation of the 2009 Trusts are present:

            (1)       the Diocese retained possession or control of the property transferred to the 2009

                      Trusts after the transfers because the Bishop served as Trustee—the Trust

                      Declarations appointed the Bishop as trustee for the 2009 Trusts, and the Trust

                      Declarations required the Bishop to use the trust assets for the exclusive benefit of

                      the Diocese;23

            (2)       before the Diocese made the transfers, the Diocese faced the threat of litigation

                      based on widely publicized reports of clergy sexual abuse around the United States

                      in the early- to mid-2000s—for example, as early as 2001 the Diocese could see an

                      increasing number of claims as a grand jury began investigating the nearby

                      Archdiocese of Philadelphia;

            (3)       the transfers included substantially all of the Diocese’s assets—after the transfers,

                      the Diocese stated that it held virtually no assets, and the Diocese used the 2009

                      Trusts for hosting and funding its operations;24




 23
      See Kugler Decl. at Ex. E, § 3.1, § 3.8, and Exhibit C; Ex. F, § 3.1, § 3.8, and Exhibit C.
 24
      Id. at Ex. E, § 1.2(a); Ex. F, § 1.2(a).

                                                              14
 CORE/3519315.0002/171700803.1

Case 1:20-bk-00599-HWV                  Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59              Desc
                                        Main Document   Page 31 of 256
            (4)    the Diocese became insolvent shortly after making the transfers;25 and

            (5)    the Diocese did not receive consideration—much less consideration that was

                   reasonably equivalent in value—for the transferred assets.

 See 12 Pa. Cons. Stat. § 5104(b). Accordingly, colorable actual fraud claims plainly exist that

 would permit creditors with allowable unsecured claims—and by extension the Committee—to

 recover over $80 million to pay Survivors.

                   ii.      The Fraudulent Transfer Claims are Timely Under the PUVTA and the
                            Bankruptcy Code

            The Survivors, and other creditors of the Diocese, could not have known about the 2009

 Trusts when they occurred. A claim to avoid a transfer made with actual intent to defraud is

 extinguished unless it is brought “not later than four years after the transfer was made or the

 obligation was incurred or, if later, not later than one year after the transfer or obligation was or

 could reasonably have been discovered by the claimant.” 12 Pa. Cons. Stat. § 5109(1) (emphasis

 added). The discovery rule tolls the statute of limitations when “a plaintiff ‘despite the exercise of

 due diligence, is unable to know of the existence of the injury and its cause.’” State Farm Mut.

 Auto. Ins. Co. v. Cordua, 834 F. Supp. 2d 301, 306 (E.D. Pa. 2011) (quoting Bohus v. Beloff, 950

 F.2d 919, 924 (3d Cir. 1991)). The applicable limitations period therefore begins to run when the

 plaintiff discovers “the alleged fraudulent nature of the transfer at issue.” Santander Bank, N.A. v.

 Branch Banking & Tr. Co., No. 1:17-CV-01669, 2018 WL 8368857, at *3 (M.D. Pa. Feb. 5, 2018).

            To determine when the discovery rule is triggered, a court must determine the point when

 the plaintiff knew or reasonably should have known that it was injured, and that its injury was

 caused by another’s conduct. Cordua, 834 F. Supp. 2d at 306. “The relevant inquiry then is not

 plaintiff’s actual knowledge, but rather whether the knowledge was known, or through the exercise


 25
      Id.

                                                   15
 CORE/3519315.0002/171700803.1

Case 1:20-bk-00599-HWV            Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                Desc
                                  Main Document   Page 32 of 256
 of diligence, knowable to the plaintiff.” Id. (quotation omitted). Fact issues pertaining to a

 plaintiff’s notice and diligence are typically reserved for the jury. See Nicolaou v. Martin, 195

 A.3d 880, 893 (Pa. 2018); see also Rice v. Altoona-Johnstown, 255 A.3d 237, 258 n.2 (Pa. 2021)

 (Wecht, J., dissenting).

          In an analogous case, In re Archdiocese of Milwaukee, the court analyzed the discovery

 rule in a case involving a diocese’s transfer of funds to a trust. 483 B.R. 855 (Bankr. E.D. Wis.

 2012). There, the Archdiocese of Milwaukee transferred $35 million from the “Parish Deposit

 Fund” to a trust fund seven years prior to filing for bankruptcy. Id. at 858. The Committee of

 Unsecured Creditors asserted that the diocese made the transfer with actual intent to defraud

 creditors based on the minutes of a 2003 finance committee meeting, in which the committee

 discussed creating a trust to “shelter” the fund. Id. In its analysis, the court rejected the diocese’s

 argument that the public disclosure of the transfer put creditors on inquiry notice when the diocese

 disclosed its financial statements on its website. Id. at 866. Instead, the court concluded that the

 mere publicity of the financial statements, without more, did not clearly disclose the transfer. Id.

 Although the court acknowledged that the disappearance of a large “noncurrent asset” was

 available for investigation, the diocese’s brief statement that the fund was closed did not suggest

 that millions of dollars were transferred. The court further noted that the committee minutes stating

 that the purpose of the trust was to “shelter” the Parish Deposit Fund was not revealed until

 discovery in the bankruptcy case. Id. Accordingly, the court found that the Committee stated a

 plausible claim that a creditor reasonably could not have discovered the transfer. Id.

          Like the survivors in the Archdiocese of Milwaukee, the Survivors, and the Diocese’s other

 creditors, had no knowledge of the creation of the 2009 Trusts and could not have reasonably

 discovered the existence, or the fraudulent nature, of the 2009 Trusts. The Diocese did not make



                                                   16
 CORE/3519315.0002/171700803.1

Case 1:20-bk-00599-HWV           Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                  Desc
                                 Main Document   Page 33 of 256
 any public announcements of the creation of the 2009 Trusts, and the Diocese’s creditors further

 lacked access to its books and financial records. The creation of the 2009 Trusts, and the depletion

 of the Diocese’s assets, was not reasonably knowable to any creditor until after the Diocese filed

 for bankruptcy and provided the Trust Declarations to the Committee. Consequently, the

 Committee’s fraudulent transfer claims are timely under the PUVTA and applicable bankruptcy

 law. See 11 U.S.C. 108 (a).

          B.       The Committee Has Colorable Claims that the 2009 Trusts are Property of the
                   Estate, and for Turnover of the 2009 Trusts’ assets, because the 2009 Trusts
                   are Self-Settled, Spendthrift Trusts.

          The Committee has colorable claims that the 2009 Trusts are property of the estate pursuant

 to 11 U.S.C. § 541(a)(1), and for turnover of the 2009 Trusts’ assets pursuant to 11 U.S.C. § 542,

 because the 2009 Trusts are improper, self-settled trusts with spendthrift provisions purporting to

 shield assets from creditors, including Survivors, rendering them void.26 Under Pennsylvania law,

 a spendthrift trust exists when there is an express provision in the trust instrument that forbids

 alienation of a beneficiary’s interest by creditors. In re Keeler’s Estate, 3 A.2d 413, 415 (Pa. 1939);

 Wilson v. United States, 372 F.2d 232, 234 (3d Cir. 1967). An owner may create a trust to give the

 beneficiary the beneficial interest of the property, while also protecting the property from the

 beneficiary’s creditors. C.I.T. Corp. v. Flint, 5 A.2d 126, 128 (Pa. 1939).

          It is against public policy, however, for the creator of the spendthrift trust and the

 beneficiary to be one and the same. A person may not establish a trust in which it retains the

 beneficial interest in the trust property, while at the same time placing that property beyond the



 26
    The Committee can also recover the assets transferred to the 2009 Trusts because although they are designated as
 irrevocable trusts, they are in effect revocable and self-settled trusts. “Whether or not a trust instrument contains a
 spendthrift provision and notwithstanding section 7744 . . . (1) During the lifetime of the settlor, the property of a
 revocable trust is subject to claims of the settlor's creditors.” 20 Pa. Cons. Stat. § 7745.
                                                                         then the 2009 Trusts are revocable and subject to
 the claims of the Diocese’s creditors.

                                                           17
 CORE/3519315.0002/171700803.1

Case 1:20-bk-00599-HWV               Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                               Desc
                                     Main Document   Page 34 of 256
 reach of its creditors. In re Mogridge’s Estate, 20 A.2d 307 (Pa. 1941). And such a provision

 barring a creditor from reaching the interest of the settlor-beneficiary is therefore not enforceable

 under the common law of Pennsylvania. Morton v. Morton, 147 A.2d 150, 151–52 (Pa. 1959).

 Bankruptcy courts in Pennsylvania have acknowledged that such a trust does not fall within the

 scope of 11 U.S.C. § 541(c)(2). Walsh v. Hendrickson (In re Hendrickson), 274 B.R. 138, 148

 (Bankr. W.D. Pa. 2002) (holding that anti-assignment language in structured settlement agreement

 did not create a trust under Pennsylvania law).

          Here, the Diocese is the settlor of both the Charitable Trust and the Real Estate Trust. Under

 Pennsylvania law, a settlor is “[a] person, including a testator, who creates or contributes property

 to a trust.” 20 Pa. Cons. Stat. § 7703. “If more than one person creates or contributes property to a

 trust, each person is a settlor of the portion of the trust property attributable to that person’s

 contribution except to the extent another person has the power to revoke or withdraw that portion.”

 Id. The plain terms of the Trust Declarations indicate that the Diocese is the settlor as each indicates

 that the 2009 Trusts’ res consist of real estate or non-real estate assets “of the Diocese.”27

          Next,

                                                                                                       the 2009 Trusts

 operate solely to benefit the Diocese, and therefore, the Diocese is the beneficiary. The general

 rule is that the beneficiary of a charitable trust is the general public “to whom the social and

 economic advantages of the trust[] accrue[s].” In re Pruner’s Estate, 136 A.2d 107, 109 (Pa. 1957).

 It is also well-established that “[t]he essential part of the definition of a charity is that the persons

 who are to receive it must be indefinite and uncertain; in other words, they must be of a class; for



 27
    See Kugler Decl. at Ex. E., Ex. A (listing assets as “[a]ll and every item of tangible and intangible property of the
 Diocese, other than real property”); Ex. F, § 1.2(a) (listing assets as “all of the real property, and the structures and
 fixtures appurtenant thereto, belonging to the Diocese”).

                                                           18
 CORE/3519315.0002/171700803.1

Case 1:20-bk-00599-HWV               Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                                Desc
                                     Main Document   Page 35 of 256
 if a gift be made to individuals by name or description, so that they may be selected and set apart,

 although they are of a class, the gift is not a charity, but a legacy.” Case of Apprentices’ Fund, 2

 Pa. D. 435, 437 (C. P. 1893).

             Under this definition, the Diocese is the beneficiary as it receives the social and economic

 advantages of the trust. Although the 2009 Trusts purport to function solely for the benefit of the

 Roman Catholic Church, this benefit is explicitly limited to “carrying out Diocesan operations

 within the territorial confines of the Diocese.”28 Thus, rather than benefitting the general public,

 the 2009 Trusts operate to fund the Diocese’s own operations. Both the Charitable Trust and the

 Real Estate Trust instruments provide that the Diocese is not a beneficiary thereof, yet each plainly

 function to benefit the Diocese—and only the Diocese. As such, the spendthrift provisions in the

 2009 Trusts, barring creditors from reaching the assets of the settlor-beneficiary, are

 unenforceable, void, and, as a result, the Committee has colorable claims that the 2009 Trusts’

 assets are property of the Debtor’s bankruptcy estate and for turnover of the 2009 Trusts’ assets to

 the Debtor’s bankruptcy estate. By disregarding the improper trust structure, the estate could

 receive more than $80 million to pay creditors and Survivors.

             C.       The Alter Ego Claims are Colorable.

             The 2009 Trusts act as alter egos of the Diocese, and therefore, the Court should disregard

 the veil of the 2009 Trusts and allow the Committee to avoid transfers to the 2009 Trusts pursuant

 to 11 U.S.C. 544(a). See In re David X. Manners Co., 2018 WL 6271603 at *2 (Bankr. D. Ct. Nov.

 27, 2018) (holding that a trustee had standing under section 544(a) to pursue reverse veil-piercing

 claims). Pennsylvania law imposes a strong presumption against piercing the corporate veil.

 Lumax Indus. Inc. v. Aultman, 669 A.2d 893 (Pa. 1995). Nevertheless, “a court will not hesitate to



 28
      Kugler Decl. at Ex. E, § 1.1(a); Ex. F, § 1.1(a).

                                                          19
 CORE/3519315.0002/171700803.1

Case 1:20-bk-00599-HWV                  Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59            Desc
                                        Main Document   Page 36 of 256
 treat as identical the corporation and the individuals owning all its stock and assets whenever

 justice and public policy demand and when the rights of innocent parties are not prejudiced thereby

 nor the theory of corporate entity made useless.” Kellytown Co. v. Williams, 426 A.2d 663, 668

 (Pa. Super. Ct. 1981). “[T]he corporate form will be disregarded only when the entity is used to

 defeat public convenience, justify wrong, protect fraud or defend crime.” First Realvest, Inc. v.

 Avery Builders, Inc., 600 A.2d 601, 604 (Pa. Super. Ct. 1991) (quotation omitted).

          An alter ego claim requires proof that: (1) the party exercised sufficient domination and

 control over the corporation; and (2) injustice will result if the corporate fiction is maintained

 despite a unity of interests between the corporation and its principal. Allegheny Energy Supply Co.,

 LLC v. Wolf Run Min. Co., 53 A.3d 53, 58 n.7 (Pa. Super. Ct. 2012).29 For the second element, no

 single test has been enunciated. Rather, courts will look to whether the totality of the circumstances

 warrants piercing the corporate veil. See Ragan v. Tri–County Excavating, Inc., 62 F.3d 501, 516

 (3d Cir. 1995) (identifying factors to be relied upon when determining alter ego liability); In re

 Diloreto, 2006 WL 2974156, at *3 (E.D. Pa. Oct. 13, 2006) (“Under Pennsylvania law, courts

 apply a ‘totality of the circumstances’ test when determining whether to pierce the corporate veil

 and impose alter ego liability.”). Pennsylvania courts consider “undercapitalization, failure to



 29
    Pennsylvania state courts have not addressed whether veil-piercing principles apply to trusts. Rosenberg v. DVI
 Receivables, XIV, LLC, 400 F. Supp. 3d 236, 250 (E.D. Pa. 2019) (“The question of whether the theory of veil-piercing
 applies to trusts is a matter of state law, and Pennsylvania courts have not resolved this issue.”). Other jurisdictions,
 however, routinely apply alter ego theories to pierce the veil of trusts. See In re Maghezah, 310 B.R. 5, 18 (E.D.N.Y.
 2004) (piercing veil of estate planning trust where debtor treated the trust “as his own personal vehicle to shield assets
 from his creditors and to perpetrate a fraud”); see also Babitt v. Vebeliunas (In re Vebeliunas), 332 F.3d 85, 91 (2d
 Cir. 2003) (recognizing that New York courts have allowed trust piercing where the “respective parties used trusts to
 conceal assets or engage in fraudulent conveyances to shield funds from adverse judgments); Limbright v. Hofmeister,
 688 F. Supp. 2d 679, 686 (E.D. Ky. 2010) (applying alter ego theory to family trusts); In re Gillespie, 269 B.R. 383
 (Bankr. E.D. Ark. 2001) (concluding that trust was debtor’s alter ego making entire trust property of bankruptcy
 estate); Bracken v. Earl, 40 S.W.3d 499, 503 (Tenn. Ct. App. 2000) (concluding that individual was alter ego of “so-
 called trust” which was created as a “means for defendant to protect himself from liability when investing in other
 people’s money in risky ventures”); In re Bellardita, No. 05-60471-A-7, 2008 WL 4296554 (Bankr. E.D. Cal. Sept.
 19, 2008) (concluding that trust was alter ego of debtor because debtor treated trust assets as her own and disregarded
 formalities).

                                                            20
 CORE/3519315.0002/171700803.1

Case 1:20-bk-00599-HWV               Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                                Desc
                                     Main Document   Page 37 of 256
 adhere to corporate formalities, substantial intermingling of corporate and personal affairs and use

 of the corporate form to perpetuate a fraud.” Advanced Tel. Sys., Inc. v. Com-Net Prof’l Mobile

 Radio, LLC, 846 A.2d 1264, 1278 (Pa. Super. Ct. 2004) (quotation omitted).

          In this case, the 2009 Trusts are the alter egos of the Diocese. First, the Diocese exerts

 sufficient control over the 2009 Trusts because the Bishop is the Trustee and controls all Trust

 assets.30 Second, the 2009 Trusts are used for a singular purpose—to fund and carry out Diocesan

 operations.31 In practice, nothing has changed from the day before the Trusts were created to the

 present. At all times, the Bishop used the same assets for the same purpose: the change in title is

 in name only. Third, the Diocese claims to have limited assets of its own, thus suggesting that it is

 undercapitalized.32 Finally, allowing the Diocese to shield itself under a fraudulent scheme from

 the liabilities to Survivors of sexual abuse plainly constitutes an injustice. The Diocese now claims

 it has insufficient assets to compensate Survivors even though the Diocese has access to over $80

 million in assets not listed in its Schedules or otherwise included in the estate. As such, the

 Committee’s claim for alter ego liability is colorable.

 III.     Prosecution of the Complaints Will Increase the Bankruptcy Estate by Over $80
          Million, and the Diocese’s Refusal to Prosecute Such Claims is Not Justified.

          Finally, the Court should grant the Committee derivate standing because the Diocese

 unjustifiably refused to pursue the claims against the 2009 Trusts. The derivative standing analysis

 requires a determination as to whether the Diocese unjustifiably declined to pursue the claims at

 issue. In re Racing Servs., 540 F.3d at 900–01. Whether a refusal to pursue litigation is

 “unjustifiable” depends on the facts and circumstances of each case, and more specifically whether

 there is likely to be a real benefit to the estate. Id. at 900. “At one end of the spectrum, a trustee


 30
    Kugler Decl. at Ex. E, § 3.1, § 3.8, and Exhibit C; Ex. F, § 3.1, § 3.8, and Exhibit C.
 31
    Id. at Ex. E, § 1.1(a); Ex. F, § 1.1(a).
 32
    See ECF No. 297, Amended Schedule A/B and E/F, at p. 8 and 17.

                                                            21
 CORE/3519315.0002/171700803.1

Case 1:20-bk-00599-HWV               Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59             Desc
                                     Main Document   Page 38 of 256
 almost certainly abuses his discretion by refusing to bring a creditor’s claim that, if successful,

 would clearly benefit the estate. At the other end, a trustee certainly does not abuse his discretion

 by refusing to bring a claim that would yield insignificant benefits to the estate.” Id. (emphasis in

 original).

           If the foregoing actions are not commenced, creditors will forever lose the ability to seek

 recovery of more than $80 million in fraudulent transfers made by the Diocese. This amount

 plainly benefits the estate. The Committee believes that the Diocese’s hesitancy to prosecute the

 above-mentioned claims arises from its inherent conflict of interest—namely, its reluctance to

 undo the very fraudulent scheme that it enacted to place substantially all of its assets beyond the

 reach of its creditors, including Survivors. To allow the Diocese to control the claims set forth in

 the Complaints is to affirmatively “give[] rise to the proverbial problem of the fox guarding the

 henhouse.” Cybergenics II, 330 F.3d at 574. Because the Diocese will not pursue the claims to

 recover the millions of dollars available to compensate Survivors, the Court should grant the

 Committee derivative standing.

                                            CONCLUSION

           At the center of this bankruptcy are Survivors, and the Diocese’s long history of abuse,

 cover-ups, and lies. Permitting the Diocese to continue to guard its assets in fraudulent trusts only

 serves to further prevent Survivors from obtaining partial justice for the harm the Diocese caused.

 For the foregoing reasons, the Committee respectfully requests that the Court enter an order,

 substantially in the form of Exhibit 1 to this Motion, granting the Committee derivative standing

 to commence, prosecute, and settle the claims detailed in the Complaints on behalf of the Debtor’s

 estate.

                                        [Signature page follows]



                                                   22
 CORE/3519315.0002/171700803.1

Case 1:20-bk-00599-HWV           Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                Desc
                                 Main Document   Page 39 of 256
                                                Respectfully submitted,



 Dated: December 23, 2021                       /s/ Robert T. Kugler
                                                Robert T. Kugler (MN #194116)
                                                Edwin H. Caldie (MN #0388930)
                                                STINSON LLP
                                                50 South Sixth Street, Suite 2600
                                                Minneapolis, MN 55402
                                                Telephone: (612) 335-1500
                                                Facsimile: (612) 335-1657
                                                Email: robert.kugler@stinson.com
                                                Email: edwin.caldie@stinson.com

                                                COUNSEL FOR THE OFFICIAL
                                                COMMITTEE OF TORT CLAIMANTS




                                               23
 CORE/3519315.0002/171700803.1

Case 1:20-bk-00599-HWV           Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                                 Main Document   Page 40 of 256
                                            Exhibit 1
                                        (Proposed Order)




 CORE/3519315.0002/171700803.1

Case 1:20-bk-00599-HWV           Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                                 Main Document   Page 41 of 256
                                    UNITED STATES BANKRUPTCY COURT
                                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 In re:                                           Chapter 11


 ROMAN CATHOLIC DIOCESE OF
 HARRISBURG,                                      Case No. 1:20-bk-00599 (HWV)

               Debtor.




    ORDER GRANTING THE OFFICIAL COMMITTEE OF TORT CLAIMANTS’ MOTION FOR
    STANDING AND AUTHORITY TO COMMENCE, PROSECUTE, AND SETTLE CAUSES OF
            ACTION ON BEHALF OF THE DEBTOR’S BANKRUPTCY ESTATE


          Upon consideration of the Official Committee of Tort Claimant’s Motion for Standing and Authority to

Commence, Prosecute, and Settle Causes of Action on Behalf of the Debtor’s Bankruptcy Estate (the “Motion”),

after proper notice of the Motion was made by the Official Committee of Tort Claimants (the “Committee”), and

upon consideration of all responses to the Motion, and upon consideration of the Motion at a hearing on January

11, 2021 at 9:30 a.m. (E.T.),

IT IS ORDERED:

          1.      The Motion is GRANTED.

          2.      The Committee shall have standing to commence, prosecute, and settle the causes of action

identified in the Complaints.




CORE/3519315.0002/171700803.1

       Case 1:20-bk-00599-HWV         Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59             Desc
                                      Main Document   Page 42 of 256
                          UNITED STATES BANKRUPTCY COURT
                      FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

  In re:                                             Chapter 11

  ROMAN CATHOLIC DIOCESE OF                          Case No. 1:20-bk-00599 (HWV)
  HARRISBURG,

                Debtor.


    DECLARATION OF ROBERT T. KUGLER IN SUPPORT OF THE OFFICIAL
      COMMITTEE OF TORT CLAIMANTS’ MOTION FOR STANDING AND
  AUTHORITY TO COMMENCE, PROSECUTE, AND SETTLE CAUSES OF ACTION
          ON BEHALF OF THE DEBTOR’S BANKRUPTCY ESTATE


           Robert T. Kugler, Esq., makes this declaration (the “Declaration”), in support of the

 Official Committee of Tort Claimant’s Motion for Standing and Authority to Commence,

 Prosecute, and Settle Causes of Action on Behalf of the Debtor’s Bankruptcy Estate (the

 “Motion”).

           1.     I am a partner at the law firm of Stinson LLP, which maintains offices for the

 practice of law at, among other locations, 50 South 6th Street, Minneapolis, Minnesota, 55402. I

 am duly admitted to practice law in the State of Minnesota, the United States Court of Appeals for

 the Eighth Circuit, United States District Court for the District of Minnesota, the United States

 District Court for the Northern District of California, and the United States District Court for the

 Western District of Wisconsin.

           2.     Except as otherwise indicated, the facts set forth in this Declaration are personally

 known to me and, if called as a witness, I could and would testify thereto.

           3.     I submit this Declaration in order to provide documentation supporting the Motion.

           4.     Attached hereto as Exhibit A is a copy of the Committee’s Charitable Trust

 Complaint.




Case 1:20-bk-00599-HWV          Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                  Desc
                                Main Document   Page 43 of 256
        5.      Attached hereto as Exhibit B is a copy of the Committee’s Real Estate Trust

 Complaint.

        6.      Attached hereto as Exhibit C is the Informational Brief of the Roman Catholic

 Diocese of Harrisburg [ECF No. 2].

        7.      Attached hereto as Exhibit D is the Debtor’s Amended Schedule A/B and E/F.

        8.      Attached hereto as Exhibit E is the Roman Catholic Diocese of Harrisburg

 Charitable Trust Declaration of Trust.

        9.      Attached hereto as Exhibit F is the Roman Catholic Diocese of Harrisburg Real

 Estate Trust Declaration of Trust.

        10.     Attached hereto as Exhibit G is the Declaration of Christopher G. Linscott In

 Support of First Day Motions [ECF No. 15].

        11.     Attached hereto as Exhibit H



        12.     Attached hereto as Exhibit I



        13.     Attached hereto as Exhibit J is the Committee’s written demand to the Diocese to

 pursue the claims identified in the Complaints against the 2009 Trusts.

        I declare under the penalty of perjury that the foregoing is true and correct.



 Dated: December 23, 2021                                             /s/ Robert T. Kugler
                                                                      Robert T. Kugler




Case 1:20-bk-00599-HWV        Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59               Desc
                              Main Document   Page 44 of 256
                             EXHIBIT A




Case 1:20-bk-00599-HWV   Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 45 of 256
                            UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

  In re:                                              Chapter 11


  ROMAN CATHOLIC DIOCESE OF
  HARRISBURG,                                         Case No. 1:20-bk-00599 (HWV)

                Debtor.



  OFFICIAL COMMITTEE OF TORT                          Adv. P. No.
  CLAIMANTS,
                             Plaintiff,

  vs.

  THE ROMAN CATHOLIC DIOCESE OF
  HARRISBURG, and BISHOP RONALD W.
  GAINER, AS TRUSTEE OF THE ROMAN
  CATHOLIC DIOCESE OF HARRISBURG
  CHARITABLE TRUST,
                             Defendants.

   COMPLAINT TO AVOID FRAUDULENT TRANSFERS, FOR TURNOVER AND
 ACCOUNT OF PROPERTY OF THE BANKRUPTCY ESTATE, FOR DECLARATORY
                RELIEF, AND FOR INJUNCTIVE RELIEF


           The Official Committee of Tort Claimants (the “Committee” or “Plaintiff”) of the Roman

 Catholic Diocese of Harrisburg (the “Diocese” or “Debtor”), the debtor and debtor in possession

 in the above-captioned case pending under chapter 11 of title 11 of the United States Code (the

 “Bankruptcy Code”), by and through its undersigned counsel, brings this adversary proceeding

 against the above-captioned defendants (the “Defendants”) pursuant to the authority granted to the

 Committee by the Order Granting the Official Committee of Tort Claimant’s Motion for Standing

 and Authority to Commence, Prosecute, and Settle Causes of Action on Behalf of the Debtor’s

 Bankruptcy Estate entered on              [ECF No.   ] (the “Committee Standing Order”).


 CORE/3519315.0002/171700806.1

Case 1:20-bk-00599-HWV              Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59          Desc
                                    Main Document   Page 46 of 256
                                     JURISDICTION AND VENUE

           1.      The Court has jurisdiction over the subject matter of this adversary proceeding

 pursuant to 28 U.S.C. §§ 157 and 1334, 11 U.S.C. § 105l and Federal Rule of Bankruptcy

 Procedure 7001. This adversary proceeding is commenced pursuant to Rule 7001(1) of the

 Federal) and is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

           2.      Venue in this judicial district is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

           3.      This adversary proceeding constitutes a core proceeding pursuant to 28 U.S.C. §§

 157(b).

                                                PARTIES

           4.      The Plaintiff is the Official Committee of Tort Claimants appointed in the Debtor’s

 bankruptcy case by the United States Trustee appointed on March 9, 2020. The United States

 Trustee appointed the Committee to represent the Debtor’s unsecured creditors pursuant to 11

 U.S.C. § 1102(a)(1).

           5.      On            , the Court entered the Committee Standing Order.

           6.      The Diocese is the debtor and debtor-in-possession, and, as set forth below, the sole

 settlor and beneficiary of the Roman Catholic Diocese of Harrisburg Charitable Trust (the

 “Charitable Trust”).

           7.      Bishop Ronald W. Gainer is the trustee of the Charitable Trust, as well as the

 Bishop of the Diocese—the sole settlor and beneficiary of the Charitable Trust.

                                            BACKGROUND

     I.         The Diocese’s Bankruptcy Case




 CORE/3519315.0002/171700806.1

Case 1:20-bk-00599-HWV            Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                 Desc
                                  Main Document   Page 47 of 256
           8.       The Diocese filed its petition for Chapter 11 bankruptcy on February 19, 2020 (the

 “Petition Date”). The Diocese continues to operate as a debtor in possession pursuant to U.S.C. §§

 1107 and 1008.

           9.       The Diocese’s commencement of the above-captioned bankruptcy case of created

 an “estate” as defined in 11 U.S.C. § 541(a) as of the Petition Date.

     II.         Creation of the Charitable Trust

           10.      On November 13, 2009, the Diocese, as sole settlor and grantor, transferred

 substantially all of its non-real estate assets, into the Charitable Trust, via that Roman Catholic

 Diocese of Harrisburg Charitable Trust Declaration of Trust (the “Charitable Trust Declaration of

 Trust”).1

           11.      In the Charitable Trust Declaration of Trust, at § 3.1, § 3.8, and Exhibit C, then-

 Bishop Kevin Rhoades declared that he held all of the Diocese’s non-real estate assets as trustee

 of the Charitable Trust.

           12.      The Charitable Trust Declaration of Trust, § 3.1, directs that any successors as

 trustee of the Charitable Trust “shall be the then current Bishop as designated by the Pope.” The

 current Bishop of the Diocese is Bishop Ronald W. Gainer. As such Bishop Ronald W. Gainer is

 the current trustee of the Charitable Trust (the “Trustee”).

           13.      The Charitable Trust Declaration of Trust, at § 1.1(a), states that the purpose of the

 Charitable Trust is to “perform the functions of, and to carry out the purposes of the Roman

 Catholic Church, specifically in carrying out Diocesan operations within the territorial confines of

 the Diocese.” As a result,




 1
  Attached hereto as Exhibit A is a copy of the Roman Catholic Diocese of Harrisburg Charitable Trust Declaration
 of Trust.


 CORE/3519315.0002/171700806.1

Case 1:20-bk-00599-HWV             Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                          Desc
                                   Main Document   Page 48 of 256
                     , the Charitable Trust exists solely to carry out Diocesan operations, and therefore,

 benefits only the Diocese.

            14.      The Charitable Trust Declaration of Trust, at § 1.2(c), states that the Charitable

 Trust’s assets “shall not be subject to voluntary or involuntary assignment, transfer, anticipation,

 legal process, judgments or claims of creditors of . . . any other trust or other entity held or

 administered by the same Trustee, or affiliated in any way with the Diocese of Harrisburg.” (the

 “Charitable Trust Spendthrift Provision”).

            15.



     III.         The Diocese’s Transfers to the Charitable Trust and Use of Charitable Trust
                  Funds

            16.      The Diocese, from November 13, 2009 and continuously to the Petition Date,

 transferred substantially all of its non-real estate assets to the Charitable Trust (the “Charitable

 Trust Transfers”).

            17.      Insofar as the Committee has been able to ascertain, the Charitable Trust Transfers

 include the transfer of investment account assets currently worth approximately $45 million.

            18.      Upon information and belief, the creation of the Charitable Trust, and the

 conveyance of substantially all of the Diocese’s non-real estate assets to the Charitable Trust, was

 intended to place the Diocese’s assets beyond the reach of its creditors, including sexual abuse

 survivors having claims against the Diocese (“Survivors”).

            19.      Both the planning process leading to the creation of the Charitable Trust, and the

 creation of the Charitable Trust, exhibited multiple and obvious badges of fraud, including:




 CORE/3519315.0002/171700806.1

Case 1:20-bk-00599-HWV             Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                  Desc
                                   Main Document   Page 49 of 256
                   a. The Diocese retained possession and control of its non-real estate assets after

                       the Charitable Trust Transfers were made as the Bishop continued to control

                       the Charitable Trust’s assets as Trustee of the Charitable Trust;

                   b. Before the Charitable Trust Transfers were made, the Diocese faced the

                       increasing threat of litigation based on widely-publicized reports of clergy

                       sexual abuse throughout the United States;

                   c. Following the commencement of a grand jury investigation of the Diocese,




                                                                     ;

                   d. The transfers included all of the Diocese’s non-real estate assets;

                   e. The Diocese became insolvent as a result of the transfer of all of its non-real

                       estate assets to the Charitable Trust and all of its real estate assets to the Roman

                       Catholic Diocese of Harrisburg Real Estate Trust;

                   f. The assets in the Charitable Trust must be used to benefit the Diocese; and

                   g. The Diocese did not receive any consideration, or consideration reasonably

                       equivalent in value, to the assets transferred.

          20.      Notably, the creation of the Charitable Trust and the Roman Catholic Diocese of

 Harrisburg Real Estate Trust mirrored restructuring efforts of other dioceses within the United

 States, which were, upon information and belief, all undertaken in response to escalating claims

 of clergy sexual abuse and extended limitations periods for Survivors to bring suit.




 CORE/3519315.0002/171700806.1

Case 1:20-bk-00599-HWV            Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                    Desc
                                  Main Document   Page 50 of 256
          21.




          22.      The Diocese’s creditors, including Survivors, could not have known about the

 creation of the Charitable Trust or the Charitable Trust Transfers, let alone their fraudulent nature,

 at the time the Charitable Trust was created and the Charitable Trust Transfers were made because

 there were no public announcements regarding the creation of the Charitable Trust or the

 Charitable Trust Transfers, they lacked access to the Diocese’s financial records, and there were

 no other facts, conditions, or circumstances knowable to the Diocese’s creditors that would have

 caused a reasonable person in their position to inquire regarding the creation of the Charitable

 Trust or the fraudulent nature of the Charitable Trust Transfers.

                                    RESERVATION OF RIGHTS

          23.      During the course of this adversary proceeding, the Committee may learn (through

 discovery or otherwise), of additional facts or circumstances that augment the facts or support the

 claims asserted in this Complaint.

          24.      The Committee thus expressly reserves all available rights to amend this Complaint

 to include: (i) further information regarding the creation of the Charitable Trust; (ii) further

 information regarding the Charitable Trust Transfers; (iii) claims related to recovering Charitable

 Trust assets; (iv) modifications of and/or revisions to the Defendants’ names; (v) additional

 defendants; and (vi) additional causes of action (collectively, the “Amendments”), that may

 become known to the Committee at any time during this adversary proceeding, through formal

 discovery or otherwise, and for the Amendments to relate back to this original Complaint.




 CORE/3519315.0002/171700806.1

Case 1:20-bk-00599-HWV           Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                 Desc
                                 Main Document   Page 51 of 256
          25.      The Committee reserves all rights and arguments necessary to ensure that any and

 all Amendments relate back to the date of this original Complaint and the Committee does, in fact,

 intend any and all Amendments to relate back to the date of this original Complaint.

                                   FIRST CLAIM FOR RELIEF
                    Avoidance and Recovery of Transfers Pursuant to 11 U.S.C. §
                     544(b)(1), 11 U.S.C. § 550, and 12 Pa. Cons. Stat. § 5104(a)

          26.       The Committee reasserts and incorporates by reference each and every assertion

 set contained in this Complaint as if though set forth fully here.

          27.      The Diocese made the Charitable Trust Transfers with the intent to hinder, delay,

 or defraud the Diocese’s creditors, including Survivors.

          28.      The Charitable Trust Transfers are avoidable pursuant to 11 U.S.C. § 544(b)(1) and

 12 Pa. Cons. Stat. § 5104(a).

          29.      The Charitable Trust was the initial transferee of the Charitable Trust Transfers.

          30.      As a result, the Committee, on behalf of the Debtor’s bankruptcy estate, is entitled

 to recover the Charitable Trust Transfers, or the value thereof, pursuant to 11 U.S.C. § 550.

                                  SECOND CLAIM FOR RELIEF
                      Turnover and Account of Estate Property Pursuant to 11
                      U.S.C. § 541(a), 11 U.S.C. § 542, and Pennsylvania’s “Self-
                                Settled Trust” Common Law Doctrine

          31.      The Committee reasserts and incorporates by reference each and every assertion set

 contained in this Complaint as if though set forth fully here.

          32.      The Diocese was the settlor of the Charitable Trust and made the Charitable Trust

 Transfers.

          33.      The Diocese is the sole beneficiary of the Charitable Trust because the Charitable

 Trust Declaration of Trust, at § 1.1(a), states that the purpose of the Charitable Trust is to “perform

 the functions of, and to carry out the purposes of the Roman Catholic Church, specifically in



 CORE/3519315.0002/171700806.1

Case 1:20-bk-00599-HWV           Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                  Desc
                                 Main Document   Page 52 of 256
 carrying out Diocesan operations within the territorial confines of the Diocese.” As a result, the

 Charitable Trust exists solely to carry out Diocesan operations, and therefore, benefits only the

 Diocese.

          34.      The Charitable Trust is therefore a self-settled trust.

          35.      Under Pennsylvania common law, a settlor may not establish a trust in which it

 retains the beneficial interest in the trust property, while at the same time placing that property

 beyond the reach of its creditors.

          36.      Thus, the Charitable Trust’s Spendthrift Provision is unenforceable, the Charitable

 Trust is void, and all of the Charitable Trust’s assets, and the income derived therefrom, should be

 deemed property of the Debtor’s bankruptcy estate pursuant to 11 U.S.C. § 541(a) and should be

 turned over to the Debtor’s bankruptcy estate pursuant to 11 U.S.C. § 542.

          37.      Accordingly, the Committee prays for an order compelling Bishop Gainer, as

 Trustee, to turn over all of the Charitable Trust’s assets, and the income derived therefrom, to the

 Debtor’s bankruptcy estate.

                                    THIRD CLAIM FOR RELIEF
                      Turnover and Account of Estate Property Pursuant to 11
                    U.S.C. § 541(a), 11 U.S.C. § 542, 11 U.S.C. § 544(a), and 20 Pa.
                                           Cons. Stat. § 7745

          38.      The Committee reasserts and incorporates by reference each and every assertion set

 contained in this Complaint as if though set forth fully here.

          39.      Although the Charitable Trust is designated an irrevocable trust, it is actually

 revocable since the Diocese is both the settlor and,




 CORE/3519315.0002/171700806.1

Case 1:20-bk-00599-HWV            Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59               Desc
                                  Main Document   Page 53 of 256
          40.      Under 20 Pa. Cons. Stat. § 7745, “[w]hether or not a trust instrument contains a

 spendthrift provision and notwithstanding section 7744 . . . (1) During the lifetime of the settlor,

 the property of a revocable trust is subject to claims of the settlor's creditors.”

          41.      As a result, the Charitable Trust is subject to the interests of the Diocese’s creditors.

          42.      11 U.S.C. § 544(a), and the Committee Standing Order, give the Committee, on

 behalf of the Debtor’s bankruptcy estate, all the rights and powers of creditors, including the

 creditors referred to in 20 Pa. Cons. Stat. § 7745.

          43.      All of the Charitable Trust’s assets, and the income derived therefrom, should be

 deemed to be subject to the claims of the Diocese’s creditors, constitute property of the Debtor’s

 bankruptcy estate pursuant to 11 U.S.C. § 541(a), and should be turned over to the Debtor’s

 bankruptcy estate pursuant to 11 U.S.C. § 542.

          44.      Accordingly, the Committee prays for an order compelling Bishop Gainer, as

 Trustee, to turn over all of the Charitable Trust’s assets, and the income derived therefrom, to the

 Debtor’s bankruptcy estate.

                                 FOURTH CLAIM FOR RELIEF
                    Avoidance and Recovery of Transfers Pursuant to 11 U.S.C. §
                      544(a), 11 U.S.C. § 550, and Pennsylvania’s “Alter Ego”
                                      Common Law Doctrine

          45.      The Committee reasserts and incorporates by reference each and every assertion set

 contained in this Complaint as if though set forth fully here.

          46.      The Charitable Trust is completely controlled by the Diocese through the Bishop.

 The Charitable Trust was funded and is used for a singular purpose—to carry out the Diocese’s

 operations.




 CORE/3519315.0002/171700806.1

Case 1:20-bk-00599-HWV            Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                     Desc
                                  Main Document   Page 54 of 256
          47.      The creation of the Charitable Trust and Charitable Trust Transfers have resulted

 in a grave injustice to the Diocese’s creditors, including Survivors, as the Diocese has effectively

 shielded its assets from the claims of individuals who suffered sexual abuse as children.

          48.      11 U.S.C. § 544(a), and the Committee Standing Order, give the Committee, on

 behalf of the Debtor’s bankruptcy estate, all the rights and powers of creditors,

          49.      Under Pennsylvania law, the creation of a trust may be disregarded when the settlor

 of a trust exercises sufficient domination and control over the trust and injustice will result if the

 trust structure is maintained despite a unity of interests between the trust and the settlor.

          50.      Because the Diocese exerts complete dominion and control over the Charitable

 Trust, and because the creation of the Charitable Trust and the Charitable Trust Transfers were

 designed to shield the Diocese’s assets from the claims of individuals who suffered sexual abuse

 as children, the Charitable Trust Transfers are avoidable pursuant to 11 U.S.C. § 544(a) and

 Pennsylvania’s “Alter Ego” Common Law Doctrine.

          51.      As a result, the Committee, on behalf of the Debtor’s bankruptcy estate, is entitled

 to recover the Charitable Trust Transfers, or the value thereof, pursuant to 11 U.S.C. § 550.

                                    FIFTH CLAIM FOR RELIEF
                      Declaratory Relief: The Charitable Trust is a Self-Settled
                     Trust Containing an Unenforceable Spendthrift Provision,
                        and, as a result, the Charitable Trust is Void and the
                     Charitable Trust Assets are Property of the Debtor’s Estate
                                  Pursuant to 11 U.S.C. § 541(a)(1)

          52.      The Committee reasserts and incorporates by reference each and every assertion set

 contained in this Complaint as if though set forth fully here.

          53.      The Diocese was the settlor of the Charitable Trust and made the Charitable Trust

 Transfers.




 CORE/3519315.0002/171700806.1

Case 1:20-bk-00599-HWV           Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                 Desc
                                 Main Document   Page 55 of 256
          54.      The Diocese is the sole beneficiary of the Charitable Trust because the Charitable

 Trust Declaration of Trust, at § 1.1(a), states that the purpose of the Charitable Trust is to “perform

 the functions of, and to carry out the purposes of the Roman Catholic Church, specifically in

 carrying out Diocesan operations within the territorial confines of the Diocese.” As a result, the

 Charitable Trust exists solely to carry out Diocesan operations, and therefore, benefits only the

 Diocese.

          55.      The Charitable Trust is therefore a self-settled trust.

          56.      Under Pennsylvania common law, a settlor may not establish a trust in which it

 retains the beneficial interest in the trust property, while at the same time placing that property

 beyond the reach of its creditors.

          57.      Thus, the Charitable Trust’s Spendthrift’s Provision is unenforceable, the

 Charitable Trust is void, and all of the Charitable Trust’s assets, and the income derived therefrom,

 should be deemed property of the Debtor’s bankruptcy estate pursuant to 11 U.S.C. §541(a).

          58.      The Diocese contends that the Debtor’s estate has no rights to the Charitable Trust’s

 assets or the income derived therefrom and that those assets and income are not available to pay

 the claims of the Diocese’s creditors, including Survivors.

          59.      An actual and justiciable controversy exists as to whether the Charitable Trust is

 void as a result of the Charitable Trust being a self-settled trust containing an unenforceable

 spendthrift provision.

          60.      Accordingly, the Committee prays for a judgment declaring that the Charitable

 Trust is void and that the Charitable Trust’s assets are property of the Debtor’s bankruptcy estate

 pursuant to 11 U.S.C. § 541(a)(1).




 CORE/3519315.0002/171700806.1

Case 1:20-bk-00599-HWV            Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                 Desc
                                  Main Document   Page 56 of 256
                                     SIXTH CLAIM FOR RELIEF
                    Declaratory Relief: The Charitable Trust’ Assets are Subject
                    to the Interests of the Diocese’s Creditors and are Property of
                    the Debtor’s Estate Pursuant to 20 Pa. Cons. Stat. § 7745 and
                                          11 U.S.C. § 541(a)(1)

          61.      The Committee reasserts and incorporates by reference each and every assertion set

 contained in this Complaint as if though set forth fully here.

          62.      Although the Charitable Trust is designated an irrevocable trust, it is actually

 revocable since the Diocese is both the settlor and,



          63.      Under 20 Pa. Cons. Stat. § 7745, “[w]hether or not a trust instrument contains a

 spendthrift provision and notwithstanding section 7744 . . . (1) During the lifetime of the settlor,

 the property of a revocable trust is subject to claims of the settlor's creditors.”

          64.      As a result, the Charitable Trust is subject to the interests of the Diocese’s creditors.

          65.      11 U.S.C. §544(a), and the Committee Standing Order, give the Committee, on

 behalf of the Debtor’s bankruptcy estate, all the rights and powers

          66.      The Diocese contends that the Debtor’s estate has no rights to the assets in the

 Charitable Trust or the income derived therefrom and that those assets and income are not available

 to pay the claims of the Diocese’s creditors, including Survivors.

          67.      An actual and justiciable controversy exists as to whether the Charitable Trust is

 subject to the claims of the Diocese’s creditors, including Survivors, under 20 Pa. Cons. Stat. §

 7745, and whether the Charitable Trust’s assets, and income derived therefrom, are property of the

 Diocese’s estate.

          68.      Accordingly, the Committee prays for a judgment declaring that the Charitable

 Trust is subject to the claims of the Dioceses creditors and that the Charitable Trust’s assets, and




 CORE/3519315.0002/171700806.1

Case 1:20-bk-00599-HWV            Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                     Desc
                                  Main Document   Page 57 of 256
 the income derived therefrom, are property of the Debtor’s bankruptcy estate pursuant 11 U.S.C.

 § 541(a)(1).

                                 SEVENTH CLAIM FOR RELIEF
                     Injunctive Relief: Compelling the Trustee to Terminate the
                    Charitable Trust and Turnover the Charitable Trust’s Assets
                         to the Debtor Pursuant to 20 Pa. Cons. Stat. § 7745

          69.      The Committee reasserts and incorporates by reference each and every assertion set

 contained in this Complaint as if though set forth fully here.

          70.      Although the Charitable Trust is designated an irrevocable trust, it is actually

 revocable since the Diocese is both the settlor and,



          71.      Under 20 Pa. Cons. Stat. § 7745, “[w]hether or not a trust instrument contains a

 spendthrift provision and notwithstanding section 7744 . . . (1) During the lifetime of the settlor,

 the property of a revocable trust is subject to claims of the settlor's creditors.”

          72.      As a result, the Charitable Trust is subject to the interests of the Diocese’s creditors.

          73.      No adequate remedy at law exists for the Diocese’s ongoing failure to honor its

 fiduciary duties to its creditors, including Survivors, by refusing to exercise its right to terminate

 the Charitable Trust.

          74.      Irreparable harm will result to the Debtor’s estate and its creditors, including

 Survivors, if an injunction is not issued to compel the Trustee to terminate the Charitable Trust

 and turn over the Charitable Trust’s assets, including the income derived therefrom, to the Debtor’s

 bankruptcy estate.

          WHEREFORE, the Committee prays for judgment as follows:

          1.       The Charitable Trust Transfers are avoidable by the Debtor’s bankruptcy estate as

 fraudulent transfers;



 CORE/3519315.0002/171700806.1

Case 1:20-bk-00599-HWV            Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                     Desc
                                  Main Document   Page 58 of 256
          2.       The Debtor’s bankruptcy estate is entitled to recover the Charitable Trust Transfers

 or the value thereof, in an amount to be determined, pursuant to 11 U.S.C. § 550;

          3.       For turnover of the Charitable Trust’s assets, and the income derived therefrom, to

 the Debtor’s bankruptcy estate pursuant to 11 U.S.C. § 542;

          4.       That the Charitable Trust Transfers are avoidable by the Debtor’s bankruptcy estate

 as the Charitable Trust is the alter ego of the Diocese;

          5.       Declaring that the Charitable Trust a self-settled trust containing an unenforceable

 spendthrift provision and, as a result, the Charitable Trust is void and Charitable Trust’s assets,

 and the income derived therefrom, are property of the Debtor’s bankruptcy estate pursuant to 11

 U.S.C. § 541(a)(1);

          6.       Declaring that the Charitable Trust’s assets are subject to the interests of creditors

 are property of the Debtor’s bankruptcy estate pursuant to 20 Pa. Cons. Stat. § 7745 and 11 U.S.C.

 § 541(a)(1);

          7.       Ordering the Trustee to terminate the Charitable Trust and to turn over the

 Charitable Trust’s assets to the Debtor’s bankruptcy estate pursuant to 20 Pa. Cons. Stat. § 7745;

          8.       For prejudgment interest; and

          9.       For such other and further relief as the Court may deem just and proper.




 CORE/3519315.0002/171700806.1

Case 1:20-bk-00599-HWV            Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                  Desc
                                  Main Document   Page 59 of 256
                                                Respectfully submitted,


 Dated:                                         /s/
                                                Robert T. Kugler (MN #194116)
                                                Edwin H. Caldie (MN #0388930)
                                                STINSON LLP
                                                50 South Sixth Street, Suite 2600
                                                Minneapolis, MN 55402
                                                Telephone: (612) 335-1500
                                                Facsimile: (612) 335-1657
                                                Email: robert.kugler@stinson.com
                                                Email: edwin.caldie@stinson.com

                                                COUNSEL FOR THE OFFICIAL
                                                COMMITTEE OF TORT CLAIMANTS




 CORE/3519315.0002/171700806.1

Case 1:20-bk-00599-HWV           Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                                 Main Document   Page 60 of 256
                             EXHIBIT B




Case 1:20-bk-00599-HWV   Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 61 of 256
                            UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

  In re:                                              Chapter 11


  ROMAN CATHOLIC DIOCESE OF
  HARRISBURG,                                         Case No. 1:20-bk-00599 (HWV)

                Debtor.



  OFFICIAL COMMITTEE OF TORT                          Adv. P. No.
  CLAIMANTS,
                             Plaintiff,

  vs.

  THE ROMAN CATHOLIC DIOCESE OF
  HARRISBURG, and BISHOP RONALD W.
  GAINER, AS TRUSTEE OF THE ROMAN
  CATHOLIC DIOCESE OF HARRISBURG
  REAL ESTATE TRUST,
                             Defendants.

   COMPLAINT TO AVOID FRAUDULENT TRANSFERS, FOR TURNOVER AND
 ACCOUNT OF PROPERTY OF THE BANKRUPTCY ESTATE, FOR DECLARATORY
                RELIEF, AND FOR INJUNCTIVE RELIEF


           The Official Committee of Tort Claimants (the “Committee” or “Plaintiff”) of the Roman

 Catholic Diocese of Harrisburg (the “Diocese” or “Debtor”), the debtor and debtor in possession

 in the above-captioned case pending under chapter 11 of title 11 of the United States Code (the

 “Bankruptcy Code”), by and through its undersigned counsel, brings this adversary proceeding

 against the above-captioned defendants (the “Defendants”) pursuant to the authority granted to the

 Committee by the Order Granting the Official Committee of Tort Claimant’s Motion for Standing

 and Authority to Commence, Prosecute, and Settle Causes of Action on Behalf of the Debtor’s

 Bankruptcy Estate entered on              [ECF No.   ] (the “Committee Standing Order”).


 CORE/3519315.0002/171700807.1

Case 1:20-bk-00599-HWV              Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59          Desc
                                    Main Document   Page 62 of 256
                                     JURISDICTION AND VENUE

           1.      The Court has jurisdiction over the subject matter of this adversary proceeding

 pursuant to 28 U.S.C. §§ 157 and 1334, 11 U.S.C. § 105l and Federal Rule of Bankruptcy

 Procedure 7001. This adversary proceeding is commenced pursuant to Rule 7001(1) of the

 Federal) and is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

           2.      Venue in this judicial district is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

           3.      This adversary proceeding constitutes a core proceeding pursuant to 28 U.S.C. §§

 157(b).

                                                PARTIES

           4.      The Plaintiff is the Official Committee of Tort Claimants appointed in the Debtor’s

 bankruptcy case by the United States Trustee appointed on March 9, 2020. The United States

 Trustee appointed the Committee to represent the Debtor’s unsecured creditors pursuant to 11

 U.S.C. § 1102(a)(1).

           5.      On            , the Court entered the Committee Standing Order.

           6.      The Diocese is the debtor and debtor-in-possession, and, as set forth below, the sole

 settlor and beneficiary of the Roman Catholic Diocese of Harrisburg Real Estate Trust (the “Real

 Estate Trust”).

           7.      Bishop Ronald W. Gainer is the trustee of the Real Estate Trust, as well as the

 Bishop of the Diocese—the sole settlor and beneficiary of the Real Estate Trust.

                                            BACKGROUND

     I.         The Diocese’s Bankruptcy Case




 CORE/3519315.0002/171700807.1

Case 1:20-bk-00599-HWV            Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                 Desc
                                  Main Document   Page 63 of 256
           8.       The Diocese filed its petition for Chapter 11 bankruptcy on February 19, 2020 (the

 “Petition Date”). The Diocese continues to operate as a debtor in possession pursuant to U.S.C. §§

 1107 and 1008.

           9.       The Diocese’s commencement of the above-captioned bankruptcy case of created

 an “estate” as defined in 11 U.S.C. § 541(a) as of the Petition Date.

     II.         Creation of the Real Estate Trust

           10.      On November 13, 2009, the Diocese, as sole settlor and grantor, transferred

 substantially all of its real estate assets, into the Real Estate Trust, via that Roman Catholic Diocese

 of Harrisburg Real Estate Trust Declaration of Trust (the “Real Estate Trust Declaration of

 Trust”).1

           11.      In the Real Estate Trust Declaration of Trust, at § 3.1, § 3.8, and Exhibit C, then-

 Bishop Kevin Rhoades declared that he held all of the Diocese’s real estate assets as trustee of the

 Real Estate Trust.

           12.      The Real Estate Trust Declaration of Trust, § 3.1, directs that any successors as

 trustee of the Real Estate Trust “shall be the then current Bishop as designated by the Pope.” The

 current Bishop of the Diocese is Bishop Ronald W. Gainer. As such Bishop Ronald W. Gainer is

 the current trustee of the Real Estate Trust (the “Trustee”).

           13.      The Real Estate Trust Declaration of Trust, at § 1.1(a), states that the purpose of

 the Real Estate Trust is to “carry[] out Diocesan operations relating to real property within the

 territorial confines of the Diocese.” As a result,

                                                 the Real Estate Trust exists solely to carry out Diocesan

 operations, and therefore, benefits only the Diocese.


 1
  Attached hereto as Exhibit A is a copy of the Roman Catholic Diocese of Harrisburg Real Estate Trust Declaration
 of Trust.


 CORE/3519315.0002/171700807.1

Case 1:20-bk-00599-HWV             Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                          Desc
                                   Main Document   Page 64 of 256
            14.      The Real Estate Trust Declaration of Trust, at § 1.2(c), states that the Real Estate

 Trust’s assets “shall not be subject to voluntary or involuntary assignment, transfer, anticipation,

 legal process, judgments or claims of creditors of . . . any other trust or other entity held or

 administered by the same Trustee, or affiliated in any way with the Diocese of Harrisburg.” (the

 “Real Estate Trust Spendthrift Provision”).

            15.



     III.         The Diocese’s Transfers to the Real Estate Trust and Use of Real Estate Trust
                  Funds

            16.      The Diocese, from November 13, 2009 and continuously to the Petition Date,

 transferred substantially all of its real estate assets to the Real Estate Trust (the “Real Estate Trust

 Transfers”).

            17.      Insofar as the Committee has been able to ascertain, the Real Estate Transfers

 include the transfer of real property currently worth in excess of $50 million.

            18.      Upon information and belief, the creation of the Real Estate Trust, and the

 conveyance of substantially all of the Diocese’s real estate to the Real Estate Trust, was intended

 to place the Diocese’s assets beyond the reach of its creditors, including sexual abuse survivors

 having claims against the Diocese (“Survivors”).

            19.      Both the planning process leading to the creation of the Real Estate Trust, and the

 creation of the Real Estate Trust, exhibited multiple and obvious badges of fraud, including:

                     a. The Diocese retained possession and control of its real estate assets after the

                        Real Estate Trust Transfers were made as the Bishop continued to control the

                        Real Estate Trust’s assets as Trustee of the Real Estate Trust;




 CORE/3519315.0002/171700807.1

Case 1:20-bk-00599-HWV             Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                 Desc
                                   Main Document   Page 65 of 256
                   b. Before the Real Estate Trust Transfers were made, the Diocese faced the

                       increasing threat of litigation based on widely-publicized reports of clergy

                       sexual abuse throughout the United States;

                   c. Following the commencement of a grand jury investigation of the Diocese,




                                                                      ;

                   d. The transfers included all of the Diocese’s real estate assets;

                   e. The Diocese became insolvent as a result of the transfer of all of its non-real

                       estate assets to the Roman Catholic Diocese of Harrisburg Charitable Trust and

                       all of its real estate assets to the Real Estate Trust;

                   f. The assets in the Real Estate Trust must be used to benefit the Diocese; and

                   g. The Diocese did not receive any consideration, or consideration reasonably

                       equivalent in value, to the assets transferred.

          20.      Notably, the creation of the Roman Catholic Diocese of Harrisburg Charitable Trust

 and the Real Estate Trust mirrored restructuring efforts of other dioceses within the United States,

 which were, upon information and belief, all undertaken in response to escalating claims of clergy

 sexual abuse and extended limitations periods for Survivors to bring suit.

          21.




 CORE/3519315.0002/171700807.1

Case 1:20-bk-00599-HWV            Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59               Desc
                                  Main Document   Page 66 of 256
          22.      The Diocese’s creditors, including Survivors, could not have known about the

 creation of the Real Estate Trust or the Real Estate Trust Transfers, let alone their fraudulent nature,

 at the time the Real Estate Trust was created and the Real Estate Trust Transfers were made

 because there were no public announcements regarding the creation of the Real Estate Trust or the

 Real Estate Trust Transfers, they lacked access to the Diocese’s financial records, and there were

 no other facts, conditions, or circumstances knowable to the Diocese’s creditors that would have

 caused a reasonable person in their position to inquire regarding the creation of the Real Estate

 Trust or the fraudulent nature of the Real Estate Trust Transfers.

                                    RESERVATION OF RIGHTS

          23.      During the course of this adversary proceeding, the Committee may learn (through

 discovery or otherwise), of additional facts or circumstances that augment the facts or support the

 claims asserted in this Complaint.

          24.      The Committee thus expressly reserves all available rights to amend this Complaint

 to include: (i) further information regarding the creation of the Real Estate Trust; (ii) further

 information regarding the Real Estate Trust Transfers; (iii) claims related to recovering Real Estate

 Trust assets; (iv) modifications of and/or revisions to the Defendants’ names; (v) additional

 defendants; and (vi) additional causes of action (collectively, the “Amendments”), that may

 become known to the Committee at any time during this adversary proceeding, through formal

 discovery or otherwise, and for the Amendments to relate back to this original Complaint.

          25.      The Committee reserves all rights and arguments necessary to ensure that any and

 all Amendments relate back to the date of this original Complaint and the Committee does, in fact,

 intend any and all Amendments to relate back to the date of this original Complaint.




 CORE/3519315.0002/171700807.1

Case 1:20-bk-00599-HWV           Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                   Desc
                                 Main Document   Page 67 of 256
                                   FIRST CLAIM FOR RELIEF
                    Avoidance and Recovery of Transfers Pursuant to 11 U.S.C. §
                     544(b)(1), 11 U.S.C. § 550, and 12 Pa. Cons. Stat. § 5104(a)

          26.       The Committee reasserts and incorporates by reference each and every assertion

 set contained in this Complaint as if though set forth fully here.

          27.      The Diocese made the Real Estate Trust Transfers with the intent to hinder, delay,

 or defraud the Diocese’s creditors, including Survivors.

          28.      The Real Estate Trust Transfers are avoidable pursuant to 11 U.S.C. § 544(b)(1)

 and 12 Pa. Cons. Stat. § 5104(a).

          29.      The Real Estate Trust was the initial transferee of the Real Estate Trust Transfers.

          30.      As a result, the Committee, on behalf of the Debtor’s bankruptcy estate, is entitled

 to recover the Real Estate Trust Transfers, or the value thereof, pursuant to 11 U.S.C. § 550.

                                  SECOND CLAIM FOR RELIEF
                      Turnover and Account of Estate Property Pursuant to 11
                      U.S.C. § 541(a), 11 U.S.C. § 542, and Pennsylvania’s “Self-
                                Settled Trust” Common Law Doctrine

          31.      The Committee reasserts and incorporates by reference each and every assertion set

 contained in this Complaint as if though set forth fully here.

          32.      The Diocese was the settlor of the Real Estate Trust and made the Real Estate Trust

 Transfers.

          33.      The Diocese is the sole beneficiary of the Real Estate Trust because the Real Estate

 Trust Declaration of Trust, at § 1.1(a), states that the purpose of the Real Estate Trust is to “perform

 the functions of, and to carry out the purposes of the Roman Catholic Church, specifically in

 carrying out Diocesan operations within the territorial confines of the Diocese.” As a result, the

 Real Estate Trust exists solely to carry out Diocesan operations, and therefore, benefits only the

 Diocese.



 CORE/3519315.0002/171700807.1

Case 1:20-bk-00599-HWV           Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                   Desc
                                 Main Document   Page 68 of 256
          34.      The Real Estate Trust is therefore a self-settled trust.

          35.      Under Pennsylvania common law, a settlor may not establish a trust in which it

 retains the beneficial interest in the trust property, while at the same time placing that property

 beyond the reach of its creditors.

          36.      Thus, the Real Estate Trust’s Spendthrift Provision is unenforceable, the Real

 Estate Trust is void, and all of the Real Estate Trust’s assets, and the income derived therefrom,

 should be deemed property of the Debtor’s bankruptcy estate pursuant to 11 U.S.C. §541(a) and

 should be turned over to the Debtor’s bankruptcy estate pursuant to 11 U.S.C. §542.

          37.      Accordingly, the Committee prays for an order compelling Bishop Gainer, as

 Trustee, to turn over all of the Real Estate Trust’s assets, and the income derived therefrom, to the

 Debtor’s bankruptcy estate.

                                    THIRD CLAIM FOR RELIEF
                      Turnover and Account of Estate Property Pursuant to 11
                    U.S.C. § 541(a), 11 U.S.C. § 542, 11 U.S.C. § 544(a), and 20 Pa.
                                           Cons. Stat. § 7745

          38.      The Committee reasserts and incorporates by reference each and every assertion set

 contained in this Complaint as if though set forth fully here.

          39.      Although the Real Estate Trust is designated an irrevocable trust, it is actually

 revocable since the Diocese is both the settlor and,



          40.      Under 20 Pa. Cons. Stat. § 7745, “[w]hether or not a trust instrument contains a

 spendthrift provision and notwithstanding section 7744 . . . (1) During the lifetime of the settlor,

 the property of a revocable trust is subject to claims of the settlor's creditors.”

          41.      As a result, the Real Estate Trust is subject to the interests of the Diocese’s

 creditors.



 CORE/3519315.0002/171700807.1

Case 1:20-bk-00599-HWV            Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59               Desc
                                  Main Document   Page 69 of 256
          42.      11 U.S.C. § 544(a), and the Committee Standing Order, give the Committee, on

 behalf of the Debtor’s bankruptcy estate, all the rights and powers of creditors, including the

 creditors referred to in 20 Pa. Cons. Stat. § 7745.

          43.      All of the Real Estate Trust’s assets, and the income derived therefrom, should be

 deemed to be subject to the claims of the Diocese’s creditors, constitute property of the Debtor’s

 bankruptcy estate pursuant to 11 U.S.C. § 541(a), and should be turned over to the Debtor’s

 bankruptcy estate pursuant to 11 U.S.C. § 542.

          44.      Accordingly, the Committee prays for an order compelling Bishop Gainer, as

 Trustee, to turn over all of the Real Estate Trust’s assets, and the income derived therefrom, to the

 Debtor’s bankruptcy estate.

                                 FOURTH CLAIM FOR RELIEF
                    Avoidance and Recovery of Transfers Pursuant to 11 U.S.C. §
                      544(a), 11 U.S.C. § 550, and Pennsylvania’s “Alter Ego”
                                      Common Law Doctrine

          45.      The Committee reasserts and incorporates by reference each and every assertion set

 contained in this Complaint as if though set forth fully here.

          46.      The Real Estate Trust is completely controlled by the Diocese through the Bishop.

 The Real Estate Trust was funded and is used for a singular purpose—to carry out the Diocese’s

 operations.

          47.      The creation of the Real Estate Trust and Real Estate Trust Transfers have resulted

 in a grave injustice to the Diocese’s creditors, including Survivors, as the Diocese has effectively

 shielded its assets from the claims of individuals who suffered sexual abuse as children.

          48.      11 U.S.C. § 544(a), and the Committee Standing Order, give the Committee, on

 behalf of the Debtor’s bankruptcy estate, all the rights and powers of creditors.




 CORE/3519315.0002/171700807.1

Case 1:20-bk-00599-HWV           Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                Desc
                                 Main Document   Page 70 of 256
          49.      Under Pennsylvania law, the creation of a trust may be disregarded when the settlor

 of a trust exercises sufficient domination and control over the trust and injustice will result if the

 trust structure is maintained despite a unity of interests between the trust and the settlor.

          50.      Because the Diocese exerts complete dominion and control over the Real Estate

 Trust, and because the creation of the Real Estate Trust and the Real Estate Trust Transfers were

 designed to shield the Diocese’s assets from the claims of individuals who suffered sexual abuse

 as children, the Real Estate Trust Transfers are avoidable pursuant to 11 U.S.C. § 544(a) and

 Pennsylvania’s “Alter Ego” Common Law Doctrine.

          51.      As a result, the Committee, on behalf of the Debtor’s bankruptcy estate, is entitled

 to recover the Real Estate Trust Transfers, or the value thereof, pursuant to 11 U.S.C. § 550.

                                    FIFTH CLAIM FOR RELIEF
                      Declaratory Relief: The Real Estate Trust is a Self-Settled
                      Trust Containing an Unenforceable Spendthrift Provision,
                      and, as a result, the Real Estate Trust is Void and the Real
                       Estate Trust Assets are Property of the Debtor’s Estate
                                   Pursuant to 11 U.S.C. § 541(a)(1)

          52.      The Committee reasserts and incorporates by reference each and every assertion set

 contained in this Complaint as if though set forth fully here.

          53.      The Diocese was the settlor of the Real Estate Trust and made the Real Estate Trust

 Transfers.

          54.      The Diocese is the sole beneficiary of the Real Estate Trust because the Real Estate

 Trust Declaration of Trust, at § 1.1(a), states that the purpose of the Real Estate Trust is to “perform

 the functions of, and to carry out the purposes of the Roman Catholic Church, specifically in

 carrying out Diocesan operations within the territorial confines of the Diocese.” As a result, the

 Real Estate Trust exists solely to carry out Diocesan operations, and therefore, benefits only the

 Diocese.



 CORE/3519315.0002/171700807.1

Case 1:20-bk-00599-HWV           Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                   Desc
                                 Main Document   Page 71 of 256
          55.      The Real Estate Trust is therefore a self-settled trust.

          56.      Under Pennsylvania common law, a settlor may not establish a trust in which it

 retains the beneficial interest in the trust property, while at the same time placing that property

 beyond the reach of its creditors.

          57.      Thus, the Real Estate Trust’s Spendthrift’s Provision is unenforceable, the Real

 Estate Trust is void, and all of the Real Estate Trust’s assets, and the income derived therefrom,

 should be deemed property of the Debtor’s bankruptcy estate pursuant to 11 U.S.C. § 541(a).

          58.      The Diocese contends that the Debtor’s estate has no rights to the Real Estate

 Trust’s assets or the income derived therefrom and that those assets and income are not available

 to pay the claims of the Diocese’s creditors, including Survivors.

          59.      An actual and justiciable controversy exists as to whether the Real Estate Trust is

 void as a result of the Real Estate Trust being a self-settled trust containing an unenforceable

 spendthrift provision.

          60.      Accordingly, the Committee prays for a judgment declaring that the Real Estate

 Trust is void and that the Real Estate Trust’s assets are property of the Debtor’s bankruptcy estate

 pursuant to 11 U.S.C. § 541(a)(1).

                                     SIXTH CLAIM FOR RELIEF
                    Declaratory Relief: The Real Estate Trust’ Assets are Subject
                    to the Interests of the Diocese’s Creditors and are Property of
                    the Debtor’s Estate Pursuant to 20 Pa. Cons. Stat. § 7745 and
                                          11 U.S.C. § 541(a)(1)

          61.      The Committee reasserts and incorporates by reference each and every assertion set

 contained in this Complaint as if though set forth fully here.




 CORE/3519315.0002/171700807.1

Case 1:20-bk-00599-HWV            Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59               Desc
                                  Main Document   Page 72 of 256
          62.      Although the Real Estate Trust is designated an irrevocable trust, it is actually

 revocable since the Diocese is both the settlor and,



          63.      Under 20 Pa. Cons. Stat. § 7745, “[w]hether or not a trust instrument contains a

 spendthrift provision and notwithstanding section 7744 . . . (1) During the lifetime of the settlor,

 the property of a revocable trust is subject to claims of the settlor's creditors.”

          64.      As a result, the Real Estate Trust is subject to the interests of the Diocese’s

 creditors.

          65.      11 U.S.C. § 544(a), and the Committee Standing Order, give the Committee, on

 behalf of the Debtor’s bankruptcy estate, all the rights and powers of creditors, including the

 creditors referred to in 20 Pa. Cons. Stat. § 7745.

          66.      The Diocese contends that the Debtor’s estate has no rights to Real Estate Trust’s

 assets or the income derived therefrom and that those assets and income are not available to pay

 the claims of the Diocese’s creditors, including Survivors.

          67.      An actual and justiciable controversy exists as to whether the Real Estate Trust is

 subject to the claims of the Diocese’s creditors, including Survivors, under 20 Pa. Cons. Stat. §

 7745, and whether the Real Estate Trust’s assets, and income derived therefrom, are property of

 the Diocese’s estate.

          68.      Accordingly, the Committee prays for a judgment declaring that the Real Estate

 Trust is subject to the claims of the Dioceses creditors and that the Real Estate Trust’s assets, and

 the income derived therefrom, are property of the Debtor’s bankruptcy estate pursuant 11 U.S.C.

 § 541(a)(1).




 CORE/3519315.0002/171700807.1

Case 1:20-bk-00599-HWV           Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                Desc
                                 Main Document   Page 73 of 256
                                SEVENTH CLAIM FOR RELIEF
                    Injunctive Relief: Compelling the Trustee to Terminate the
                   Real Estate Trust and Turnover the Real Estate Trust’s Assets
                        to the Debtor Pursuant to 20 Pa. Cons. Stat. § 7745

          69.      The Committee reasserts and incorporates by reference each and every assertion set

 contained in this Complaint as if though set forth fully here.

          70.      Although the Real Estate Trust is designated an irrevocable trust, it is actually

 revocable since the Diocese is both the settlor and,



          71.      Under 20 Pa. Cons. Stat. § 7745, “[w]hether or not a trust instrument contains a

 spendthrift provision and notwithstanding section 7744 . . . (1) During the lifetime of the settlor,

 the property of a revocable trust is subject to claims of the settlor's creditors.”

          72.      As a result, the Real Estate Trust is subject to the interests of the Diocese’s

 creditors.

          73.      No adequate remedy at law exists for the Diocese’s ongoing failure to honor its

 fiduciary duties to its creditors, including Survivors, by refusing to exercise its right to terminate

 the Real Estate Trust.

          74.      Irreparable harm will result to the Debtor’s estate and its creditors, including

 Survivors, if an injunction is not issued to compel the Trustee to terminate the Real Estate Trust

 and turn over the Real Estate Trust’s assets, including the income derived therefrom, to the

 Debtor’s bankruptcy estate.

          WHEREFORE, the Committee prays for judgment as follows:

          1.       The Real Estate Trust Transfers are avoidable by the Debtor’s bankruptcy estate as

 fraudulent transfers;




 CORE/3519315.0002/171700807.1

Case 1:20-bk-00599-HWV           Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                 Desc
                                 Main Document   Page 74 of 256
          2.       The Debtor’s bankruptcy estate is entitled to recover the Real Estate Trust Transfers

 or the value thereof, in an amount to be determined, pursuant to 11 U.S.C. § 550;

          3.       For turnover of the Real Estate Trust’s assets, and the income derived therefrom, to

 the Debtor’s bankruptcy estate pursuant to 11 U.S.C. § 542;

          4.       That the Real Estate Trust Transfers are avoidable by the Debtor’s bankruptcy

 estate as the Real Estate Trust is the alter ego of the Diocese;

          5.       Declaring that the Real Estate Trust a self-settled trust containing an unenforceable

 spendthrift provision and, as a result, the Real Estate Trust is void and Real Estate Trust’s assets,

 and the income derived therefrom, are property of the Debtor’s bankruptcy estate pursuant to 11

 U.S.C. § 541(a)(1);

          6.       Declaring that the Real Estate Trust’s assets are subject to the interests of creditors

 are property of the Debtor’s bankruptcy estate pursuant to 20 Pa. Cons. Stat. § 7745 and 11 U.S.C.

 § 541(a)(1);

          7.       Ordering the Trustee to terminate the Real Estate Trust and to turn over the Real

 Estate Trust’s assets to the Debtor’s bankruptcy estate pursuant to 20 Pa. Cons. Stat. § 7745;

          8.       For prejudgment interest; and

          9.       For such other and further relief as the Court may deem just and proper.




 CORE/3519315.0002/171700807.1

Case 1:20-bk-00599-HWV            Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                   Desc
                                  Main Document   Page 75 of 256
                                                Respectfully submitted,


 Dated:                                         /s/
                                                Robert T. Kugler (MN #194116)
                                                Edwin H. Caldie (MN #0388930)
                                                STINSON LLP
                                                50 South Sixth Street, Suite 2600
                                                Minneapolis, MN 55402
                                                Telephone: (612) 335-1500
                                                Facsimile: (612) 335-1657
                                                Email: robert.kugler@stinson.com
                                                Email: edwin.caldie@stinson.com

                                                COUNSEL FOR THE OFFICIAL
                                                COMMITTEE OF TORT CLAIMANTS




 CORE/3519315.0002/171700807.1

Case 1:20-bk-00599-HWV           Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                                 Main Document   Page 76 of 256
                             EXHIBIT C




Case 1:20-bk-00599-HWV   Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 77 of 256
                              UNITED STATES BANKRUPTCY COURT
                          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                                   HARRISBURG DIVISION

     In re:

     ROMAN CATHOLIC DIOCESE OF                                Chapter 11
     HARRISBURG,
                                                              Case No. 1:20-bk-00599 (HWV)
                                      1
                             Debtor.


      INFORMATIONAL BRIEF OF THE ROMAN CATHOLIC DIOCESE OF HARRISBURG

                                                 INTRODUCTION2

              1.    The Diocese of Harrisburg (the “Diocese”) is the ecclesiastical district comprising

 a geographic area decreed by the Roman Catholic Church as the Diocese of Harrisburg. Within

 the Diocese, Bishop Ronald W. Gainer (“Bishop Gainer”) has been appointed as Bishop (the

 “Bishop”)3 to exercise authority and jurisdiction in assuring the authentic teaching of the Catholic

 faith, the proper and regular celebration of the sacraments and other acts of devotion, the fostering

 of vocations to the priesthood and religious life, and the governing of the Diocese with loyalty to

 the Holy Father.

              2.    The Bishop carries out his canonical duties in accordance with the Code of Canon

 Law, which is the ecclesiastical law of the Roman Catholic Church (“Canon Law”).

              3.    The Bishop also has authority over the Roman Catholic Diocese of Harrisburg (the

 “RCDH”), which is a nonprofit religious institution and the civil law instrumentality through

 which the mission of the Roman Catholic Church is administered within the Diocese.



 1
   The last four digits of the Debtor’s federal tax identification number are: 4791. The Debtor’s principal place of
 business is located at 4800 Union Deposit Road, Harrisburg, Pennsylvania 17111.
 2
   Capitalized terms used but not defined in this Introduction shall have the meanings ascribed to them in the body of
 this Informational Brief.
 3
   All references to the defined term “Bishop” herein refer to the position within the Diocese, including Bishop
 Gainer and all of his predecessors and successors.


 4825‐2613‐6746.8

Case
 Case1:20-bk-00599-HWV
      1:20-bk-00599-HWV Doc
                         Doc840
                             2 Filed
                                 Filed02/19/20
                                       12/23/21 Entered
                                                 Entered02/19/20
                                                         12/23/2112:50:56
                                                                  17:42:59 Desc
                                                                            Desc
                       Main
                        MainDocument
                             Document PagePage78
                                               1 of 29
                                                    256
          4.        Bishop Gainer has had authority over the RCDH since he was installed as Bishop

 on March 19, 2014.

          5.        As more fully set forth herein, the RCDH has faced and continues to face numerous

 claims by survivors of clergy sexual abuse.

          6.        While the RCDH has settled many claims through a voluntary settlement program,

 the RCDH still faces potentially significant exposure from remaining claimants, including as a

 result of certain changes in law by the Commonwealth of Pennsylvania.

          7.        The RCDH filed this chapter 11 proceeding:

                 a.      to provide compensation for the unresolved claims of survivors of abuse,
          including those survivors who have not yet come forward;

                    b.     to continue outreach to and support of survivors as an ongoing ministry;

                  c.      to preserve the ability to carry on the essential ministries and services
          provided by the RCDH, so the RCDH can continue to meet the needs of the Catholic
          faithful within the Diocese, the Parishes, the Schools, the Related Entities, and others who
          rely on the foregoing for spiritual, pastoral, and human assistance; and

                   d.     to fairly allocate the RCDH’s remaining income and assets among the
          legitimate competing interests for such property, recognizing that it is not possible to pay
          all alleged claims in full.

          8.        Based upon the experience of other dioceses around the country, the RCDH

 believes failure to commence this chapter 11 proceeding would have resulted in: (a) some

 survivors who have not yet brought claims failing to receive compensation or assistance; and

 (b) cessation of the RCDH’s ministry, education, and charitable outreach, upon which so many

 within the Diocese rely.

          9.        To assist in understanding the RCDH’s need for bankruptcy protection, this

 informational brief is organized into six sections: (i) the first section describes the history of the

 RCDH and the Diocese; (ii) the second section details the work done by the RCDH within the

 Diocese; (iii) the third section describes the relationship between and property of the RCDH, the
 4825‐2613‐6746.8
                                                    2

Case
 Case1:20-bk-00599-HWV
      1:20-bk-00599-HWV Doc
                         Doc840
                             2 Filed
                                 Filed02/19/20
                                       12/23/21 Entered
                                                 Entered02/19/20
                                                         12/23/2112:50:56
                                                                  17:42:59 Desc
                                                                            Desc
                       Main
                        MainDocument
                             Document PagePage79
                                               2 of 29
                                                    256
 Parishes (as defined herein), the Schools (as defined herein), and certain Related Entities (as

 defined herein); (iv) the fourth section details the clergy sexual abuse crisis and the RCDH’s

 response thereto; (v) the fifth section describes the circumstances surrounding the commencement

 of this chapter 11 case; and (vi) the sixth section details the purpose of this chapter 11 case and the

 RCDH’s goals for such case.

                      HISTORY AND STRUCTURE OF THE RCDH AND THE DIOCESE4

 The Church

          10.       The supreme authority of the Church is vested in the Pope, who, by virtue of his

 office, possesses supreme, full, immediate and universal ordinary power in the Church.

          11.       The Pope exercises such power in concert with the College of Bishops of which he

 is the head.

          12.       In addition to moral persons (namely, the Church itself and the Pope) and physical

 persons (i.e., individuals), Canon Law recognizes “juridic persons,” which are entities, comprised

 of physical persons, with corporate agency.

          13.       Public juridic persons are constituted either by prescript of Canon Law or by special

 grant of competent authority given through a decree, and they have perpetual existence unless

 extinguished in accordance with Canon Law.

          14.       Public juridic persons in the Church are either aggregates of persons or aggregates

 of things, ordered for a purpose which is in keeping with the mission of the Church and which

 transcends the purpose of the individuals.

          15.       A particular public juridic person “owns” all property it has acquired by valid

 means.


 4
  All discussion of Canon Law and Church doctrines and belief is a general summary and is qualified in its entirety
 by the actual Code of Canon Law as interpreted and applied by the Church.
 4825‐2613‐6746.8
                                                          3

Case
 Case1:20-bk-00599-HWV
      1:20-bk-00599-HWV Doc
                         Doc840
                             2 Filed
                                 Filed02/19/20
                                       12/23/21 Entered
                                                 Entered02/19/20
                                                         12/23/2112:50:56
                                                                  17:42:59 Desc
                                                                            Desc
                       Main
                        MainDocument
                             Document PagePage80
                                               3 of 29
                                                    256
          16.       However, property owned by public juridic persons has the character of Church

 property and must be applied always to the purposes for which the Church is allowed to own

 property, namely: the organization of divine worship, the care and support of the clergy, and the

 works of the apostolate and of charity, especially for the needy.

          17.       Property is thus held in trust by public juridic persons, who are represented by

 physical persons, the administrators of such property.

          18.       Canonical administrators are stewards who are required to manage property “with

 the diligence of a good householder.”

          19.       In particular, Canonical administrators must seek specific approval under Canon

 Law for the alienation of such property other than for basic maintenance of the applicable public

 juridic person.

          20.       Apart from requiring the ownership of property of a public juridic person to be

 protected by civilly valid means, Canon Law does not prescribe or limit the forms of secular legal

 entity that may be used to hold property or conduct the business of such public juridic person.

          21.       A “diocese” is a portion of the Christian faithful which is entrusted to a bishop for

 him to shepherd with the cooperation of the ordained clergy, so that, adhering to the bishop and

 gathered by him in the Holy Spirit through the gospel and the sacraments, it constitutes a particular

 church in which the Church is truly present and operative.

          22.       As a general rule, a diocese is territorial and encompasses all the Christian faithful

 within its geographical bounds.

          23.       A diocese is divided into “parishes,” which are communities of the Christian

 faithful stably constituted in a particular church, whose pastoral care is entrusted to a priest as its

 proper pastor under the authority of the diocesan bishop.

 4825‐2613‐6746.8
                                                      4

Case
 Case1:20-bk-00599-HWV
      1:20-bk-00599-HWV Doc
                         Doc840
                             2 Filed
                                 Filed02/19/20
                                       12/23/21 Entered
                                                 Entered02/19/20
                                                         12/23/2112:50:56
                                                                  17:42:59 Desc
                                                                            Desc
                       Main
                        MainDocument
                             Document PagePage81
                                               4 of 29
                                                    256
          24.       As a general rule, each parish is territorial and encompasses all the Christian faithful

 within its geographical bounds.

          25.       Under Canon Law, dioceses and parishes are public juridic persons having separate

 and distinct canonical legal existence from each other and from the Church.

 The Diocese and the RCDH

          26.       The territory of the Diocese has a rich history, extending back more than two

 hundred years to the seventeenth century.

          27.       During the seventeenth century: (a) Jesuit missionaries under the jurisdiction of the

 Diocese of Quebec traveled south on the Susquehanna River—“the highway of the

 missionaries”—leaving evidence of their priestly activities; and (b) Jesuit and Franciscan

 missionaries under the jurisdiction of the Diocese of London traveled north on the river from

 Maryland and preached the Gospel to Native Americans.

          28.       After the Revolutionary War, Father John Carroll was appointed superior of the

 American missions in 1784.

          29.       In 1790, the first Catholic diocese in the United States was established in Baltimore,

 and Father Carroll was consecrated the first bishop and his diocese included the original thirteen

 colonies, until the dioceses of Boston, New York, and Philadelphia were established in 1808.

          30.       From 1808 until 1868, the territory of the Diocese of Harrisburg was part of the

 Diocese of Philadelphia.

          31.       On March 3, 1868, Pope Pius IX, accepting the recommendation of the Bishops of

 the Second Plenary Council of “the United States of North America” and having consulted the

 Cardinals of the Congregation of the Propagation of the Faith, decreed:

                    Wherefore, in keeping with the counsel of the afore-mentioned
                    Cardinals, and exercising our Full Apostolic Authority, we hereby
 4825‐2613‐6746.8
                                                       5

Case
 Case1:20-bk-00599-HWV
      1:20-bk-00599-HWV Doc
                         Doc840
                             2 Filed
                                 Filed02/19/20
                                       12/23/21 Entered
                                                 Entered02/19/20
                                                         12/23/2112:50:56
                                                                  17:42:59 Desc
                                                                            Desc
                       Main
                        MainDocument
                             Document PagePage82
                                               5 of 29
                                                    256
                    establish and constitute in the City of Harrisburg a new Episcopal
                    see, under the care of its own Bishop, to be known henceforth as the
                    “Diocese of Harrisburg.”

          32.       Today, the ecclesiastical district of the Diocese:

                    a.     has a single cathedral, the Saint Patrick Cathedral, Harrisburg, which is the

          mother church of the Diocese;

                    b.     has parishes named for three North American saints: (i) Saint Elizabeth Ann

          Seton Parish, Mechanicsburg, which was founded in 1977; (ii) Saint John Neumann Parish,

          Lancaster, which was founded in 1978; and (iii) Saint Katharine Drexel Parish,

          Mechanicsburg, which was established in 1988;

                    c.     has two minor basilicas: (i) Sacred Heart of Jesus Church (the Conewago

          Chapel) in McSherrystown, which was elevated to the rank of minor basilica in 1962 by

          Pope John XXIII; and (ii) the Motherhouse Chapel of the Sisters of Saints Cyril and

          Methodius in Danville, which was declared in 1989 by Pope John Paul II to be a minor

          basilica, in celebration of its 50th anniversary;

                    d.     includes a geographic encompassing approximately 7,660 square miles; and

                    e.     contains close to 245,000 Catholics served by eighty-nine (89) parishes (the

          “Parishes”) and seven (7) missions throughout fifteen (15) counties of central

          Pennsylvania.

                            THE WORK OF THE RCDH WITHIN THE DIOCESE

          33.       The primary role of the RCDH is to provide resources, spiritual leadership,

 direction, support, planning, programming, leadership development, and other services to

 individuals of the Roman Catholic faith, the Parishes, the Schools (as defined herein), and the

 Related Entities (as defined herein) within the Diocese.


 4825‐2613‐6746.8
                                                      6

Case
 Case1:20-bk-00599-HWV
      1:20-bk-00599-HWV Doc
                         Doc840
                             2 Filed
                                 Filed02/19/20
                                       12/23/21 Entered
                                                 Entered02/19/20
                                                         12/23/2112:50:56
                                                                  17:42:59 Desc
                                                                            Desc
                       Main
                        MainDocument
                             Document PagePage83
                                               6 of 29
                                                    256
          34.        The mission and ministry of the Roman Catholic Church within the Diocese, as

 administered by the RCDH, are extremely important to the people within the Diocese.

          35.        There are many within the Diocese, including non-Catholics, who depend on the

 services that the Roman Catholic Church, through the RCDH, delivers directly or otherwise

 supports, some of which services are material and monetary and others of which are purely

 spiritual.

          36.        The RCDH and the workers throughout the Diocese who minister to the Catholic

 faithful and promote and administer programs that benefit the people in south-central Pennsylvania

 are stable, enriching elements in the lives of all the people served in these communities.

          37.        Within the Diocese, there are ninety-eight (98) diocesan priests, thirty-three (33)

 retired Diocesan priests, and thirty-one (31) religious order priests working to minister and provide

 other services.

          38.        In addition, sixty-three (63) permanent deacons and twenty-three (23) seminarians

 serve within the Diocese, playing an important part within the Catholic community by augmenting

 the work of the priests.

          39.        Finally, additional Catholic entities operate within the Diocese, including five (5)

 secondary schools, two (2) K–12 schools, and thirty-three (33) elementary and middle schools

 (collectively, the “Schools”), and are supported by the RCDH but remain separate and independent

 entities from the RCDH.

                            RELATIONSHIP BETWEEN AND PROPERTY OF
                    THE RCDH, PARISHES, SCHOOLS, AND CERTAIN RELATED ENTITIES

          40.        As set forth above, there are many Roman Catholic ecclesiastical and civil entities

 that operate within the geographic territory of the Diocese (or any diocese), including the Parishes,

 the Schools, and other non-profit entities, funds, and trusts (collectively, the “Related Entities”).
 4825‐2613‐6746.8
                                                      7

Case
 Case1:20-bk-00599-HWV
      1:20-bk-00599-HWV Doc
                         Doc840
                             2 Filed
                                 Filed02/19/20
                                       12/23/21 Entered
                                                 Entered02/19/20
                                                         12/23/2112:50:56
                                                                  17:42:59 Desc
                                                                            Desc
                       Main
                        MainDocument
                             Document PagePage84
                                               7 of 29
                                                    256
          41.       Every administrator of the property of an ecclesiastical entity, such as the bishop of

 a diocese or the priest of a parish, is obligated to acquire, hold, administer, and alienate such

 property in accordance with Canon Law.

          42.       Under Canon Law, certain property is entrusted to the bishop of a diocese for the

 exclusive use and benefit of the Roman Catholic Church in that diocese, within specific parishes

 within that diocese, or for other specific purposes.

          43.       To ensure that these tenets of Canon Law are followed and recognized under civil

 law, the RCDH, parishes within the Diocese, and other related Catholic entities within the Diocese

 (like other similarly situated Catholic entities) have taken or caused to be taken certain legal

 structures to be put into place or otherwise implemented, to memorialize and reflect Canon Law’s

 dictates in a form recognized under applicable civil law.

 I.    Roman Catholic Diocese of Harrisburg Charitable Trust

          44.       In keeping with Canon Law, in each diocese, property is entrusted to the diocesan

 bishop for the exclusive use and benefit of the Roman Catholic Church in that diocese—in this

 case, property within the Diocese is held by the Bishop of the Diocese in trust for the benefit of

 the Roman Catholic Church to be used specifically within the geographic area of the Diocese.

          45.       At all times and in all circumstances, Canon Law, as authoritatively interpreted and

 construed by the Holy See: (a) guides and controls the disposition of the property held in trust by

 the Bishop in the Diocese; and (b) assigns, guides, and controls the rights and responsibilities of

 the faithful clergy, religious and lay members of the Roman Catholic Church in the Diocese with

 respect to the property held in trust for the benefit of the Roman Catholic Church.

          46.       The ability of the Roman Catholic Church to abide by its ecclesiastical laws (i.e.,

 Canon Law), as authoritatively interpreted and construed by the Holy See, is essential to the


 4825‐2613‐6746.8
                                                      8

Case
 Case1:20-bk-00599-HWV
      1:20-bk-00599-HWV Doc
                         Doc840
                             2 Filed
                                 Filed02/19/20
                                       12/23/21 Entered
                                                 Entered02/19/20
                                                         12/23/2112:50:56
                                                                  17:42:59 Desc
                                                                            Desc
                       Main
                        MainDocument
                             Document PagePage85
                                               8 of 29
                                                    256
 practice of the Roman Catholic faith and is, therefore, essential to the exercise of its religious

 freedoms.

          47.       Accordingly, to ensure that the treatment of the property held in trust by the Bishop

 in the Diocese under Canon Law was afforded the same treatment under civil law, on or about

 November 13, 2009, the RCDH caused to be executed the Roman Catholic Diocese of Harrisburg

 Charitable Trust Declaration of Trust (the “Charitable Trust Agreement”).

          48.       Pursuant to the Charitable Trust Agreement: (a) the Bishop serves as trustee so long

 as he serves as Bishop of the Diocese; and (b) the non-real estate assets within the Diocese

 previously held by the Bishop in trust pursuant to Canon Law were conveyed to the Roman

 Catholic Diocese of Harrisburg Charitable Trust (the “Charitable Trust”), to be held in trust for

 the benefit of, to perform the functions of, and to carry out the purposes of the Roman Catholic

 Church, specifically in carrying out the mission and ministry of the Roman Catholic Church within

 the territorial confines of the Diocese.

          49.       The Charitable Trust is the primary source of funding of the RCDH.

          50.       Under the Charitable Trust Agreement, no assets of the Charitable Trust are assets

 of the RCDH, and assets of the Charitable Trust are to be used solely to further the religious,

 charitable, and educational purposes of the Charitable Trust and shall not be subject (in whole or

 in part) to voluntary or involuntary assignment, transfer, anticipation, legal process, judgments, or

 claims of creditors of the Charitable Trust, the Trustee (as defined in the Charitable Trust

 Agreement), or Trust Administrators (as defined in the Charitable Trust Agreement), or Trust

 Advisors (as defined in the Charitable Trust Agreement), or any employee or agent of the

 Charitable Trust, or the creditors of any other trust or other entity held or administered by the same

 trustee, or affiliated in any way with the RCDH.

 4825‐2613‐6746.8
                                                      9

Case
 Case1:20-bk-00599-HWV
      1:20-bk-00599-HWV Doc
                         Doc840
                             2 Filed
                                 Filed02/19/20
                                       12/23/21 Entered
                                                 Entered02/19/20
                                                         12/23/2112:50:56
                                                                  17:42:59 Desc
                                                                            Desc
                       Main
                        MainDocument
                             Document PagePage86
                                               9 of 29
                                                    256
II.    Roman Catholic Diocese of Harrisburg Real Estate Trust

          51.       In keeping with Canon Law, in each diocese, certain real property and other

 property is entrusted to the diocesan bishop for the exclusive use and benefit of the Roman Catholic

 Church in the applicable diocese—in this case, real property and other property within the Diocese

 are held by the Bishop of the Diocese in trust for the benefit of the Roman Catholic Church and to

 be used specifically within the geographic area of the Diocese.

          52.       At all times, the ecclesiastical laws of the Roman Catholic Church, as

 authoritatively interpreted and construed by the Holy See, in all circumstances: (a) guide and

 control the disposition of the property held in trust by the Bishop; and (b) assign, guide, and control

 the rights and responsibilities of the faithful clergy, religious and lay members of the Roman

 Catholic Church in the Diocese with respect to the property held in trust for the benefit of the

 Roman Catholic Church to be used specifically within the Diocese.

          53.       The ability of the Roman Catholic Church to abide by Canon Law, as

 authoritatively interpreted and construed by the Holy See, is essential to the practice of the Roman

 Catholic faith and is, therefore, essential to the exercise of its religious freedoms.

          54.       Accordingly, to assure that the treatment of the real property and other property

 held in trust by the Bishop under ecclesiastical law was afforded the same treatment under civil

 law, on or about November 13, 2009, the RCDH caused to be executed the Roman Catholic

 Diocese of Harrisburg Real Estate Trust Declaration of Trust (the “Real Estate Trust

 Agreement”).

          55.       Pursuant to the Real Estate Trust Agreement: (a) the Bishop serves as trustee so

 long as he serves as Bishop of the Diocese; and (b) all real property, and the structures and fixtures

 appurtenant to such real property, within the Diocese previously held by the Bishop in trust


 4825‐2613‐6746.8
                                                   10

Case
 Case1:20-bk-00599-HWV
      1:20-bk-00599-HWV Doc
                         Doc840
                             2 Filed
                                 Filed02/19/20
                                       12/23/21 Entered
                                                 Entered02/19/20
                                                         12/23/2112:50:56
                                                                  17:42:59 Desc
                                                                            Desc
                       Main
                        MainDocument
                             Document PagePage87
                                               10of
                                                  of256
                                                     29
  pursuant to Canon Law were conveyed to the Roman Catholic Diocese of Harrisburg Real Estate

  Trust (the “Real Estate Trust”), to be held in trust for the benefit of, to perform the functions of,

  and to carry out the purposes of the Roman Catholic Church, specifically in carrying out Diocesan

  operations relating to real property within the Diocese.

           56.       The RCDH uses certain of the real property held by the Real Estate Trust in

  furtherance of its mission.

           57.       Under the Real Estate Trust Agreement, no assets of the Real Estate Trust are assets

  of the RCDH, and assets of the Real Estate Trust are to be used solely to further the religious,

  charitable, and educational purposes of the Real Estate Trust and shall not be subject (in whole or

  in part) to voluntary or involuntary assignment, transfer, anticipation, legal process, judgments, or

  claims of creditors of the Real Estate Trust, the Trustee (as defined in the Real Estate Trust

  Agreement), or Trust Administrators (as defined in the Real Estate Trust Agreement), or Trust

  Advisors (as defined in the Real Estate Trust Agreement), or any employee or agent of the Real

  Estate Trust, or the creditors of any other trust or other entity held or administered by the same

  trustee, or affiliated in any way with the RCDH.

III.    Parishes Within the Diocese

           58.       Under Canon Law, the parishes within a diocese are territorial, comprising of

  certain geographical area within the applicable diocese.

           59.       Once established by the bishop of a diocese, parishes are ecclesiastical entities in

  their own right and consist of established stable communities of the Christian faithful whose

  pastoral care is entrusted to a priest.

           60.       Within the Diocese, there are eighty-nine (89) Parishes whose priest is freely

  appointed by the Bishop.


  4825‐2613‐6746.8
                                                      11

Case
 Case1:20-bk-00599-HWV
      1:20-bk-00599-HWV Doc
                         Doc840
                             2 Filed
                                 Filed02/19/20
                                       12/23/21 Entered
                                                 Entered02/19/20
                                                         12/23/2112:50:56
                                                                  17:42:59 Desc
                                                                            Desc
                       Main
                        MainDocument
                             Document PagePage88
                                               11of
                                                  of256
                                                     29
          61.       Each priest appointed by the Bishop serves as the proper shepherd of the priest’s

 applicable Parish, under the Bishop’s authority.

          62.       Each of the Parishes is a separate public juridic person within the Roman Catholic

 Church and has the right to acquire, retain, administer, and alienate ecclesiastical goods in its own

 name, with the priest for each Parish serving as the administrator of the ecclesiastical goods

 belonging to such Parish.

          63.       While the priest of each Parish is the administrator of the goods belonging to such

 Parish, all such goods are held in trust by the Bishop of the Diocese for the exclusive use and

 benefit of the Roman Catholic Church in each Parish—that is, real property and other property is

 held by the Bishop of the Diocese in trust for the benefit of the Roman Catholic Church to be used

 within the geographic area of the applicable Parish.

          64.       Like the RCDH (and other similarly situated Catholic entities), each Parish has

 established certain trusts to memorialize and have recognized under civil law the nature in which

 property is held under Canon Law.

          65.       In particular, each Parish has established its own charitable trust (each a “Parish

 Charitable Trust”), containing:

                   a.    all real property, and all of the structures, and fixtures appurtenant thereto
          that is shown in the records of the Recorder of Deeds of the particular county in which the
          property is located titled in the name of the Bishop of the Diocese or his predecessors or
          successors, as Trustee or in trust for the particular Parish, whether recorded or unrecorded
          and also including but not limited to any real estate which has been or is currently entrusted
          to and used under the authority of the particular Parish (in each instance, “Parish Real
          Property”); and

                  b.      all and every other item of tangible and intangible property of the particular
          Parish, as determined by the competent ecclesiastical authority in accordance with Canon
          Law, including but not limited to all furniture and appliances, religious objects, materials,
          supplies, cash, securities, notes, funds, vehicles, equipment, and books and records (in each
          instance, the “Parish Personal Property” and together with Parish Real Property in each
          instance, the “Parish Property”).
 4825‐2613‐6746.8
                                                    12

Case
 Case1:20-bk-00599-HWV
      1:20-bk-00599-HWV Doc
                         Doc840
                             2 Filed
                                 Filed02/19/20
                                       12/23/21 Entered
                                                 Entered02/19/20
                                                         12/23/2112:50:56
                                                                  17:42:59 Desc
                                                                            Desc
                       Main
                        MainDocument
                             Document PagePage89
                                               12of
                                                  of256
                                                     29
          66.       The Bishop is the trustee for each Parish Charitable Trust so long as he serves as

 Bishop of the Diocese.

          67.       The priest for each Parish serves as the trust administrator for the Parish Charitable

 Trust established for the parish in which such priest serves.

          68.       Each Parish Charitable Trust is to function and at all times be operated exclusively

 for charitable, religious, or educational purposes by conducting or supporting activities exclusively

 for the benefit of, to perform the function of, and to carry out the purposes of the Roman Catholic

 Church, specifically in connection with Diocesan operations within the territorial confines of the

 applicable Parish, including the advancement of religion within the applicable Parish under the

 pastoral care of the applicable Parish’s own priest.

          69.       The assets of each Parish Charitable Trust are to remain the sole property of the

 applicable Parish Charitable Trust and may not be commingled with the assets of any other parish,

 trust, or other entity associated with the Diocese.

          70.       Further, assets of each Parish Charitable Trust may be used solely to further the

 religious, charitable, and educational purposes of the applicable Parish Charitable Trust and shall

 not be subject (in whole or in part) to voluntary or involuntary assignment, transfer, anticipation,

 legal process, or judgments or claims of creditors of the Trustee (as defined in each Parish

 Charitable Trust), or Trust Administrators (as defined in each Parish Charitable Trust), or Trust

 Advisors (as defined in each Parish Charitable Trust), or any employee or agent of the applicable

 Parish Charitable Trust, or the creditors of any other trust or other entity held or administered by

 the same Trustee or by the RCDH.




 4825‐2613‐6746.8
                                                     13

Case
 Case1:20-bk-00599-HWV
      1:20-bk-00599-HWV Doc
                         Doc840
                             2 Filed
                                 Filed02/19/20
                                       12/23/21 Entered
                                                 Entered02/19/20
                                                         12/23/2112:50:56
                                                                  17:42:59 Desc
                                                                            Desc
                       Main
                        MainDocument
                             Document PagePage90
                                               13of
                                                  of256
                                                     29
          71.       In short, the assets of each Parish Charitable Trust are held in trust for religious,

 charitable, and educational purposes within the applicable Parish and do not constitute assets of

 the RCDH.

IV.    Diocese of Harrisburg School and Parish Trust Fund

          72.       As set forth above, there are numerous Parishes, Schools, and Related Entities

 within the Diocese.

          73.       In accordance with Canon Law, the Parishes, Schools, and Related Entities

 (collectively, the “Depositors”) have conveyed and continue to convey to the Bishop funds

 belonging to them, to enable (a) investment of those funds on a unified and more efficient basis

 and (b) funds to be loaned to Parishes, Schools, and Related Entities for development projects.

          74.       Pursuant to Canon Law, the funds and other property belonging to the Depositors

 were held in trust in the Charitable Trust for the Depositors and such treatment was reflected in

 the books and records.

          75.       To memorialize the relationship as recognized and established by Canon Law, and

 to assure such relationship was recognized by civil law, on or about February 27, 2018, RCDH

 and the Depositors caused to be executed the Roman Catholic Diocese of Harrisburg Irrevocable

 Trust Agreement (the “Irrevocable Trust Agreement”).

          76.       Pursuant to the Irrevocable Trust Agreement: (a) the Bishop serves as the trustee

 so long as he serves as Bishop of the Diocese; (b) all funds held by the RCDH in the Charitable

 Trust for the benefit of Depositors were retitled as the “Diocese of Harrisburg School and Parish

 Trust Fund”; and (c) all funds within the Diocese of Harrisburg School and Parish Trust Fund are

 governed by the Irrevocable Trust Agreement.




 4825‐2613‐6746.8
                                                     14

Case
 Case1:20-bk-00599-HWV
      1:20-bk-00599-HWV Doc
                         Doc840
                             2 Filed
                                 Filed02/19/20
                                       12/23/21 Entered
                                                 Entered02/19/20
                                                         12/23/2112:50:56
                                                                  17:42:59 Desc
                                                                            Desc
                       Main
                        MainDocument
                             Document PagePage91
                                               14of
                                                  of256
                                                     29
          77.       Under the Irrevocable Trust Agreement, no funds or other assets comprising the

 Diocese of Harrisburg School and Parish Trust Fund are property of RCDH, and neither RCDH

 nor any Depositor nor the Bishop may alienate or in any other manner, whether voluntary or

 involuntary, assign, transfer, pledge, or mortgage any property consisting of the Diocese of

 Harrisburg School and Parish Trust Fund, and no individual or entity may attach or otherwise reach

 any interest of any of them under the Irrevocable Trust Agreement to satisfy a claim against

 RCDH, any Depositor, or the Bishop, whether the claim is legal or equitable in nature.

V.     Foundation of Catholics United in Service

          78.       In 1988, the Most Reverend William H. Keeler, then Bishop of the Diocese

 (“Bishop Keeler”), recognized that it was imperative that the Diocese stabilize existing

 educational, charitable, and pastoral programs, improve and expand those programs, and initiate

 and develop urgently needed programs.

          79.       As a result, in view of the inadequate ordinary operating financial resources of the

 Diocese to fund such programs, Bishop Keeler deemed the establishment of a permanent

 endowment fund the best method of attaining the foregoing goals.

          80.       To that end, on July 1, 1988, Bishop Keeler, after consultation with his staff of

 advisors, signed a Declaration of Trust commonly referred to as FOCUS—Foundation of Catholics

 United in Service (the “FOCUS Trust”).

          81.       The Bishop serves as the trustee of the FOCUS Trust so long as he is Bishop of the

 Diocese.

          82.       The assets of the FOCUS Trust are to be used exclusively to assist, encourage,

 support, or promote the stabilization of and improvement of diocesan educational, charitable, and




 4825‐2613‐6746.8
                                                     15

Case
 Case1:20-bk-00599-HWV
      1:20-bk-00599-HWV Doc
                         Doc840
                             2 Filed
                                 Filed02/19/20
                                       12/23/21 Entered
                                                 Entered02/19/20
                                                         12/23/2112:50:56
                                                                  17:42:59 Desc
                                                                            Desc
                       Main
                        MainDocument
                             Document PagePage92
                                               15of
                                                  of256
                                                     29
 pastoral programs or the development of additional services and programs to meet the present and

 future needs of the Diocese.

          83.       Similarly, the assets of the FOCUS Trust shall not be subject to assignment, pledge,

 attachment, or the claims of creditors of the RCDH, any Parish, any School, or any Related Entity

 or individual beneficiary.

          84.       As with the assets of the Real Estate Trust, Charitable Trust, Diocese of Harrisburg

 School and Parish Trust Fund, and Parish Charitable Trusts, the assets of the FOCUS Trust are not

 assets of the RCDH.

VI.    Harrisburg Catholic Administrative Services, Inc.

          85.       Like other actions taken by the RCDH in 2009, Harrisburg Catholic Administrative

 Services, Inc. (“HCAS”) was incorporated on or about March 19, 2009, to provide a separate civil

 entity through which the various management and other services could be administered on behalf

 of the RCDH, the Parishes, the Schools, and the Related Entities.

          86.       The Bishop is the sole member of HCAS so long as he is the Bishop in the Diocese.

          87.       The business and affairs of HCAS, however, are managed by a board of directors.

          88.       Pursuant to certain services agreements, HCAS undertakes to use commercially

 reasonable efforts to provide the following services (among others) to the RCDH, the Parishes, the

 Schools, and the Related Entities (collectively, the “Service Recipients”):

                  a.      accounting services, including (i) maintaining the applicable Service
          Recipient’s general ledger and chart of accounts, (ii) producing the applicable Service
          Recipient’s monthly financial reports and statements, and (iii) cash management services
          to include custody of excess cash and savings deposited by the applicable Service Recipient
          with the Bishop of the Diocese and payment of invoices submitted by such Service
          Recipient;

                  b.      payroll services, including (i) processing and payment of approved wages
          for each Service Recipient’s employees, (ii) filing of applicable payroll tax returns for the
          applicable Service Recipient, and (iii) preparation and distribution of required employee
          tax reporting forms;
 4825‐2613‐6746.8
                                                     16

Case
 Case1:20-bk-00599-HWV
      1:20-bk-00599-HWV Doc
                         Doc840
                             2 Filed
                                 Filed02/19/20
                                       12/23/21 Entered
                                                 Entered02/19/20
                                                         12/23/2112:50:56
                                                                  17:42:59 Desc
                                                                            Desc
                       Main
                        MainDocument
                             Document PagePage93
                                               16of
                                                  of256
                                                     29
                 c.      human resources services, including providing human resource consulting
          and assistance in maintaining compliance with applicable employment laws, regulations,
          and practices;

                   d.      assisting each Service Recipient with general and targeted development
          initiatives to include fundraising and appeals; and

                 e.     information technology services, including providing (i) a platform for each
          Service Recipient to access the Diocesan network and related applications and (ii)
          technology consulting and assistance in the maintenance and operational efficiencies of
          each Service Recipient’s technology platform.

          89.       In exchange for the foregoing services, each Service Recipient agrees to pay HCAS

 certain consideration, and each Service Recipient further agrees to abide by all policies and

 procedures issued by HCAS with respect to human resources administration, financial

 administration, and information technology management.

          90.       At no time does HCAS take ownership of any assets of the RCDH, the Parishes,

 the Schools, or the Related Entities.5

          91.       Similarly, at no time does HCAS serve as a partner or agent of the RCDH, the

 Parishes, the Schools, or the Related Entities.

          92.       HCAS maintains separate bank accounts and assets in its own name, separate from

 the bank accounts and assets of the RCDH, the Parishes, the Schools, and the Related Entities.

          93.       Similarly, at all times HCAS ensures that: (a) assets of the RCDH are not used to

 pay obligations of the Parishes, the Schools, or the Related Entities; (b) assets of the Parishes are

 not used to pay obligations of the RCDH, the Schools, or the Related Entities; (c) assets of the

 Schools are not used to pay obligations of the RCDH, the Parishes, or the Related Entities; and




 5
  In order to make payments to third parties, the Debtor funds, or causes to be funded, payments to HCAS. As part
 of its administrative responsibilities pursuant to certain services agreements, HCAS, in turn, makes payments to
 such third parties on the Debtor’s behalf using such funds.
 4825‐2613‐6746.8
                                                        17

Case
 Case1:20-bk-00599-HWV
      1:20-bk-00599-HWV Doc
                         Doc840
                             2 Filed
                                 Filed02/19/20
                                       12/23/21 Entered
                                                 Entered02/19/20
                                                         12/23/2112:50:56
                                                                  17:42:59 Desc
                                                                            Desc
                       Main
                        MainDocument
                             Document PagePage94
                                               17of
                                                  of256
                                                     29
   (d) assets of the Related Entities are not used to pay obligations of the RCDH, the Parishes, or the

   Schools.

VII.     Schools and Other Educational Institutions Within the Diocese

             94.      As stated above, five (5) secondary schools, two (2) K–12 schools, and thirty-three

   (33) elementary and middle schools operate within the Diocese.

             95.      A listing of the Schools may be located on the website maintained by the RCDH at

   https://www.hbgdiocese.org/catholic-schools/find-catholic-school/.

             96.      While each School receives varying levels of support from, among others, the

   RCDH, each School is a distinct entity separate and apart from the RCDH.

             97.      Accordingly, as with the Parishes, the assets of the Schools are not assets of the

   RCDH.

VIII.    Other Related Catholic Entities, Funds, and Trusts Within the Diocese

             98.      As stated before, there are additional Related Entities within the Diocese.6

        A.         The Pennsylvania Catholic Conference

             99.      The Pennsylvania Catholic Conference (the “PCC”) is the public affairs arm of

   Pennsylvania’s Catholic bishops and the Catholic dioceses of Pennsylvania.

             100.     The Board of Governors for the PCC comprises the local diocesan bishops of

   Pennsylvania—that is, the ecclesiastical superiors of each Pennsylvania diocese—and the

   chairman of the Board of Governors is the Archbishop of Philadelphia.

             101.     The function of the Board of Governors is to establish the principles of the

   conference and determine its policies.


   6
    This section of the Informational Brief describes most of the Related Entities but may not describe every Related
   Entity. In particular, the RCDH holds and manages certain custodial funds for the benefit of the RCDH which are to
   be used for specific religious, educational, or other charitable purposes and which funds are not property of the
   RCDH.
   4825‐2613‐6746.8
                                                          18

  Case
   Case1:20-bk-00599-HWV
        1:20-bk-00599-HWV Doc
                           Doc840
                               2 Filed
                                   Filed02/19/20
                                         12/23/21 Entered
                                                   Entered02/19/20
                                                           12/23/2112:50:56
                                                                    17:42:59 Desc
                                                                              Desc
                         Main
                          MainDocument
                               Document PagePage95
                                                 18of
                                                    of256
                                                       29
          102.      Bishop Gainer is the president of the PCC.

          103.      While PCC receives various types of support from the RCDH, no assets of PCC are

 assets of the RCDH.

     B.        Catholic Charities

          104.      Catholic Charities of the Diocese of Harrisburg, Pennsylvania Inc. (“Catholic

 Charities”) is a faith-based agency, acting as a nondenominational social service provider

 affiliated with the RCDH and the Roman Catholic Church.

          105.      Before the professional social service system in existence today, the government

 turned to religious as well as secular groups care for the orphaned, poor and marginalized.

          106.      Catholic Charities is such a faith-based agency, serving a fifteen county region with

 programs ranging from maternity homes, adoption services, foster care, and counseling to the only

 homeless shelter in Central Pennsylvania.

          107.      Most services provided by Catholic Charities are offered at minimal or no cost.

          108.      While Catholic Charities receives various types of support from the RCDH, no

 assets of Catholic Charities are assets of the RCDH.

     C.        Kolbe Catholic Publishing, Inc.

          109.      Kolbe Catholic Publishing, Inc. (“Kolbe”) is an in-house print brokerage office of

 the RCDH.

          110.      Kolbe was formed in order to reduce printing expenses incurred by the RCDH in

 connection with printing needs related to religious and educational seminars and events and church

 and other religious services that the RCDH regularly conducts.

          111.      Kolbe does not offer printing services to any individual or organization not

 affiliated with the RCDH and only provides printing services in connection with charitable,

 religious, and educational events.
 4825‐2613‐6746.8
                                                     19

Case
 Case1:20-bk-00599-HWV
      1:20-bk-00599-HWV Doc
                         Doc840
                             2 Filed
                                 Filed02/19/20
                                       12/23/21 Entered
                                                 Entered02/19/20
                                                         12/23/2112:50:56
                                                                  17:42:59 Desc
                                                                            Desc
                       Main
                        MainDocument
                             Document PagePage96
                                               19of
                                                  of256
                                                     29
          112.      Bishop Gainer is the president of Kolbe, and the two directors of Kolbe are Bishop

 Gainer and the Vicar General of the Diocese.

          113.      No assets of Kolbe are assets of the RCDH.

     D.        Cemeteries

          114.      The RCDH maintains eight cemeteries (the “Diocesan Cemeteries”) within the

 geographic boundaries of the Diocese.

          115.      The land on which the Diocesan Cemeteries sit is owned by the Real Estate Trust.

          116.      The Bishop is responsible for the operations of the Diocesan Cemeteries in

 consultation with the Cemetery Board of Diocese of Harrisburg.

          117.      Under Canon Law and related guidelines, the Diocesan Cemeteries are not

 considered mere property but instead are sacred places of prayer, and, as such, the Bishop is

 entrusted with the perpetual care of the Diocesan Cemeteries.

          118.      Accordingly, the RCDH has established a Perpetual Care Fund (the “PCF”)

 containing funds, including funds from the sale of internment spaces, memorials, burial vaults, and

 crypt and niche spaces, to be held in trust for the sole purpose of caring for and maintaining the

 Diocesan Cemeteries.

          119.      Bryn Mawr Trust Company administers and invests the funds the PCF on behalf of

 the RCDH.

          120.      The PCF is separate and distinct from the RCDH, and no assets in the PCF are

 assets of the RCDH.

     E.        Catholic Witness

          121.      The Catholic Witness (“Catholic Witness”) is the official Catholic newspaper

 within the Diocese.


 4825‐2613‐6746.8
                                                    20

Case
 Case1:20-bk-00599-HWV
      1:20-bk-00599-HWV Doc
                         Doc840
                             2 Filed
                                 Filed02/19/20
                                       12/23/21 Entered
                                                 Entered02/19/20
                                                         12/23/2112:50:56
                                                                  17:42:59 Desc
                                                                            Desc
                       Main
                        MainDocument
                             Document PagePage97
                                               20of
                                                  of256
                                                     29
          122.      Catholic Witness was established in 1966 and is published 24 times per year in print

 and online.

          123.      Catholic Witness offers complimentary subscriptions to members of Parishes

 within the Diocese.

          124.      Subscriptions to Catholic Witness are also offered to non-members for a nominal

 cost.

          125.      No assets of Catholic Witness are assets of the RCDH.

     F.        Priest Pension Plan

          126.      Consistent with Canon Law and Church custom, the RCDH provides a pension plan

 for retired Diocesan priests (the “Priest Pension Plan”).

          127.      As of July 1, 2018, retired Diocesan priests receive pension benefits in the amount

 of $2,240.75 per month, which is increased from year-to-year in the discretion of the RCDH.

          128.      In addition, the RCDH pays a portion of the retired Diocesan priests’ medical

 insurance premiums.

          129.      The market value of the assets in the Priest Pension Plan was approximately $16.5

 million as of June 30, 2019.

          130.      The RCDH estimates that the Priest Pension Plan was underfunded by

 approximately $26.5 million as of June 30, 2019.

          131.      In addition, to fund the settlements reached as part of the SCP (as defined below),

 funds were borrowed by the RCDH from the Priest Pension Plan.

          132.      In turn, the RCDH executed a promissory note in an amount equal to the funds

 borrowed from the Priest Pension Plan.




 4825‐2613‐6746.8
                                                     21

Case
 Case1:20-bk-00599-HWV
      1:20-bk-00599-HWV Doc
                         Doc840
                             2 Filed
                                 Filed02/19/20
                                       12/23/21 Entered
                                                 Entered02/19/20
                                                         12/23/2112:50:56
                                                                  17:42:59 Desc
                                                                            Desc
                       Main
                        MainDocument
                             Document PagePage98
                                               21of
                                                  of256
                                                     29
                     THE CLERGY SEX ABUSE CRISIS AND THE RCDH’S RESPONSE

          133.      A tragedy contrary to every teaching and tradition of the Roman Catholic Church

 has unfolded in the Roman Catholic Church as a whole and within the Diocese in particular—that

 is, a small number of clergy and others took advantage of positions of trust and respect to sexually

 abuse children.

          134.      The Roman Catholic Church and the RCDH are committed to providing for all

 survivors of abuse, known and yet to be known, in a fair, just, and equitable manner.

          135.      To that end, numerous steps and actions have been taken within the Roman Catholic

 Church and Diocese.

   I.     Charter for the Protection of Children and Young People

          136.      In spring of 2002, the United States Bishops adopted the Charter for the Protection

 of Children and Young People (the “Charter”), adopting a “one strike” policy with regard to clergy

 serving in any active, public ministry.

          137.      The Charter also included: (a) permanent removal from active ministry of any priest

 or deacon with a substantiated allegation of sexual abuse of a minor; (b) requirement of criminal

 background checks for adults, including clergy, who work with children and youth;

 (c) implementation of educational programs for the prevention of child sexual abuse for both adults

 and children; (d) provision of behavioral guidelines and ethical standards for ministry;

 (e) establishing outreach for survivors; and (f) creation of review boards to make recommendations

 to the diocesan bishop about substantiation of accusations against clergy and to oversee policy

 implementation.

          138.      The RCDH has implemented and carries out the dictates of the Charter.




 4825‐2613‐6746.8
                                                    22

Case
 Case1:20-bk-00599-HWV
      1:20-bk-00599-HWV Doc
                         Doc840
                             2 Filed
                                 Filed02/19/20
                                       12/23/21 Entered
                                                 Entered02/19/20
                                                         12/23/2112:50:56
                                                                  17:42:59 Desc
                                                                            Desc
                       Main
                        MainDocument
                             Document PagePage99
                                               22of
                                                  of256
                                                     29
 II.    Diocese Voluntary Compensation Program

           139.      In addition to the foregoing, the RCDH launched the Survivor Compensation

  Program (the “SCP”) on February 12, 2019.

           140.      Under the SCP, claimants who had reported alleged sexual abuse to the RCDH

  before February 2019 were entitled to make claims for compensation for alleged sexual abuse.

           141.      While originally available only to claimants who had made such claims on or before

  February 12, 2019, the RCDH ultimately permitted claimants to participate who had alleged abuse

  by (a) a Diocesan priest, deacon, or seminarian, (b) a priest, deacon, or seminarian from another

  diocese who had faculties within the Diocese, or (c) a priest or brother from a religious order who

  had faculties in the Diocese at the time of the alleged abuse.

           142.      The enrollment period for the SCP was open for ninety (90) days and ended on May

  13, 2019.

           143.      Once the enrollment process closed, an independent administrator of the SCP,

  Commonwealth Mediation & Conciliation, Inc. (“CMCI”), assessed the various claims and began

  making settlement offers.

           144.      At all times, CMCI was solely responsible for determining how much and to whom

  settlements were offered.

           145.      As a result of the SCP, the RCDH has entered into settlement agreements with more

  than one hundred ten (110) survivors, resulting in excess of $12.5 million being paid to survivors

  who participated in the SCP, with a portion of the settlement payments being funded by certain

  religious entities that also participated in the SCP.

III.    Other and Continued Actions by the RCDH

           146.      In addition to implementation of the dictates of the Charter and establishing the

  SCP, the RCDH has taken the following additional steps:
  4825‐2613‐6746.8
                                                     23

Case
 Case1:20-bk-00599-HWV
      1:20-bk-00599-HWV Doc
                         Doc840
                             2 Filed
                                 Filed02/19/20
                                       12/23/21 Entered
                                                 Entered02/19/20
                                                         12/23/2112:50:56
                                                                  17:42:59 Desc
                                                                            Desc
                       Main
                        MainDocument
                             Document PagePage100
                                               23 of 256
                                                     29
                   a.      removed from positions of honor within the Diocese the names of Bishops
          for failure to prevent childhood sexual abuse;

                b.      removed from positions of honor within the Diocese the names of priests,
          deacons, and seminarians identified by the RCDH as having been involved in the past
          wrongdoing within the Diocese or who were otherwise named in a 2018 Grand Jury Report;

                 c.      conducted nine (9) listening sessions, allowing the faithful and survivors to
          express their concerns, frustrations, and feelings;

                  d.      ensured that all survivors of childhood sexual abuse receive counseling
          services, at low or no cost to them and from a counselor of their choosing, regardless of
          their participation in the SCP (accepting or declining a compensation offer in no way
          impacts a survivor’s access to such counseling); and

                  e.    created an e-mail address to offer more access for parishioners and the
          public to communicate directly with Bishop Gainer.

          147.      The RCDH also has undertaken or is in the process of undertaking the following:

                  a.     reporting of child abuse to Childline and the appropriate District Attorney
          (as has been the policy within the Diocese since the early 2000’s);

                  b.      reconstitution of the Diocesan Pastoral Counsel, which carefully
          investigates, prayerfully considers and, in consensus, recommends action to the Bishop of
          the Diocese regarding pastoral concerns within the Diocese;

                  c.      restructuring of the Diocesan Review Board, which is made up almost
          entirely of lay members and which reviews every allegation of abuse once law enforcement
          has completed their investigation;

                    d.     revision of youth protection policies within the Diocese;

                 e.      maintenance and reformation of an intensive screening and education
          process for those in formation for the priesthood;

                 f.     revision of the Safe Environment Program Lesson Plan for Catholic School
          and Religious Education students within the Diocese; and

                    g.     revision of communications materials, including The Catholic Witness.

          148.      The RCDH has made—and continues to make—assistance to survivors and their

 families in their journey toward healing its top priority.




 4825‐2613‐6746.8
                                                    24

Case
 Case1:20-bk-00599-HWV
      1:20-bk-00599-HWV Doc
                         Doc840
                             2 Filed
                                 Filed02/19/20
                                       12/23/21 Entered
                                                 Entered02/19/20
                                                         12/23/2112:50:56
                                                                  17:42:59 Desc
                                                                            Desc
                       Main
                        MainDocument
                             Document PagePage101
                                               24 of 256
                                                     29
                    EVENTS LEADING TO COMMENCEMENT OF THIS CHAPTER 11 CASE

          149.      Like other similar situated Catholic dioceses across the country, the RCDH has

 struggled to remain financially viable while funding compensation for survivors and continued

 litigation by survivors with which the RCDH has not reached consensual settlements.

          150.      Ongoing litigation has been necessary due to: (a) disagreement over the level of

 compensation that can or should be paid to survivors in the face of competing needs for a very

 limited assets; and (b) intervening changes in law resulting from decisions within the

 Commonwealth of Pennsylvania and neighboring jurisdictions.

          151.      While the RCDH has made and continues to make significant effort to address the

 wrongs of the past, and notwithstanding the substantial number of survivors with which the RCDH

 has reached consensual settlements, the RCDH believes additional unsettled claims and liabilities

 remain outstanding.

          152.      In particular, the RCDH is aware of: (a) five (5) civil actions against the RCDH,

 seeking monetary damages or other relief regarding childhood sexual abuse; (b) approximately

 two hundred (200) survivors or potential survivors of childhood abuse by persons associated with

 the RCDH; and (c) additional instances where allegations were made and either the alleged

 survivor is anonymous or otherwise unknown.

          153.      Moreover, based upon the experiences of other diocese across the country, the

 RCDH believes additional unknown, unreported, or otherwise unasserted claims may exist against

 the RCDH.

          154.      While the RCDH carried insurance during many periods in which abuse is alleged

 to have occurred, and while the RCDH believes such insurance provides coverage for the claims




 4825‐2613‐6746.8
                                                   25

Case
 Case1:20-bk-00599-HWV
      1:20-bk-00599-HWV Doc
                         Doc840
                             2 Filed
                                 Filed02/19/20
                                       12/23/21 Entered
                                                 Entered02/19/20
                                                         12/23/2112:50:56
                                                                  17:42:59 Desc
                                                                            Desc
                       Main
                        MainDocument
                             Document PagePage102
                                               25 of 256
                                                     29
 as they are asserted or likely would be asserted against the RCDH, to date, the RCDH has been

 largely unsuccessful in obtaining any coverage for claims asserted against the RCDH.

          155.      As a result, the RCDH faces the prospect facing claims asserted in amounts

 exceeding the RCDH’s economic ability to pay, in which circumstance (a) survivors of abuse could

 be left with no compensation or other support, and (b) those within the Diocese (including non-

 Catholics) who depend on the services of the Roman Catholic Church delivered through the RCDH

 would be left without the material, monetary, and spiritual support which has, to date, been a

 necessary, stable, and enriching element in their lives.

          156.      Faced with this prospect, the RCDH concluded seeking relief through chapter 11

 of the United States Bankruptcy Code was the best solution to assure: (a) equitable compensation

 to those harmed by the sins of the past within the Diocese; (b) continuation of the counseling and

 other services provided through the RCDH to those who have been harmed; (c) continuation of

 the essential programs for the protection of children; and (d) continuation of the mission and

 ministry of the Roman Catholic Church within the Diocese.

          157.      Through this process, it is the intent and desire of the RCDH to be able to:

 (a) provide for the equitable and ratable compensation of those harmed by the sins of the past

 within this Diocese; (b) provide for the continuation of the counseling and other services provided

 to those who were harmed by the sins of the past within the Diocese; (c) provide for the

 continuation of the programs the RCDH has put into place to educate and screen people working

 within the Diocese, to ensure that the children in the Diocese are protected; and (d) maintain

 funding for the programs within the Diocese that are essential to the mission and ministry of the

 Roman Catholic Church and wellbeing of those within the Diocese who depend on the services of

 the Roman Catholic Church.

 4825‐2613‐6746.8
                                                  26

Case
 Case1:20-bk-00599-HWV
      1:20-bk-00599-HWV Doc
                         Doc840
                             2 Filed
                                 Filed02/19/20
                                       12/23/21 Entered
                                                 Entered02/19/20
                                                         12/23/2112:50:56
                                                                  17:42:59 Desc
                                                                            Desc
                       Main
                        MainDocument
                             Document PagePage103
                                               26 of 256
                                                     29
                           PURPOSE AND GOALS FOR THIS CHAPTER 11 CASE

          158.      The RCDH commenced this chapter 11 case in order to fairly provide compensation

 for unresolved claims of survivors of abuse and preserve the ability of the RCDH to continue

 providing essential ministries and services within the Diocese.

          159.      Absent the commencement of this chapter 11 case, the RCDH believes that some

 survivors would not receive compensation or assistance and that the RCDH may be forced to cease

 providing some or all of the services upon which so many within the Diocese rely.

          160.      In order to achieve the goals set forth above, the RCDH expects to commence an

 adversary proceeding against its insurers (the “Insurers”) as soon as possible following the filing

 of this chapter 11 case.

          161.      In the adversary proceeding, the RCDH will seek (a) entry of a judgment declaring

 that claims related to clergy sexual abuse are covered by certain policies of insurance issued to the

 RCDH by the Insurers or their predecessors, and (b) entry of a money judgment against the Insurers

 for breach of contract.

          162.      The Insurers have either generally reserved all rights with coverage of claims

 related to clergy sexual abuse or denied coverage outright.

          163.      As in other bankruptcy cases of dioceses across the country, the ultimate goal of

 the adversary proceeding will be to obtain the maximum amount of proceeds possible from the

 insurance policies in order to fund a trust for survivors of clergy sexual abuse within the Diocese.

          164.      After the adversary proceeding against the Insurers has concluded, the RCDH

 intends to file promptly seek confirmation of a plan of reorganization that will provide fair

 compensation to survivors of clergy sexual abuse pursuant to streamlined trust distribution

 procedures without the cost, uncertainty, and delay of litigation.


 4825‐2613‐6746.8
                                                   27

Case
 Case1:20-bk-00599-HWV
      1:20-bk-00599-HWV Doc
                         Doc840
                             2 Filed
                                 Filed02/19/20
                                       12/23/21 Entered
                                                 Entered02/19/20
                                                         12/23/2112:50:56
                                                                  17:42:59 Desc
                                                                            Desc
                       Main
                        MainDocument
                             Document PagePage104
                                               27 of 256
                                                     29
          165.      Additionally, such a plan of reorganization would allow the RCDH to successfully

 emerge from bankruptcy and continue its charitable mission with the benefit of a full and final

 resolution of the claims related to clergy sexual abuse and the related savings in substantial defense

 costs.

                                              CONCLUSION

          166.      The piecemeal adjudication of the claims of survivors presents a significant risk

 that some survivors may not be compensated and that the at the RCDH may be forced to cease

 consistent with its mission and ministry.

          167.      In marked contrast to such piecemeal adjudication, filing this chapter 11 case and

 confirming a plan of reorganization is the best mechanism to fairly and equitably address the

 claims of survivors while ensuring that the mission and ministry of the RCDH continues.

                              [Remainder of Page Intentionally Left Blank]




 4825‐2613‐6746.8
                                                    28

Case
 Case1:20-bk-00599-HWV
      1:20-bk-00599-HWV Doc
                         Doc840
                             2 Filed
                                 Filed02/19/20
                                       12/23/21 Entered
                                                 Entered02/19/20
                                                         12/23/2112:50:56
                                                                  17:42:59 Desc
                                                                            Desc
                       Main
                        MainDocument
                             Document PagePage105
                                               28 of 256
                                                     29
 Dated: February 19, 2020
 Nashville, Tennessee                Respectfully submitted,

                                     WALLER LANSDEN DORTCH & DAVIS, LLP


                                     /s/ Blake D. Roth            _______________
                                     Blake D. Roth (State Bar No. 306951)
                                     Tyler N. Layne (pro hac vice admission pending)
                                     511 Union Street, Suite 2700
                                     Nashville, TN 37219
                                     Telephone:     (615) 244-6380
                                     Facsimile:     (615) 244-6804
                                     Email:         blake.roth@wallerlaw.com
                                                    tyler.layne@wallerlaw.com

                                     -and-

                                     KLEINBARD, LLC

                                     Matthew H. Haverstick (State Bar No. 85072)
                                     Joshua J. Voss (State Bar No. 306853)
                                     Three Logan Square
                                     1717 Arch Street, 5th Floor
                                     Philadelphia, Pennsylvania 19103
                                     Telephone:     (215) 568-2000
                                     Facsimile:     (215) 568-0140
                                     Email:         mhaverstick@kleinbard.com
                                                    jvoss@kleinbard.com

                                     Proposed Attorneys for the Debtor and Debtor In
                                     Possession




 4825‐2613‐6746.8

Case
 Case1:20-bk-00599-HWV
      1:20-bk-00599-HWV Doc
                         Doc840
                             2 Filed
                                 Filed02/19/20
                                       12/23/21 Entered
                                                 Entered02/19/20
                                                         12/23/2112:50:56
                                                                  17:42:59 Desc
                                                                            Desc
                       Main
                        MainDocument
                             Document PagePage106
                                               29 of 256
                                                     29
                              EXHIBIT D




Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 107 of 256
Case 1:20-bk-00599-HWV
Ý¿-» ïæîðó¾µóððëççóØÉÊ    Doc îçé
                          Ü±½ 840 Ú·´»¼
                                   Filed ðëñïîñîð
                                         12/23/21 Û²¬»®»¼
                                                    Entered 12/23/21
                                                            ðëñïîñîð 17:42:59
                                                                     ïçæëîæðì   Desc
                                                                                Ü»-½
                         Main
                          Ó¿·²Document
                               Ü±½«³»²¬ PageÐ¿¹»108 ofíê
                                                  ï ±º 256
Case 1:20-bk-00599-HWV
Ý¿-» ïæîðó¾µóððëççóØÉÊ    Doc îçé
                          Ü±½ 840 Ú·´»¼
                                   Filed ðëñïîñîð
                                         12/23/21 Û²¬»®»¼
                                                    Entered 12/23/21
                                                            ðëñïîñîð 17:42:59
                                                                     ïçæëîæðì   Desc
                                                                                Ü»-½
                         Main
                          Ó¿·²Document
                               Ü±½«³»²¬ PageÐ¿¹»109 ofíê
                                                  î ±º 256
Case 1:20-bk-00599-HWV
Ý¿-» ïæîðó¾µóððëççóØÉÊ    Doc îçé
                          Ü±½ 840 Ú·´»¼
                                   Filed ðëñïîñîð
                                         12/23/21 Û²¬»®»¼
                                                    Entered 12/23/21
                                                            ðëñïîñîð 17:42:59
                                                                     ïçæëîæðì   Desc
                                                                                Ü»-½
                         Main
                          Ó¿·²Document
                               Ü±½«³»²¬ PageÐ¿¹»110 ofíê
                                                  í ±º 256
Case 1:20-bk-00599-HWV
Ý¿-» ïæîðó¾µóððëççóØÉÊ    Doc îçé
                          Ü±½ 840 Ú·´»¼
                                   Filed ðëñïîñîð
                                         12/23/21 Û²¬»®»¼
                                                    Entered 12/23/21
                                                            ðëñïîñîð 17:42:59
                                                                     ïçæëîæðì   Desc
                                                                                Ü»-½
                         Main
                          Ó¿·²Document
                               Ü±½«³»²¬ PageÐ¿¹»111 ofíê
                                                  ì ±º 256
Case 1:20-bk-00599-HWV
Ý¿-» ïæîðó¾µóððëççóØÉÊ    Doc îçé
                          Ü±½ 840 Ú·´»¼
                                   Filed ðëñïîñîð
                                         12/23/21 Û²¬»®»¼
                                                    Entered 12/23/21
                                                            ðëñïîñîð 17:42:59
                                                                     ïçæëîæðì   Desc
                                                                                Ü»-½
                         Main
                          Ó¿·²Document
                               Ü±½«³»²¬ PageÐ¿¹»112 ofíê
                                                  ë ±º 256
Case 1:20-bk-00599-HWV
Ý¿-» ïæîðó¾µóððëççóØÉÊ    Doc îçé
                          Ü±½ 840 Ú·´»¼
                                   Filed ðëñïîñîð
                                         12/23/21 Û²¬»®»¼
                                                    Entered 12/23/21
                                                            ðëñïîñîð 17:42:59
                                                                     ïçæëîæðì   Desc
                                                                                Ü»-½
                         Main
                          Ó¿·²Document
                               Ü±½«³»²¬ PageÐ¿¹»113 ofíê
                                                  ê ±º 256
Case 1:20-bk-00599-HWV
Ý¿-» ïæîðó¾µóððëççóØÉÊ    Doc îçé
                          Ü±½ 840 Ú·´»¼
                                   Filed ðëñïîñîð
                                         12/23/21 Û²¬»®»¼
                                                    Entered 12/23/21
                                                            ðëñïîñîð 17:42:59
                                                                     ïçæëîæðì   Desc
                                                                                Ü»-½
                         Main
                          Ó¿·²Document
                               Ü±½«³»²¬ PageÐ¿¹»114 ofíê
                                                  é ±º 256
Case 1:20-bk-00599-HWV
Ý¿-» ïæîðó¾µóððëççóØÉÊ    Doc îçé
                          Ü±½ 840 Ú·´»¼
                                   Filed ðëñïîñîð
                                         12/23/21 Û²¬»®»¼
                                                    Entered 12/23/21
                                                            ðëñïîñîð 17:42:59
                                                                     ïçæëîæðì   Desc
                                                                                Ü»-½
                         Main
                          Ó¿·²Document
                               Ü±½«³»²¬ PageÐ¿¹»115 ofíê
                                                  è ±º 256
Case 1:20-bk-00599-HWV
Ý¿-» ïæîðó¾µóððëççóØÉÊ    Doc îçé
                          Ü±½ 840 Ú·´»¼
                                   Filed ðëñïîñîð
                                         12/23/21 Û²¬»®»¼
                                                    Entered 12/23/21
                                                            ðëñïîñîð 17:42:59
                                                                     ïçæëîæðì   Desc
                                                                                Ü»-½
                         Main
                          Ó¿·²Document
                               Ü±½«³»²¬ PageÐ¿¹»116 ofíê
                                                  ç ±º 256
Case 1:20-bk-00599-HWV
Ý¿-» ïæîðó¾µóððëççóØÉÊ    Doc îçé
                          Ü±½ 840 Ú·´»¼
                                   Filed ðëñïîñîð
                                         12/23/21 Û²¬»®»¼
                                                   Entered 12/23/21
                                                           ðëñïîñîð 17:42:59
                                                                    ïçæëîæðì   Desc
                                                                               Ü»-½
                         Main
                          Ó¿·²Document
                               Ü±½«³»²¬ PageÐ¿¹»117
                                                 ïð of
                                                    ±º 256
                                                       íê
Case 1:20-bk-00599-HWV
Ý¿-» ïæîðó¾µóððëççóØÉÊ    Doc îçé
                          Ü±½ 840 Ú·´»¼
                                   Filed ðëñïîñîð
                                         12/23/21 Û²¬»®»¼
                                                   Entered 12/23/21
                                                           ðëñïîñîð 17:42:59
                                                                    ïçæëîæðì   Desc
                                                                               Ü»-½
                         Main
                          Ó¿·²Document
                               Ü±½«³»²¬ PageÐ¿¹»118
                                                 ïï of
                                                    ±º 256
                                                       íê
Case 1:20-bk-00599-HWV
Ý¿-» ïæîðó¾µóððëççóØÉÊ    Doc îçé
                          Ü±½ 840 Ú·´»¼
                                   Filed ðëñïîñîð
                                         12/23/21 Û²¬»®»¼
                                                   Entered 12/23/21
                                                           ðëñïîñîð 17:42:59
                                                                    ïçæëîæðì   Desc
                                                                               Ü»-½
                         Main
                          Ó¿·²Document
                               Ü±½«³»²¬ PageÐ¿¹»119
                                                 ïî of
                                                    ±º 256
                                                       íê
Case 1:20-bk-00599-HWV
Ý¿-» ïæîðó¾µóððëççóØÉÊ    Doc îçé
                          Ü±½ 840 Ú·´»¼
                                   Filed ðëñïîñîð
                                         12/23/21 Û²¬»®»¼
                                                   Entered 12/23/21
                                                           ðëñïîñîð 17:42:59
                                                                    ïçæëîæðì   Desc
                                                                               Ü»-½
                         Main
                          Ó¿·²Document
                               Ü±½«³»²¬ PageÐ¿¹»120
                                                 ïí of
                                                    ±º 256
                                                       íê
Case 1:20-bk-00599-HWV
Ý¿-» ïæîðó¾µóððëççóØÉÊ    Doc îçé
                          Ü±½ 840 Ú·´»¼
                                   Filed ðëñïîñîð
                                         12/23/21 Û²¬»®»¼
                                                   Entered 12/23/21
                                                           ðëñïîñîð 17:42:59
                                                                    ïçæëîæðì   Desc
                                                                               Ü»-½
                         Main
                          Ó¿·²Document
                               Ü±½«³»²¬ PageÐ¿¹»121
                                                 ïì of
                                                    ±º 256
                                                       íê
Case 1:20-bk-00599-HWV
Ý¿-» ïæîðó¾µóððëççóØÉÊ    Doc îçé
                          Ü±½ 840 Ú·´»¼
                                   Filed ðëñïîñîð
                                         12/23/21 Û²¬»®»¼
                                                   Entered 12/23/21
                                                           ðëñïîñîð 17:42:59
                                                                    ïçæëîæðì   Desc
                                                                               Ü»-½
                         Main
                          Ó¿·²Document
                               Ü±½«³»²¬ PageÐ¿¹»122
                                                 ïë of
                                                    ±º 256
                                                       íê
Case 1:20-bk-00599-HWV
Ý¿-» ïæîðó¾µóððëççóØÉÊ    Doc îçé
                          Ü±½ 840 Ú·´»¼
                                   Filed ðëñïîñîð
                                         12/23/21 Û²¬»®»¼
                                                   Entered 12/23/21
                                                           ðëñïîñîð 17:42:59
                                                                    ïçæëîæðì   Desc
                                                                               Ü»-½
                         Main
                          Ó¿·²Document
                               Ü±½«³»²¬ PageÐ¿¹»123
                                                 ïê of
                                                    ±º 256
                                                       íê
Case 1:20-bk-00599-HWV
Ý¿-» ïæîðó¾µóððëççóØÉÊ    Doc îçé
                          Ü±½ 840 Ú·´»¼
                                   Filed ðëñïîñîð
                                         12/23/21 Û²¬»®»¼
                                                   Entered 12/23/21
                                                           ðëñïîñîð 17:42:59
                                                                    ïçæëîæðì   Desc
                                                                               Ü»-½
                         Main
                          Ó¿·²Document
                               Ü±½«³»²¬ PageÐ¿¹»124
                                                 ïé of
                                                    ±º 256
                                                       íê
                                                                                    Ü»-½
                                                                                    Ü±½ îçé Ú·´»¼ ðëñïîñîð Û²¬»®»¼ ðëñïîñîð ïçæëîæðì
                                                                                    Ó¿·² Ü±½«³»²¬    Ð¿¹» ïè ±º íê
                                                                                    Ý¿-» ïæîðó¾µóððëççóØÉÊ




Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 125 of 256
                                                                                    Ü»-½
                                                                                    Ü±½ îçé Ú·´»¼ ðëñïîñîð Û²¬»®»¼ ðëñïîñîð ïçæëîæðì
                                                                                    Ó¿·² Ü±½«³»²¬    Ð¿¹» ïç ±º íê
                                                                                    Ý¿-» ïæîðó¾µóððëççóØÉÊ




Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 126 of 256
                                                                                    Ü»-½
                                                                                    Ü±½ îçé Ú·´»¼ ðëñïîñîð Û²¬»®»¼ ðëñïîñîð ïçæëîæðì
                                                                                    Ó¿·² Ü±½«³»²¬    Ð¿¹» îð ±º íê
                                                                                    Ý¿-» ïæîðó¾µóððëççóØÉÊ




Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 127 of 256
Case 1:20-bk-00599-HWV
Ý¿-» ïæîðó¾µóððëççóØÉÊ    Doc îçé
                          Ü±½ 840 Ú·´»¼
                                   Filed ðëñïîñîð
                                         12/23/21 Û²¬»®»¼
                                                   Entered 12/23/21
                                                           ðëñïîñîð 17:42:59
                                                                    ïçæëîæðì   Desc
                                                                               Ü»-½
                         Main
                          Ó¿·²Document
                               Ü±½«³»²¬ PageÐ¿¹»128
                                                 îï of
                                                    ±º 256
                                                       íê
Case 1:20-bk-00599-HWV
Ý¿-» ïæîðó¾µóððëççóØÉÊ    Doc îçé
                          Ü±½ 840 Ú·´»¼
                                   Filed ðëñïîñîð
                                         12/23/21 Û²¬»®»¼
                                                   Entered 12/23/21
                                                           ðëñïîñîð 17:42:59
                                                                    ïçæëîæðì   Desc
                                                                               Ü»-½
                         Main
                          Ó¿·²Document
                               Ü±½«³»²¬ PageÐ¿¹»129
                                                 îî of
                                                    ±º 256
                                                       íê
Case 1:20-bk-00599-HWV
Ý¿-» ïæîðó¾µóððëççóØÉÊ    Doc îçé
                          Ü±½ 840 Ú·´»¼
                                   Filed ðëñïîñîð
                                         12/23/21 Û²¬»®»¼
                                                   Entered 12/23/21
                                                           ðëñïîñîð 17:42:59
                                                                    ïçæëîæðì   Desc
                                                                               Ü»-½
                         Main
                          Ó¿·²Document
                               Ü±½«³»²¬ PageÐ¿¹»130
                                                 îí of
                                                    ±º 256
                                                       íê
Case 1:20-bk-00599-HWV
Ý¿-» ïæîðó¾µóððëççóØÉÊ    Doc îçé
                          Ü±½ 840 Ú·´»¼
                                   Filed ðëñïîñîð
                                         12/23/21 Û²¬»®»¼
                                                   Entered 12/23/21
                                                           ðëñïîñîð 17:42:59
                                                                    ïçæëîæðì   Desc
                                                                               Ü»-½
                         Main
                          Ó¿·²Document
                               Ü±½«³»²¬ PageÐ¿¹»131
                                                 îì of
                                                    ±º 256
                                                       íê
Case 1:20-bk-00599-HWV
Ý¿-» ïæîðó¾µóððëççóØÉÊ    Doc îçé
                          Ü±½ 840 Ú·´»¼
                                   Filed ðëñïîñîð
                                         12/23/21 Û²¬»®»¼
                                                   Entered 12/23/21
                                                           ðëñïîñîð 17:42:59
                                                                    ïçæëîæðì   Desc
                                                                               Ü»-½
                         Main
                          Ó¿·²Document
                               Ü±½«³»²¬ PageÐ¿¹»132
                                                 îë of
                                                    ±º 256
                                                       íê
Case 1:20-bk-00599-HWV
Ý¿-» ïæîðó¾µóððëççóØÉÊ    Doc îçé
                          Ü±½ 840 Ú·´»¼
                                   Filed ðëñïîñîð
                                         12/23/21 Û²¬»®»¼
                                                   Entered 12/23/21
                                                           ðëñïîñîð 17:42:59
                                                                    ïçæëîæðì   Desc
                                                                               Ü»-½
                         Main
                          Ó¿·²Document
                               Ü±½«³»²¬ PageÐ¿¹»133
                                                 îê of
                                                    ±º 256
                                                       íê
Case 1:20-bk-00599-HWV
Ý¿-» ïæîðó¾µóððëççóØÉÊ    Doc îçé
                          Ü±½ 840 Ú·´»¼
                                   Filed ðëñïîñîð
                                         12/23/21 Û²¬»®»¼
                                                   Entered 12/23/21
                                                           ðëñïîñîð 17:42:59
                                                                    ïçæëîæðì   Desc
                                                                               Ü»-½
                         Main
                          Ó¿·²Document
                               Ü±½«³»²¬ PageÐ¿¹»134
                                                 îé of
                                                    ±º 256
                                                       íê
Case 1:20-bk-00599-HWV
Ý¿-» ïæîðó¾µóððëççóØÉÊ    Doc îçé
                          Ü±½ 840 Ú·´»¼
                                   Filed ðëñïîñîð
                                         12/23/21 Û²¬»®»¼
                                                   Entered 12/23/21
                                                           ðëñïîñîð 17:42:59
                                                                    ïçæëîæðì   Desc
                                                                               Ü»-½
                         Main
                          Ó¿·²Document
                               Ü±½«³»²¬ PageÐ¿¹»135
                                                 îè of
                                                    ±º 256
                                                       íê
Case 1:20-bk-00599-HWV
Ý¿-» ïæîðó¾µóððëççóØÉÊ    Doc îçé
                          Ü±½ 840 Ú·´»¼
                                   Filed ðëñïîñîð
                                         12/23/21 Û²¬»®»¼
                                                   Entered 12/23/21
                                                           ðëñïîñîð 17:42:59
                                                                    ïçæëîæðì   Desc
                                                                               Ü»-½
                         Main
                          Ó¿·²Document
                               Ü±½«³»²¬ PageÐ¿¹»136
                                                 îç of
                                                    ±º 256
                                                       íê
Case 1:20-bk-00599-HWV
Ý¿-» ïæîðó¾µóððëççóØÉÊ    Doc îçé
                          Ü±½ 840 Ú·´»¼
                                   Filed ðëñïîñîð
                                         12/23/21 Û²¬»®»¼
                                                   Entered 12/23/21
                                                           ðëñïîñîð 17:42:59
                                                                    ïçæëîæðì   Desc
                                                                               Ü»-½
                         Main
                          Ó¿·²Document
                               Ü±½«³»²¬ PageÐ¿¹»137
                                                 íð of
                                                    ±º 256
                                                       íê
Case 1:20-bk-00599-HWV
Ý¿-» ïæîðó¾µóððëççóØÉÊ    Doc îçé
                          Ü±½ 840 Ú·´»¼
                                   Filed ðëñïîñîð
                                         12/23/21 Û²¬»®»¼
                                                   Entered 12/23/21
                                                           ðëñïîñîð 17:42:59
                                                                    ïçæëîæðì   Desc
                                                                               Ü»-½
                         Main
                          Ó¿·²Document
                               Ü±½«³»²¬ PageÐ¿¹»138
                                                 íï of
                                                    ±º 256
                                                       íê
Case 1:20-bk-00599-HWV
Ý¿-» ïæîðó¾µóððëççóØÉÊ    Doc îçé
                          Ü±½ 840 Ú·´»¼
                                   Filed ðëñïîñîð
                                         12/23/21 Û²¬»®»¼
                                                   Entered 12/23/21
                                                           ðëñïîñîð 17:42:59
                                                                    ïçæëîæðì   Desc
                                                                               Ü»-½
                         Main
                          Ó¿·²Document
                               Ü±½«³»²¬ PageÐ¿¹»139
                                                 íî of
                                                    ±º 256
                                                       íê
Case 1:20-bk-00599-HWV
Ý¿-» ïæîðó¾µóððëççóØÉÊ    Doc îçé
                          Ü±½ 840 Ú·´»¼
                                   Filed ðëñïîñîð
                                         12/23/21 Û²¬»®»¼
                                                   Entered 12/23/21
                                                           ðëñïîñîð 17:42:59
                                                                    ïçæëîæðì   Desc
                                                                               Ü»-½
                         Main
                          Ó¿·²Document
                               Ü±½«³»²¬ PageÐ¿¹»140
                                                 íí of
                                                    ±º 256
                                                       íê
Case 1:20-bk-00599-HWV
Ý¿-» ïæîðó¾µóððëççóØÉÊ    Doc îçé
                          Ü±½ 840 Ú·´»¼
                                   Filed ðëñïîñîð
                                         12/23/21 Û²¬»®»¼
                                                   Entered 12/23/21
                                                           ðëñïîñîð 17:42:59
                                                                    ïçæëîæðì   Desc
                                                                               Ü»-½
                         Main
                          Ó¿·²Document
                               Ü±½«³»²¬ PageÐ¿¹»141
                                                 íì of
                                                    ±º 256
                                                       íê
Case 1:20-bk-00599-HWV
Ý¿-» ïæîðó¾µóððëççóØÉÊ    Doc îçé
                          Ü±½ 840 Ú·´»¼
                                   Filed ðëñïîñîð
                                         12/23/21 Û²¬»®»¼
                                                   Entered 12/23/21
                                                           ðëñïîñîð 17:42:59
                                                                    ïçæëîæðì   Desc
                                                                               Ü»-½
                         Main
                          Ó¿·²Document
                               Ü±½«³»²¬ PageÐ¿¹»142
                                                 íë of
                                                    ±º 256
                                                       íê
Case 1:20-bk-00599-HWV
Ý¿-» ïæîðó¾µóððëççóØÉÊ    Doc îçé
                          Ü±½ 840 Ú·´»¼
                                   Filed ðëñïîñîð
                                         12/23/21 Û²¬»®»¼
                                                   Entered 12/23/21
                                                           ðëñïîñîð 17:42:59
                                                                    ïçæëîæðì   Desc
                                                                               Ü»-½
                         Main
                          Ó¿·²Document
                               Ü±½«³»²¬ PageÐ¿¹»143
                                                 íê of
                                                    ±º 256
                                                       íê
                              EXHIBIT E




Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 144 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 145 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 146 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 147 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 148 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 149 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 150 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 151 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 152 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 153 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 154 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 155 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 156 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 157 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 158 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 159 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 160 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 161 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 162 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 163 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 164 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 165 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 166 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 167 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 168 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 169 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 170 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 171 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 172 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 173 of 256
                              EXHIBIT F




Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 174 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 175 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 176 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 177 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 178 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 179 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 180 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 181 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 182 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 183 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 184 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 185 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 186 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 187 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 188 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 189 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 190 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 191 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 192 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 193 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 194 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 195 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 196 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 197 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 198 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 199 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 200 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 201 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 202 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 203 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 204 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 205 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 206 of 256
                               EXHIBIT G




Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 207 of 256
                              UNITED STATES BANKRUPTCY COURT
                          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
                                   HARRISBURG DIVISION

  In re:                                                    Chapter 11

  ROMAN CATHOLIC DIOCESE OF                                 Case No. 1:20-bk-00599 (HWV)
  HARRISBURG,

                            Debtor.1


                          DECLARATION OF CHRISTOPHER G. LINSCOTT
                              IN SUPPORT OF FIRST DAY MOTIONS

           I, Christopher G. Linscott, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury

 as follows:

           1.       I am an adult person of sound mind and a resident of Tucson, Pima County,

 Arizona.

           2.       I am a certified public accountant licensed in the State of Arizona and a shareholder

 of Keegan Linscott & Associates, PC (“KLA”), located at 3443 North Campbell Avenue, Suite

 115, Tucson, Arizona 85719.

           3.       I hold a Master’s degree in Accounting from New York University and have more

 than thirty (30) years of experience in the public accounting field.

           4.       Prior to forming KLA, I worked at the firms of Coopers & Lybrand (now

 PricewaterhouseCoopers) and Peat Marwick (now KPMG).

           5.       In addition to being a Certified Public Accountant, I am a Certified Fraud Examiner

 and a Certified Insolvency and Restructuring Advisor.




 1 The last four digits of the Debtor’s federal tax identification number are: 4791. The Debtor’s principal place of
 business is located at 4800 Union Deposit Road, Harrisburg, Pennsylvania 17111.


 4832-9565-9953.4

Case
Case1:20-bk-00599-HWV
     1:20-bk-00599-HWV Doc
                       Doc840
                            15 Filed
                                 Filed02/19/20
                                       12/23/21 Entered
                                                  Entered02/19/20
                                                          12/23/2116:15:16
                                                                   17:42:59 Desc
                                                                            Desc
                      Main
                       MainDocument
                             Document PagePage208
                                                1 of
                                                  of31
                                                     256
          6.        Both KLA and I have substantial experience in representing and performing

 services for non-profit corporations.

          7.        In addition, I have substantial experience with respect to corporations sole and

 religious non-profit corporations.

          8.        Specifically, KLA was retained as the financial advisor and I was the primary

 person responsible for KLA’s services, in the chapter 11 reorganization cases for: (a) the Roman

 Catholic Diocese of Tucson; (b) the Roman Catholic Diocese of Gallup; (c) the Catholic Bishop

 of Northern Alaska, and (d) the Roman Catholic Bishop of San Diego.

          9.        The chapter 11 cases for (a) the Roman Catholic Diocese of Tucson, (b) the Roman

 Catholic Diocese of Gallup, and (c) the Catholic Bishop of Northern Alaska resulted in

 successfully confirmed chapter 11 plans of reorganization.

          10.       The chapter 11 case for the Roman Catholic Bishop of San Diego resulted in the

 settlement of a large portion of abuse claims and consensual dismissal of the chapter 11 case.

          11.       I have also served as a trustee in chapter 11 cases and have extensive experience in

 all aspects of chapter 11 cases.

          12.       In addition to the foregoing, prior to the commencement of this case, Waller

 Lansden Dortch & Davis, LLP, proposed counsel to the Roman Catholic Diocese of Harrisburg

 (the “RCDH”) in this case, engaged KLA and me to assist in analyzing RCDH’s financial affairs

 and to otherwise assist in the commencement of this chapter 11 case.

          13.       As part of the services provided prior to the commencement of this case, KLA and

 I assisted in compiling financial and other information necessary for the filing of the chapter 11

 petition on behalf of RCDH and the motions filed contemporaneously with the chapter 11 petition

 (collectively, the “First Day Motions”).




 4832-9565-9953.4

Case
Case1:20-bk-00599-HWV
     1:20-bk-00599-HWV Doc
                       Doc840
                            15 Filed
                                 Filed02/19/20
                                       12/23/21 Entered
                                                  Entered02/19/20
                                                          12/23/2116:15:16
                                                                   17:42:59 Desc
                                                                            Desc
                      Main
                       MainDocument
                             Document PagePage209
                                                2 of
                                                  of31
                                                     256
           14.      As a result, I have become familiar with RCDH’s accounting systems and

 operations.

           15.      I am submitting this declaration in support of the chapter 11 petition filed in this

 case and the First Day Motions.

           16.      This declaration is based upon my personal knowledge, the books and records of

 the RCDH, publicly available information, information obtained from persons with the RCDH,

 and information obtained from persons within KLA upon which I regularly rely in the ordinary

 course of business and to whom I have delegated certain responsibilities.

           17.      If called upon to testify, I could and would testify competently to the facts set forth

 herein.

           18.      This declaration is organized into two sections: (i) the first section describes the

 financial position of the RCDH and details the circumstances surrounding the commencement of

 this chapter 11 case; and (ii) the second section sets forth the evidentiary basis for the relief

 requested in each of the First Day Motions.

                         Corporate Form and Financial Position of the RCDH

           19.      The RCDH is nonprofit religious institution and maintains its principal place of

 business at 4800 Union Deposit Road, Harrisburg, Pennsylvania 17111.

           20.      The structure of the RCDH is detailed in the Informational Brief of the Roman

 Catholic Diocese of Harrisburg (the “Informational Brief”).2

           21.      The RCDH has very limited assets and generally operates on a break-even basis.

           22.      All of the non-real estate assets used by the RCDH are held in the Charitable Trust,

 while all real estate assets used by the RCDH are held in the Real Estate Trust.


 2 Capitalized terms used by not defined herein, other than in the section hereof named “Evidentiary Support for First
 Day Motions” shall have the meanings ascribed to them in the Informational Brief.


 4832-9565-9953.4

Case
Case1:20-bk-00599-HWV
     1:20-bk-00599-HWV Doc
                       Doc840
                            15 Filed
                                 Filed02/19/20
                                       12/23/21 Entered
                                                  Entered02/19/20
                                                          12/23/2116:15:16
                                                                   17:42:59 Desc
                                                                            Desc
                      Main
                       MainDocument
                             Document PagePage210
                                                3 of
                                                  of31
                                                     256
          23.       Certain assets are made available from the Charitable Trust and the Real Estate

 Trust to allow the RCDH to fulfill its mission and ministry, and the RCDH relies on distributions

 from the Charitable Trust from time to time to pay its expenses.

          24.       The RCDH also holds and manages certain custodial funds for the benefit of

 Parishes, Schools, and Related Entities which are to be used for specific religious, educational, or

 other charitable purposes and which funds are not property of the RCDH.

                                Events Leading to this Chapter 11 Case

          25.       For years, the RCDH has been faced with a steady decline in church attendance and

 the reality of dwindling revenues.

          26.       In addition to the decline in attendance and revenues, the RCDH has borne

 increased expenses in connection with confronting the past and issues regarding clergy sexual

 abuse.

          27.       Among those issues, the RCDH received a Grand Jury Subpoena in 2016.

 Responding to that subpoena forced the RCDH to incur extraordinary legal costs, which

 exacerbated the RCDH’s pre-existing financial trend.

          28.       Coupled with the extraordinary legal expenses arising from the Grand Jury

 Subpoena, the RCDH has undertaken several initiatives to provide compensation and care for

 survivors of clergy sexual abuse. And at the same time, the RCDH continues to face an increasing

 amount of formal and informal legal claims arising from sexual abuse—by clergy or otherwise.

          29.       All of the foregoing, together with recent changes in the law in the Commonwealth

 of Pennsylvania and neighboring states, has left the RCDH with no other path forward to ensure

 the financial ability to both provide fair and equitable compensation for survivors and ensure the




 4832-9565-9953.4

Case
Case1:20-bk-00599-HWV
     1:20-bk-00599-HWV Doc
                       Doc840
                            15 Filed
                                 Filed02/19/20
                                       12/23/21 Entered
                                                  Entered02/19/20
                                                          12/23/2116:15:16
                                                                   17:42:59 Desc
                                                                            Desc
                      Main
                       MainDocument
                             Document PagePage211
                                                4 of
                                                  of31
                                                     256
 future of the missions and ministries of the Roman Catholic Church within the territorial diocese

 for all of those who depend on it today.

                                         The PNC Indebtedness

          30.       The RCDH is party to that certain Financing and Security Agreement, dated as of

 December 30, 2009 (as amended, restated, supplemented, or otherwise modified from time to time,

 the “PNC Financing Agreement”), by and among PNC Bank, National Association, in its capacity

 as agent (the “Agent”) for the banks signatory to the PNC Financing Agreement (the “Banks”),

 the Pennsylvania Economic Development Financing Authority (the “Authority”), and the RCDH,

 the Charitable Trust, and Bishop McDevitt High School of Harrisburg, each as borrowers (the

 “Borrowers”).

          31.       On account of its obligations under the PNC Financing Agreement, each of the

 Borrowers executed a promissory note in favor of the Authority, which promissory notes were, in

 turn, assigned to the Agent on behalf of the Banks.

          32.       While the Agent is secured by certain assets of Bishop McDevitt, the obligations

 of the RCDH and the Charitable Trust under the PNC Financing Agreement and related promissory

 notes are unsecured.

          33.       As of the Petition Date, the RCDH owes $30,711,813.13 on account of its

 obligations under the PNC Financing Agreement and related promissory note.

          34.       In addition, PNC Bank, National Association (the “Letter of Credit Bank”)

 extended standby letters of credit (the “Letters of Credit”) to the RCDH in an amount not to exceed

 $3,000,000.

          35.       The Letters of Credit secure certain self-insurance obligations of the RCDH and are

 secured by a cash deposit posted by the RCDH with the Letter of Credit Bank.




 4832-9565-9953.4

Case
Case1:20-bk-00599-HWV
     1:20-bk-00599-HWV Doc
                       Doc840
                            15 Filed
                                 Filed02/19/20
                                       12/23/21 Entered
                                                  Entered02/19/20
                                                          12/23/2116:15:16
                                                                   17:42:59 Desc
                                                                            Desc
                      Main
                       MainDocument
                             Document PagePage212
                                                5 of
                                                  of31
                                                     256
                             Evidentiary Support for the First Day Motions3

          36.       The RCDH has filed the First Day Motions seeking various forms of relief on an

 emergency bases. The First Day Motions seek relief aimed at, among other things, facilitating a

 smooth transition in this chapter 11 case, maintaining employee compensation, maintaining the

 good will and morale of priests, lay employees, and others who rely on the programs and services

 provided by the RCDH, and preserving and maximizing the property available to satisfy the

 RCDH’s creditors. All of the First Day Motions are vital to the RCDH’s reorganization efforts,

 and expedited approval of the First Day Motions is important to the RCDH’s success in this chapter

 11 case.

          37.       I have reviewed the First Day Motions, including the exhibits and other attachments

 to the First Day Motions.

          38.       I believe the RCDH has satisfied the applicable standards for the relief requested in

 each of the First Day Motions and this Court’s grant of the requested relief is in the best interests

 of the RCDH, the RCDH’s estate, its creditors, and other parties in interest.

          39.       Moreover, in the absence of expedited approval of the First Day Motions and relief

 sought in same, the RCDH and its estate could suffer immediate and irreparable harm.

          40.       A description of the relief sought and the facts supporting each of the First Day

 Motions is set forth below. Based upon the foregoing and the facts below, I respectfully submit

 that the First Day Motions should be granted.




 3 Capitalized terms used in this section of the declaration and not otherwise defined shall have the meanings ascribed
 to them in the applicable First Day Motion.


 4832-9565-9953.4

Case
Case1:20-bk-00599-HWV
     1:20-bk-00599-HWV Doc
                       Doc840
                            15 Filed
                                 Filed02/19/20
                                       12/23/21 Entered
                                                  Entered02/19/20
                                                          12/23/2116:15:16
                                                                   17:42:59 Desc
                                                                            Desc
                      Main
                       MainDocument
                             Document PagePage213
                                                6 of
                                                  of31
                                                     256
   I.       Debtor’s Emergency Application for Order Appointing Epiq Corporate
            Restructuring, LLC as Claims, Noticing, Solicitation, and Administrative
            Agent (the “Epiq Retention Application”).
            41.     Pursuant to the Epiq Retention Application, the RCDH seeks entry of an order

 appointing Epiq Corporate Restructuring, LLC (“Epiq”) as the claims agent (the “Claims Agent”)

 for the RCDH in the Chapter 11 Case, including assuming full responsibility for the distribution

 of notices and the maintenance, processing, and docketing of proofs of claim in the Chapter 11

 Case. The RCDH submits that Epiq’s rates are competitive and reasonable given Epiq’s quality of

 services and expertise.

            42.     Although the RCDH has not filed its schedules of assets and liabilities, the RCDH

 anticipates there will be in excess of 500 entities to be noticed.

            43.     Further, this Chapter 11 Case presents unique issues related to the confidential

 nature of many claimants’ identities. Epiq will be able to provide the services as described in the

 Epiq Agreement4 while ensuring that the confidentiality of survivors is maintained.

            44.     In view of the foregoing and the complexity of the RCDH’s business, I submit that

 the appointment of a claims and noticing agent will provide the most effective and efficient means

 of, and relieve the RCDH and the Office of the Clerk of the Bankruptcy Court of the administrative

 burden of, noticing, administering claims, and soliciting and balloting votes and is in the best

 interests of the RCDH, the RCDH’s estate, its creditors, and other parties in interest.

            45.     I, therefore, believe appointing Epiq as the claims, noticing, and balloting agent in

 the Chapter 11 Case will maximize the value of the RCDH’s estate for all stakeholders and should

 be approved by the Court.




 4 Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the underlying First Day
 Motions.


 4832-9565-9953.4

Case
Case1:20-bk-00599-HWV
     1:20-bk-00599-HWV Doc
                       Doc840
                            15 Filed
                                 Filed02/19/20
                                       12/23/21 Entered
                                                  Entered02/19/20
                                                          12/23/2116:15:16
                                                                   17:42:59 Desc
                                                                            Desc
                      Main
                       MainDocument
                             Document PagePage214
                                                7 of
                                                  of31
                                                     256
  II.     Debtor’s Emergency Motion for Entry of an Order (I) Extending the Time to
          File Schedules of Assets and Liabilities and Statements of Financial Affairs and
          (II) Granting Related Relief (the “Schedules/SOFAs Extension Motion”).

          46.       Pursuant to the Schedules/SOFAs Extension Motion, the RCDH requests entry of

 an order (a) granting the RCDH thirty (30) days from the Petition Date (the “Extension Period”)

 to file the Schedules and Statements, without prejudice to the RCDH’s ability to request an

 additional extension of time should it become necessary and (b) granting such other and further

 relief as is just and proper.

          47.       I anticipate that there will be many more creditors and interested parties involved

 in this Chapter 11 Case, including a multitude of individuals whose claims relate to alleged

 instances of abuse and whose names and other identifying information will be filed under seal to

 protect their privacy, pursuant to the relief sought in the Motion for an Order Authorizing the

 Debtor to File Under Seal Portions of Schedule F, the Creditor Matrix, and Other Pleadings and

 Documents filed contemporaneously herewith. Given the need for confidentiality, preparing the

 Schedules and Statements accurately and with sufficient detail and adherence to confidentiality

 requires significant attention from the Debtor’s professionals and advisors.

          48.       In addition to the reasons set forth above, I respectfully submit that the size and

 complexity of the Debtor’s operations, the limited staff available to perform the required internal

 review of financial records and affairs, the numerous critical operational and mission stabilization

 matters that the Debtor’s personnel must address in the early days of this Chapter 11 Case, and the

 pressure incident to the commencement of this Chapter 11 Case provide ample cause justifying

 the requested extension of the deadline to file the Schedules and Statements. Although the Debtor

 and its professionals have been working diligently on completing the Schedules and Statements, it




 4832-9565-9953.4

Case
Case1:20-bk-00599-HWV
     1:20-bk-00599-HWV Doc
                       Doc840
                            15 Filed
                                 Filed02/19/20
                                       12/23/21 Entered
                                                  Entered02/19/20
                                                          12/23/2116:15:16
                                                                   17:42:59 Desc
                                                                            Desc
                      Main
                       MainDocument
                             Document PagePage215
                                                8 of
                                                  of31
                                                     256
 would be extremely challenging to complete this undertaking prior to the expiration of the Initial

 Deadline.

          49.       I submit that focusing the attention of key personnel on critical operational and

 chapter 11 compliance issues during the early days of this Chapter 11 Case will help the Debtor

 make a smoother transition into bankruptcy and, therefore, will ultimately maximize the value of

 the Debtor’s estate for the benefit of creditors and all parties in interest. Consequently, I believe

 that it is in the best interests of the Debtor and its creditors to obtain an extension of the filing

 deadline set forth under Bankruptcy Rule 1007(c), which would provide the Debtor with a total of

 thirty (30) days from the Petition Date to file the Schedules and Statements.

          50.       Therefore, on behalf of the RCDH, I submit the Schedules/SOFAs Extension

 Motion should be granted.

 III.     Debtor’s Emergency Motion for an Order Authorizing the Debtor to File under
          Seal Portions of Schedule E/F, the Creditor Matrix, and Other Pleadings and
          Documents (the “Schedule and Matrix Sealing Motion”).

          51.       Many of the unsecured creditors in this Chapter 11 Case are individuals whose

 claims against the Debtor are premised on allegations of childhood sexual abuse (“Abuse

 Claimants”). Some Abuse Claimants have filed tort claims against the Debtor in their individual

 capacities, while some have elected to file a class action lawsuit. One of these Abuse Claimants

 has elected to file their litigation against the Debtor pseudonymously, with their actual identity to

 be revealed to the defendants in the course of litigation and with the understanding that their

 identity would not be publicly disclosed. Additionally, the Debtor has previously entered into out-

 of-court settlements with some Abuse Claimants, either through the confidential Survivor

 Compensation Program undertaken by the Debtor in 2019 or through independent negotiations,

 Furthermore, while the Debtor is currently unaware of any Abuse Claimants who are minors, in



 4832-9565-9953.4

Case
Case1:20-bk-00599-HWV
     1:20-bk-00599-HWV Doc
                       Doc840
                            15 Filed
                                 Filed02/19/20
                                       12/23/21 Entered
                                                  Entered02/19/20
                                                          12/23/2116:15:16
                                                                   17:42:59 Desc
                                                                            Desc
                      Main
                       MainDocument
                             Document PagePage216
                                                9 of
                                                  of31
                                                     256
 other similar cases there have been instances in which minors asserted claims or otherwise had

 claims asserted on their behalf. The Debtor expects more individuals who are not currently Abuse

 Claimants to come forward with claims of abuse that have not previously settled out of court in

 any manner.

          52.       Further, the pleadings in this Chapter 11 Case will have personally identifiable

 information of individual creditors who are also employees of the Debtor (the “Employee

 Creditors”) who wish to remain anonymous for security purposes related to identity theft, but not

 for purposes related to concealment of any alleged perpetrator of abuse.

          53.       In light of the delicate nature of the claims of the Abuse Claimants and others who

 may come forward with similar claims during the Chapter 11 Case, to avoid causing unnecessary

 additional anguish or embarrassment, to encourage such individuals to feel safe and secure in

 advancing their claims without fear of retribution or reprisal, to guard against potential identity

 theft, and, with regard to minors, as required by Bankruptcy Rule 9037, I submit that it would be

 inappropriate and potentially harmful to require the public disclosure of: (i) identifying

 information relating to individuals who have notified or who will notify, either informally,

 formally, or through filing a lawsuit, the Debtor of allegations of abuse by clergy members or other

 persons employed by Catholic entities or otherwise subject to Diocesan supervision; (ii)

 information relating to the specific allegations of abuse asserted by any of the Abuse Claimants;

 (iii) information relating to confidential settlements of abuse claims; or (iv) any personal,

 identifying information of Employee Creditors (collectively, the “Confidential Information”).

          54.       Therefore, on behalf of the RCDH, I submit the Schedule and Matrix Sealing

 Motion should be granted.




 4832-9565-9953.4

Case
Case1:20-bk-00599-HWV
     1:20-bk-00599-HWV Doc
                       Doc840
                            15 Filed
                                Filed02/19/20
                                      12/23/21 Entered
                                                Entered02/19/20
                                                        12/23/2116:15:16
                                                                 17:42:59 Desc
                                                                          Desc
                      Main
                       MainDocument
                            Document PagePage217
                                              10 of 256
                                                    31
 IV.      Debtor’s Emergency Motion for Entry of Interim and Final Orders
          (I) Authorizing the Debtor’s Proposed Form of Adequate Assurance of
          Payment to Utility Companies under Section 366 of the Bankruptcy Code,
          (II) Establishing Procedures for Resolving Objections by Utility Companies,
          (III) Prohibiting Utility Companies from Altering, Refusing, or Discontinuing
          Service, and (IV) Granting Related Relief (the “Utilities Motion”).

          55.       The Debtor’s ongoing operations require the Debtor to maintain uninterrupted

 utility services from myriad utility service providers (each, a “Utility Company” and collectively,

 the “Utility Companies”), for electricity, natural gas, telephone, water, waste removal, internet,

 and other services (the “Utility Services”). The Utility Companies include, without limitation, the

 entities set forth on the list attached to the Utilities Motion as Exhibit C (the “Utility Companies

 List”). The Debtor has consistently made payments to the Utility Companies on a regular and

 timely basis. To my knowledge, there are no material defaults or arrearages with respect to the

 Debtor’s undisputed invoices for Utility Services, other than the payment interruptions that may

 be caused by the commencement of the Chapter 11 Case.

          56.       Uninterrupted Utility Services are essential to the continued operation of the Debtor

 and, consequently, to the success of the Chapter 11 Case. Should any Utility Company alter, refuse,

 or discontinue service, even for a brief period, the Debtor’s operations could be severely disrupted,

 and such disruption would jeopardize the Debtor’s reorganization efforts. Accordingly, the Debtor

 seeks to establish an orderly process for providing adequate assurance to its Utility Companies

 without hindering the Debtor’s ability to function as a going concern.

          57.       The Debtor receives Utility Services from the Utility Companies for multiple

 facilities. On average, the Debtor pays approximately $16,919.04 each month for the Utility

 Services, calculated as a historical average for fiscal year 2018–2019. The Debtor estimates, and I

 concur, that the cost for the Utility Services during the next two (2) weeks (not including any

 deposits to be paid) will be approximately $8,459.52, based upon the historical average.


 4832-9565-9953.4

Case
Case1:20-bk-00599-HWV
     1:20-bk-00599-HWV Doc
                       Doc840
                            15 Filed
                                Filed02/19/20
                                      12/23/21 Entered
                                                Entered02/19/20
                                                        12/23/2116:15:16
                                                                 17:42:59 Desc
                                                                          Desc
                      Main
                       MainDocument
                            Document PagePage218
                                              11 of 256
                                                    31
          58.       As of the Petition Date, the Debtor has cash sufficient to make postpetition

 payments to the Utility Companies.

          59.       The Debtor intends to pay its undisputed postpetition obligations to the Utility

 Companies on a timely basis, in accordance with its prepetition practices, and has the ability to do

 so.

          60.       The Debtor proposes to deposit an amount equal to two (2) weeks of Utility

 Services, calculated as a historical average for fiscal year 2018–2019 (each, an “Adequate

 Assurance Deposit”), into a segregated bank account designated for the Adequate Assurance

 Deposit (the “Adequate Assurance Deposit Account”), within twenty (20) days of the Petition

 Date. The Adequate Assurance Deposit will be held in the Adequate Assurance Deposit Account

 for the duration of the Chapter 11 Case and may be applied to any postpetition defaults with respect

 to payments to the Utility Companies.

          61.       I submit that the Adequate Assurance Deposit, in conjunction with the Debtor’s

 ability to pay for future Utility Services in the ordinary course of business (collectively, the

 “Proposed Adequate Assurance”) and any deposits held by the Utility Companies, constitutes

 sufficient adequate assurance of future payment to the Utility Companies, to satisfy the

 requirements of section 366 of the Bankruptcy Code. Nonetheless, if any Utility Company believes

 additional assurance is required, the Debtor requests that the Court approve the Adequate

 Assurance Procedures and Objection Procedures as described in the Utilities Motion.

          62.       Therefore, on behalf of the RCDH, I submit the Utilities Motion should be granted.

  V.      Debtor’s Emergency Motion for Entry of Interim and Final Orders:
          (I) Authorizing the Debtor to (A) Pay Certain Prepetition Wages, Benefits, and
          Other Compensation and (B) Continue Employee Compensation and Benefits
          Programs; and (II) Granting Related Relief (the “Wage Motion”).

          63.       The Debtor currently employs approximately 177 employees, 13 of whom are


 4832-9565-9953.4

Case
Case1:20-bk-00599-HWV
     1:20-bk-00599-HWV Doc
                       Doc840
                            15 Filed
                                Filed02/19/20
                                      12/23/21 Entered
                                                Entered02/19/20
                                                        12/23/2116:15:16
                                                                 17:42:59 Desc
                                                                          Desc
                      Main
                       MainDocument
                            Document PagePage219
                                              12 of 256
                                                    31
 seasonal, 49 of whom are part-time, hourly employees and 72 of whom are salaried full-time

 employees, and 43 of whom are clergy (the “Employees”). In addition to its own Employees,

 Related Entities (excluding schools and parishes) employ approximately 59 individuals (the “Non-

 Debtor Employees”), 18 of which are shared with the Debtor. Harrisburg Catholic Administrative

 Services, Inc. (the “Payroll Processor” or “HCAS”), processes payroll for both the Debtor’s

 Employees as well as the Non-Debtor Employees. The Debtor and Related Entities consolidate all

 payroll funds into a single account (the “Payroll Account”) in the Debtor’s name. HCAS, as the

 Payroll Processor, then disperses payment to all Employees and Non-Debtor Employees. By

 centralizing the payroll processing services and maintaining a single relationship with HCAS for

 payment of payroll, the Debtor is able to provide a streamlined payment system for all wages as

 well as administrative cost savings to the Related Entities.5

          64.       In addition to a centralized payroll system, the Employees and Non-Debtor

 Employees are enrolled into consolidated benefit plans (as more fully described below) in order to

 take advantage of economies of scale. Similar to the payroll system described above, the Debtor

 and Related Entities fund all amounts due for all Employee and Non-Debtor Employee benefit

 plans to a deposit account maintained by the Debtor (the “Payroll Account”) at which point HCAS

 administers the funds and disburses them to the appropriate third parties.

          65.       The Debtor’s Employees perform a variety of critical functions for the Debtor. They

 work in numerous ministries and other operations, providing ecclesiastical, managerial, financial,

 clerical, religious, and pastoral services to individuals and families living within the Debtor’s

 territorial jurisdiction. The Employees’ knowledge, skills and understanding of the Debtor’s



 5 In order to make payments to third parties, the Debtor funds, or causes to be funded, payments to HCAS. As part of
 its administrative responsibilities pursuant to certain services agreements, HCAS, in turn, makes payments to such
 third parties on the Debtor’s behalf using such funds.


 4832-9565-9953.4

Case
Case1:20-bk-00599-HWV
     1:20-bk-00599-HWV Doc
                       Doc840
                            15 Filed
                                Filed02/19/20
                                      12/23/21 Entered
                                                Entered02/19/20
                                                        12/23/2116:15:16
                                                                 17:42:59 Desc
                                                                          Desc
                      Main
                       MainDocument
                            Document PagePage220
                                              13 of 256
                                                    31
 ministries, mission, business operations and relationships are essential to the success of the Debtor

 and this Chapter 11 Case. Without the continued service and dedication of the Employees, it will

 be difficult, if not impossible, to effectively implement the Debtor’s chapter 11 strategy.

          66.       Thus, to successfully accomplish the foregoing, minimize the personal hardship

 that the Employees—and ultimately, the beneficiaries of the services provided by such

 Employees—will suffer if prepetition employee-related obligations are not paid when due or as

 otherwise expected, and to maintain employee morale and a focused workforce during this critical

 time, I believe it is necessary and in the best interest of the Debtor’s estate and all stakeholders to

 seek the relief requested by the Wage Motion.

          67.       The Debtor’s aggregate monthly compensation for the Employees, including

 wages and salaries, is approximately $241,520. Most of the Debtor’s payroll payments are made

 by direct deposit through the electronic transfer of funds directly to the Employees, while the

 remaining payments are made via check. The Debtor’s Employees are paid on a bi-weekly basis.6

          68.       On February 12, 2020, the Debtor issued payroll to the Employees for the pay

 period ending January 31, 2020. Since that date and prior to the Petition Date, the Employees have

 continue to provide services to the Debtor and are thus entitled to receive pre-petition wages and

 benefits payable during that interim period prior to the Petition Date. Additionally, compensation

 may be due and owing as of the Petition Date because:

                    (a)    some discrepancies may exist between the amounts paid and the amounts
                           Employees or others believe should have been paid, which, upon resolution,
                           may reveal that additional amounts are owed to such Employees; and

                    (b)    some payroll checks issued to Employees prior to the Petition Date may not
                           have been presented for payment or cleared the banking system and,

 6 The Debtor employs the Payroll Processor to administer its payroll. The Payroll Processor’s services are crucial to
 the smooth functioning of the Debtor’s payroll system and, therefore, to the Debtor’s operations generally. As of the
 Petition Date, the Debtor believes that no amount is owed to Payroll Processor. The Debtor requests authority to
 continue to pay Payroll Processor in the ordinary course of business as routinely done prior to the Petition Date.


 4832-9565-9953.4

Case
Case1:20-bk-00599-HWV
     1:20-bk-00599-HWV Doc
                       Doc840
                            15 Filed
                                Filed02/19/20
                                      12/23/21 Entered
                                                Entered02/19/20
                                                        12/23/2116:15:16
                                                                 17:42:59 Desc
                                                                          Desc
                      Main
                       MainDocument
                            Document PagePage221
                                              14 of 256
                                                    31
                           accordingly, have not yet been honored and paid as of the Petition Date.

          69.       As of the Petition Date, the aggregate amount of accrued wages, salaries, overtime

 pay, commissions, and other compensation (excluding, without limitation, the amounts owed in

 connection with Deductions, Payroll Taxes, Employee Benefits, and the Debtor’s Workers’

 Compensation Program (each as defined below)) earned prior to the Petition Date that remains

 unpaid to the Debtor’s Employees is approximately $154,603 (the “Unpaid Compensation”). By

 this Motion, the Debtor requests authority to pay all such Unpaid Compensation to the Employees

 in the ordinary course of business in an amount not to exceed $175,000. The Debtor submits, and

 I concur, that no Employee is owed more than $13,650 for Unpaid Compensation or Employee

 Benefits (as defined below).7

          70.       In the ordinary course of its business and pursuant to its obligations under Canon

 Law, the Debtor maintains a home on the Debtor’s campus that is owned by the Roman Catholic

 Diocese of Harrisburg Real Estate Trust and in which the Bishop of the Diocese of Harrisburg

 resides. The average monthly costs to maintain this property (the “Housing Costs”) is

 approximately $4,750, which includes regular maintenance, utilities, and landscaping.

          71.       During each applicable pay period, the Debtor routinely deducts certain amounts

 from the Employees’ paychecks, including pre-tax and after-tax deductions payable pursuant to

 certain of the Employee benefit plans discussed herein (such as an Employee’s share of health care

 benefits and insurance premiums) and charitable contributions (collectively, the “Deductions”)

 and forwards those amounts, through HCAS, to various third-party recipients. For the pay period

 ending February 14, 2020, these Deductions were approximately $16,400. The Debtor believes


 7 To the extent that the Debtor discovers that an Employee does have a section 507(a)(4) claim for Unpaid
 Compensation that exceeds the $13,650 cap, the Debtor, by this Motion, only seeks authority to honor such claim up
 to the $13,650 statutory cap. However, the Debtor reserves the right to request authority to honor any such section
 507(a)(4) claims that exceed the $13,650 cap after notice and a hearing.


 4832-9565-9953.4

Case
Case1:20-bk-00599-HWV
     1:20-bk-00599-HWV Doc
                       Doc840
                            15 Filed
                                Filed02/19/20
                                      12/23/21 Entered
                                                Entered02/19/20
                                                        12/23/2116:15:16
                                                                 17:42:59 Desc
                                                                          Desc
                      Main
                       MainDocument
                            Document PagePage222
                                              15 of 256
                                                    31
 that these Deductions were remitted to the various third party recipients prior to the Petition Date,

 however, in the event that such amounts have not been remitted, the Debtor seeks authority to

 continue to forward these prepetition Deductions, in an amount not to exceed $20,000, to the

 applicable third party recipients on a postpetition basis in the ordinary course of business, as

 routinely done prior to the Petition Date. The Debtor also seeks authority to forward Deductions

 that have accrued between February 14, 2020 and the Petition Date, in an amount not to exceed

 $20,000, to the applicable third party recipients in the ordinary course of business.

          72.       Further, the Debtor is required by law to withhold from an Employee’s wages

 amounts related to, among other things, federal, state and local income taxes, social security and

 Medicare taxes (collectively, the “Withheld Amounts”) for remittance to the appropriate taxing

 authorities. The Debtor must then make matching payments from its own funds for social security

 and Medicare taxes (the “Employer Payroll Taxes,” and together with the Withheld Amounts, the

 “Payroll Taxes”). The Debtor’s Payroll Taxes for the pay period ending February 14, 2020 was

 approximately $30,000. The Debtor believes, and I concur, that these Payroll Taxes were remitted

 to the various taxing authorities before the Petition Date, however, in the event that such amounts

 were not remitted, the Debtor seeks authority to continue to forward these prepetition Payroll

 Taxes, in an amount not to exceed $40,000, to the applicable taxing authorities on a postpetition

 basis in the ordinary course of business, as routinely done prior to the Petition Date.

          73.       Between February 15, 2020 and the Petition Date, the Debtor’s Employees have

 continued to provide services to the Debtor and are thus entitled to receive prepetition wages upon

 which Payroll Taxes have been withheld. As of the Petition Date, the Debtor’s accrued and

 outstanding prepetition obligations with respect to the Payroll Taxes on those wages are

 approximately $10,000, which represents approximately four (4) days of accrued Payroll Taxes.




 4832-9565-9953.4

Case
Case1:20-bk-00599-HWV
     1:20-bk-00599-HWV Doc
                       Doc840
                            15 Filed
                                Filed02/19/20
                                      12/23/21 Entered
                                                Entered02/19/20
                                                        12/23/2116:15:16
                                                                 17:42:59 Desc
                                                                          Desc
                      Main
                       MainDocument
                            Document PagePage223
                                              16 of 256
                                                    31
          74.       In the ordinary course of business, the Employees are provided with a number of

 employee benefits, including, but not limited to (a) health, dental, and vision insurance, (b) paid

 time off, and (c) group long-term disability insurance, described in greater detail below

 (collectively, the “Employee Benefits”).

          75.       The Debtor offers: (i) a health insurance program (the “Plan”) for the benefit of

 Debtor’s Employees and the Related Entities. The Plan is administered by Highmark Blue Shield

 (“Blue Shield”); (ii) prescription drug insurance (the “Prescription Drug Insurance”) through

 Express Scripts; and (iii) access to an employee assistance program (the “Employee Assistance

 Program”) through Integrated Behavioral Health (“IBH”).

          76.       By covering their employees under a single plan, the Debtor the Related Entities

 benefit from significant cost savings as a result of the pooled risk and allocation of the Plan,

 Prescription Drug Insurance, and Employee Assistance Program. The Debtor believes, and I

 concur, that a health insurance plan, prescription drug plan, and employee assistance program for

 most of these entities alone would be prohibitively expensive (and possibly unavailable), due to

 the small number of employees that would be covered. Historically, premiums collected from the

 Parish Corporations and Related Entities have covered the cost of claims made by their employees.

          77.       The premium cost of the Plan, Prescription Drug Insurance, and Employee

 Assistance Program is funded in part by the Debtor and in part through Employee paycheck

 deductions. Employees who work thirty (30) or more hours per week are eligible to participate in

 the Plan.

          78.       HCAS deducts the premium payments from the Employee’s payroll and remits the

 payments to Blue Shield on behalf of the Debtor and Employees. As of the Petition Date, the

 Debtor estimates that approximately $5,000 has been withheld from its Employees but is yet to be




 4832-9565-9953.4

Case
Case1:20-bk-00599-HWV
     1:20-bk-00599-HWV Doc
                       Doc840
                            15 Filed
                                Filed02/19/20
                                      12/23/21 Entered
                                                Entered02/19/20
                                                        12/23/2116:15:16
                                                                 17:42:59 Desc
                                                                          Desc
                      Main
                       MainDocument
                            Document PagePage224
                                              17 of 256
                                                    31
 remitted to Blue Shield, Express Scripts, and IBH.

          79.       The Debtor offers a health savings account program (the “HSA”) for the benefit of

 Debtor’s Employees and the Related Entities. The HSA is administered by HCAS.

          80.       The HSA allows eligible Employees to contribute tax-deferred wages towards the

 future cost of healthcare expenses. The Debtor deducts the Employees’ contributions from the

 Employee’s payroll and remits the contributions to HCAS on behalf of its Employees. As of the

 Petition Date, the Debtor estimates that approximately $2,200 has been withheld from its

 Employees but is yet to be remitted to HCAS.

          81.       The Employees and the employees of the Related Entities are provided with dental

 insurance (the “Dental Insurance”) through United Concordia. Generally, employees working

 thirty (30) hours or more per week are automatically enrolled in the Dental Insurance program at

 no cost to the employee. The Dental Insurance provides coverage for preventative and basic dental

 services.

          82.       By covering Employees and Non-Debtor Employees under a single plan, the Debtor

 and the Related Entities benefit from significant cost savings as a result of the pooled risk and the

 allocation with the Dental Insurance program. The Debtor believes, and I concur, that a dental

 insurance plan for most of these entities alone would be prohibitively expensive and possible

 unavailable due to the small number of employees that would be covered.

          83.       The Employees and the employees of the Related Entities are provided with vision

 insurance (the “Vision Insurance”) through National Vision Administrators (“NVA”). Generally,

 employees working thirty (30) hours or more a week are automatically enrolled in the Vision

 Insurance program at no cost to the employee. The Vision Insurance provides coverage for

 examinations, frames, lens, and contact lenses.




 4832-9565-9953.4

Case
Case1:20-bk-00599-HWV
     1:20-bk-00599-HWV Doc
                       Doc840
                            15 Filed
                                Filed02/19/20
                                      12/23/21 Entered
                                                Entered02/19/20
                                                        12/23/2116:15:16
                                                                 17:42:59 Desc
                                                                          Desc
                      Main
                       MainDocument
                            Document PagePage225
                                              18 of 256
                                                    31
          84.       By covering Employees and Non-Debtor Employees under a single plan, the Debtor

 and the Related Entities benefit from significant cost savings as a result of the pooled risk and the

 allocation with the Vision Insurance program. The Debtor believes, and I concur, that a dental

 insurance plan for most of these entities alone would be prohibitively expensive and possible

 unavailable due to the small number of employees that would be covered.

          85.       The Employees and the employees of the Related Entities are provided with term

 life insurance (the “Term Life Insurance”) through Principal Life Insurance Company, as well as

 universal life insurance (the “Universal Life Insurance” and together with the Term Life

 Insurance, the “Life Insurance Programs”) through Trustmark Insurance Company. Generally,

 employees working thirty (30) hours or more a week are automatically enrolled in the Life

 Insurance Programs at no cost to the employee. For the fiscal year ended in 2019, the Debtor’s

 expense for Life Insurance Programs was $11,657.

          86.       By covering Employees and Non-Debtor Employees under a single plan, the Debtor

 and the Related Entities benefit from significant cost savings as a result of the pooled risk and the

 allocation with the Life Insurance Programs. The Debtor believes, and I concur, that a life

 insurance plan for most of these entities alone would be prohibitively expensive and possible

 unavailable due to the small number of employees that would be covered.

          87.       The Employees and the employees of the Related Entities are provided with group

 long-term disability insurance (the “Group Long-Term Disability Insurance”) through Trustmark

 Insurance Company. Generally, employees working thirty (30) hours or more a week are

 automatically enrolled in the Group Long-Term Disability Insurance program at no cost to the

 employee. The Group Long-Term Disability Insurance is designed to replace an employee’s take-

 home pay in the event that a disability due to accident or sickness prevents an employee from




 4832-9565-9953.4

Case
Case1:20-bk-00599-HWV
     1:20-bk-00599-HWV Doc
                       Doc840
                            15 Filed
                                Filed02/19/20
                                      12/23/21 Entered
                                                Entered02/19/20
                                                        12/23/2116:15:16
                                                                 17:42:59 Desc
                                                                          Desc
                      Main
                       MainDocument
                            Document PagePage226
                                              19 of 256
                                                    31
 earning a salary for an extended period of time. The Group Long-Term Disability Insurance is

 100% Employee funded.

          88.       The Employees and the employees of the Related Entities are also provided with

 accident insurance (the “Accident Insurance”) through Chubb. Generally, employees working

 thirty (30) hours or more a week are automatically enrolled in the Accident Insurance program at

 no cost to the employee. The Accident Insurance is designed to provide cash assistance that help

 pay for covered treatments required due to injury. The Accident Insurance is 100% Employee

 funded.

          89.       By covering Employees and Non-Debtor Employees under a single plan, the Debtor

 and the Related Entities benefit from significant cost savings as a result of the pooled risk and the

 allocation with the Group Long-Term Disability Insurance and Accident Insurance programs. The

 Debtor believes, and I concur, that a long-term disability insurance plan or accident insurance plan

 for most of these entities alone would be prohibitively expensive and possible unavailable due to

 the small number of employees that would be covered. As of the Petition Date, HCAS, on behalf

 of the Debtor, has withheld approximately $3,000 for the payment of Group Long-Term Disability

 Insurance and Accident Insurance.

          90.       The Debtor offers a 401(k) program (the “401(k) Plan”) for the benefit of Debtor’s

 Employees and the Related Entities. The 401(k) Plan is administered by Fidelity.

          91.       The 401(k) Plan allows eligible Employees to contribute tax-deferred wages

 towards retirement. The Debtor makes contributions to eligible Employee’s 401(k) Plans

 equivalent to 4% of the Employee’s annual wages. The Debtor deducts the Employees’

 contributions from the Employee’s payroll and remits the contributions to Fidelity on behalf of its

 Employees. As of the Petition Date, the Debtor estimates that approximately $10,000 has been




 4832-9565-9953.4

Case
Case1:20-bk-00599-HWV
     1:20-bk-00599-HWV Doc
                       Doc840
                            15 Filed
                                Filed02/19/20
                                      12/23/21 Entered
                                                Entered02/19/20
                                                        12/23/2116:15:16
                                                                 17:42:59 Desc
                                                                          Desc
                      Main
                       MainDocument
                            Document PagePage227
                                              20 of 256
                                                    31
 withheld from its Employees but is yet to be remitted to Fidelity.

          92.       The Employees are provided with paid time off (“PTO” or “Leave Pay”). PTO

 encompasses holidays, vacation, sick leave, personal leave, court duty, bereavement, military

 leave, and office closure.

          93.       The Employees are provided with paid holidays. Employees are entitled to

 approximately sixteen (16) paid holidays each year.

          94.       The Debtor’s vacation pay policy is based primarily on length of service. An

 Employee must have ninety (90) days’ continuous service as a regular salaried employee before

 being entitled to use paid vacation, although Employees begin accruing PTO immediately. In most

 instances, an Employee is entitled to receive compensation for unused vacation days upon

 termination.

          95.       The Debtor’s sick leave policy for full-time employees is accumulated at a rate of

 5.5 hours per pay period. Sick leave is cumulative to 640 working hours. For regular part-time

 employees, sick leave is calculated on a prorated basis. Unused sick days are not paid out upon an

 Employee’s resignation or termination.

          96.       The Employees are provided with one (1) paid personal days per calendar year.

 Personal days taken are deducted from accrued sick time and must be approved in advance.

 Additionally, the Employees are permitted to utilize their accrued PTO for other reasons including

 court duty, bereavement, military leave, and office closures.

          97.       The cost to the Debtor for the Leave Pay is included in gross payroll. Accordingly,

 and with the exception of amounts owing in connection with accrued but unused vacation, all

 prepetition amounts related to the Leave Pay should be included in the aggregate amount of Unpaid

 Compensation.




 4832-9565-9953.4

Case
Case1:20-bk-00599-HWV
     1:20-bk-00599-HWV Doc
                       Doc840
                            15 Filed
                                Filed02/19/20
                                      12/23/21 Entered
                                                Entered02/19/20
                                                        12/23/2116:15:16
                                                                 17:42:59 Desc
                                                                          Desc
                      Main
                       MainDocument
                            Document PagePage228
                                              21 of 256
                                                    31
          98.       The Debtor utilizes a self-insured workers’ compensation program as well as excess

 coverage through Catholic Mutual Relief Society of America (the “Workers’ Compensation

 Program”) for itself and the Related Entities. The Debtor’s average annual claims under the

 Workers’ Compensation Program are approximately $22,700 per year. For the activity period

 ending February 14, 2020, the total amount paid for claims was approximately $2,000.

          99.       By covering their employees under a single workers’ compensation program, the

 Debtor and the Related Entities benefit from significant cost savings as a result of the pooled risk

 and the allocation of plan overhead. Indeed, obtaining workers’ compensation insurance for any

 one of these entities alone would be more expensive due to the small number of employees that

 would be covered.

          100.      Pursuant to that certain Employee Benefits Consulting Services Agreement (the

 “Agreement”) dated July 1, 2017, by and between the Debtor and McConkey Benefits & Financial

 Services, LLC (“McConkey”), McConkey provides assistance with strategic benefit planning,

 design, funding, enrollment, administration, and communication with respect to the Employee

 Benefits. The services provided by McConkey are for the benefit of both the Debtor and its

 Employees as well as the benefit of the Related Entities and the Non-Debtor Employees. Through

 the services provided by McConkey pursuant to the Agreement, the Debtor and its Employees, as

 well as the Related Entities and the Non-Debtor Employees, are able to enroll in more cost

 effective Employee Benefits than any one of these entities and its employees would be afforded

 on their own.

          101.      As compensation for its services under the Agreement, McConkey is paid $156,000

 annually, billed to the Debtor in monthly installments. HCAS collects the Debtor’s and each

 Related Entities pro rata share of the fees owed to McConkey through the collection of premium




 4832-9565-9953.4

Case
Case1:20-bk-00599-HWV
     1:20-bk-00599-HWV Doc
                       Doc840
                            15 Filed
                                Filed02/19/20
                                      12/23/21 Entered
                                                Entered02/19/20
                                                        12/23/2116:15:16
                                                                 17:42:59 Desc
                                                                          Desc
                      Main
                       MainDocument
                            Document PagePage229
                                              22 of 256
                                                    31
 payments for the Plan, Prescription Insurance, and Employee Assistance Program. HCAS made a

 payment to McConkey in the amount of $13,000 on January 2, 2020.

          102.      Therefore, on behalf of the RCDH, I submit the Wage Motion should be granted.

 VI.      Debtor’s Emergency Motion for Entry of Interim and Final Orders
          Authorizing the Debtor to (I) Continue Insurance Coverage Entered into
          Prepetition and Satisfy Prepetition Obligations Related Thereto, (II) Renew,
          Amend, Supplement, Extend, or Purchase Insurance Policies, and
          (III) Granting Related Relief (the “Insurance Motion”).

          103.      In the ordinary course of business, the Debtor maintains insurance policies that are

 administered by Catholic Mutual Relief Society of America and The National Catholic Risk

 Retention Group, among others (collectively, the “Insurance Carriers”). These policies provide

 coverage for, among other things, the Debtor’s property, general liability, automobile liability and

 excess umbrella liability (collectively, the “Insurance Policies”). A schedule of the Insurance

 Policies is attached to the Insurance Motion as Exhibit C.8 The Debtor requests authority to

 continue honoring all obligations under the Insurance Policies on a postpetition basis, in the

 ordinary course of business.

          104.      Continuation of the Debtor’s Insurance Policies, and entry into new insurance

 policies, is essential to the preservation of the value of the Debtor’s operations and property of the

 estate. Further, related non-debtor Catholic entities, such as Catholic schools and ministry outreach

 centers are additional insureds under the Insurance Policies and contribute amounts to the Debtor

 for such coverage. The inclusion of additional insureds under the Insurance Policies and coinciding

 contributions by those additional insureds reduces the cost of the Insurance Policies for the Debtor.


 8 In addition to the Insurance Policies listed on Exhibit C, the Debtor maintains numerous insurance policies with
 respect to, among other things, employee health, dental, disability and life insurance benefits, and worker’s
 compensation. These programs are described, and relief is requested with respect to such programs, in the Debtor’s
 Emergency Motion for Entry of Interim and Final Orders: (I) Authorizing the Debtor to (A) Pay Certain Prepetition
 Wages, Benefits, and Other Compensation and (B) Continue Employee Compensation and Employee Benefits
 Programs; and (II) Granting Related Relief filed contemporaneously with this Motion.


 4832-9565-9953.4

Case
Case1:20-bk-00599-HWV
     1:20-bk-00599-HWV Doc
                       Doc840
                            15 Filed
                                Filed02/19/20
                                      12/23/21 Entered
                                                Entered02/19/20
                                                        12/23/2116:15:16
                                                                 17:42:59 Desc
                                                                          Desc
                      Main
                       MainDocument
                            Document PagePage230
                                              23 of 256
                                                    31
 If the Debtor failed to maintain the Insurance Policies, (a) additional insureds may cease making

 contributions to the Debtor or otherwise withdraw their participation from the Insurance Policies,

 thereby unnecessarily increasing the cost of insurance for the Debtor, and (b) additional insureds

 may have claims against the Debtor and the Debtor’s estate, as a result of any nonpayment or

 resulting cancellation of insurance. Moreover, in many instances, insurance coverage is required

 by the regulations, laws, and contracts that govern the Debtor’s activities, including the Office of

 the United States Trustee’s (the “U.S. Trustee”) requirement that a debtor maintain adequate

 coverage given the circumstances of its chapter 11 case. Accordingly, to ensure uninterrupted

 coverage and continuation of payment plans and schedules between the Debtor and non-debtor

 Catholic related entities covered by the Insurance Policies, the Debtor requests authority to

 maintain its existing Insurance Policies, pay any prepetition obligations related to the Insurance

 Policies, and enter into new Insurance Policies, in the ordinary course of business.

          105.      Pursuant to the Insurance Policies, the Debtor may be required to pay various

 deductibles or retention amounts (the “Insurance Deductibles”), depending upon the type of claim

 and insurance policy involved. Under certain policies, the Insurance Carriers may pay claimants

 and then invoice the Debtor for any Insurance Deductible. In such situations, the Insurance Carriers

 may have prepetition claims against the Debtor. While the Debtor nor I are aware of any Insurance

 Deductibles that are due and owing as of the Petition Date, the Debtor seeks authority to honor

 any amounts owed to the Insurance Carriers, to ensure uninterrupted coverage under its Insurance

 Policies.

          106.      The Debtor utilizes an insurance broker, The Graham Company (collectively, the

 “Insurance Broker”) to obtain its Insurance Policies. The Insurance Broker primarily assists the

 Debtor with the procurement and negotiation of the Insurance Policies, enabling the Debtor to




 4832-9565-9953.4

Case
Case1:20-bk-00599-HWV
     1:20-bk-00599-HWV Doc
                       Doc840
                            15 Filed
                                Filed02/19/20
                                      12/23/21 Entered
                                                Entered02/19/20
                                                        12/23/2116:15:16
                                                                 17:42:59 Desc
                                                                          Desc
                      Main
                       MainDocument
                            Document PagePage231
                                              24 of 256
                                                    31
 obtain the Insurance Policies on advantageous terms and at competitive rates. The Debtor pays

 fees (the “Brokerage Fees”) to the Insurance Broker in an annual amount of Two Hundred

 Thousand Dollars ($200,000). The Brokerage Fees are paid to the Insurance Broker in equal

 monthly payments. While the Debtor nor I are aware of any Brokerage Fees that are due and owing

 as of the Petition Date, the Debtor seeks authority to honor any amounts owed to the Insurance

 Broker, to ensure uninterrupted coverage under its Insurance Policies.

          107.      Therefore, on behalf of the RCDH, I submit the Insurance Motion should be

 granted.

VII.      Debtor’s Motion for Entry of Interim and Final Orders (I) Authorizing
          Continued Use of Existing Cash Management System and Bank Accounts;
          (II) Extending the Time to Comply with, or Seek a Waiver of, Certain United
          States Trustee Requirements and Section 345(b) of the Bankruptcy Code;
          (III) Authorizing the Debtor to Continue Existing Deposit Practices;
          (IV) Authorizing the Debtor to Maintain Investment Practices; and
          (V) Granting Related Relief (the “Cash Management Motion”).

          108.      By the Cash Management Motion, the Debtor requests authority to continue to use

 its Cash Management System in the ordinary course and granting related relief.

          109.      To maintain the efficient operation of the Cash Management System during this

 case, the Debtor also requests its Banks be authorized and directed to continue to administer,

 service, and maintain the Bank Accounts and Investment Accounts, as the Banks were prepetition,

 without interruption and in the Debtor’s ordinary course of business. In that regard, the Debtor

 seeks to continue to receive, process, honor, and pay (or to reissue, as may be necessary) all

 checks, drafts, wires, ACH transfers, electronic fund transfers, or other items presented, issued,

 or drawn on the Bank Accounts (collectively, the “Disbursements”) on account of any claim this

 Court grants the Debtor approval to pay arising before, on, or after the Petition Date, and in

 reliance on the Debtor’s representations of such authority, subject to the applicable Bank



 4832-9565-9953.4

Case
Case1:20-bk-00599-HWV
     1:20-bk-00599-HWV Doc
                       Doc840
                            15 Filed
                                Filed02/19/20
                                      12/23/21 Entered
                                                Entered02/19/20
                                                        12/23/2116:15:16
                                                                 17:42:59 Desc
                                                                          Desc
                      Main
                       MainDocument
                            Document PagePage232
                                              25 of 256
                                                    31
 Accounts containing sufficient funds.

          110.      Both in the Cash Management Motion and in other first-day motions, the Debtor

 seeks authority to pay certain prepetition obligations. For some of these obligations, the Debtor

 issued Disbursements before the Petition Date that have yet to clear. For others, the Debtor will

 issue a Disbursement once it has Court authority to do so. The Debtor requests that the Banks be

 authorized to accept and honor all representations from the Debtor as to which of these

 Disbursements should be honored. If any Banks nevertheless dishonor Court-approved

 Disbursements, the Debtor requests authority to issue replacement Disbursements consistent with

 the orders of this Court.

          111.      Continuity of the Cash Management System is critical to the Debtor’s operations,

 but so is flexibility. To that end, the Debtor also requests authority to implement reasonable

 changes to the Cash Management System that the Debtor may deem necessary or appropriate in

 the ordinary course, including closing any Bank Account and establishing new bank accounts,

 and that the applicable Banks be authorized to honor such changes.

          112.      The Debtor maintains certain Bank Accounts that do not comply with the

 requirements of section 345(b) of the Bankruptcy Code and are maintained at a Bank that is not

 and authorized depository. Specifically, the Debtor maintains an account with Orrstown Bank (the

 “Unapproved Bank”).9 The Unapproved Bank is a highly-rated financial institution that is well-

 capitalized and financially stable, and is insured by the Federal Deposit Insurance Corporation

 (the “FDIC”). Requiring the Debtor to transfer these Bank Accounts to a designated authorized

 depository so early in the case would place a needless administrative burden on the Debtor that

 would unnecessarily divert the attention of the Debtor’s management and advisors at a critical



 9 As of February 18, 2020, the account at Orrstown Bank contained $565.00.



 4832-9565-9953.4

Case
Case1:20-bk-00599-HWV
     1:20-bk-00599-HWV Doc
                       Doc840
                            15 Filed
                                Filed02/19/20
                                      12/23/21 Entered
                                                Entered02/19/20
                                                        12/23/2116:15:16
                                                                 17:42:59 Desc
                                                                          Desc
                      Main
                       MainDocument
                            Document PagePage233
                                              26 of 256
                                                    31
 juncture in the Chapter 11 Case.

          113.      The Debtor maintains a credit card account solely in its name with PNC Bank (the

 “Credit Card”). The Debtor and certain Related Entities each have possession of a Credit Card

 and are permitted to make purchases with the Credit Card. At the closing of each billing cycle,

 HCAS pays one consolidated bill and bills each Related Entity for its charges to the Credit Card

 during the previous billing cycle. The Credit Card has an aggregate limit of $500,000 with each

 individual Credit Card limit ranging from $150 to $75,000. The Credit Card is unsecured. The

 Debtor wishes to continue using the Credit Card in the ordinary course of business.

          114.      The Cash Management System is an integrated network of bank accounts that is

 critical to the Debtor’s operations during this case and, in turn, maximizing the value of the

 Debtor’s estate. The Debtor has designed the Cash Management System to meet its operating

 needs, enable management to control and monitor funds, reduce administrative expenses by

 facilitating the movement of funds, and enhance the development of accurate account balances.

 The Debtor has maintained its Cash Management System for many years, and the cash

 management system has served as the primary funds flow mechanism for the Debtor’s ordinary,

 usual, and essential business operations.

          115.      As of the Petition Date, the Cash Management System includes seventeen (17)

 bank accounts listed on Exhibit C to the Cash Management Motion located at four (4) commercial

 banks used in the ordinary course of the Debtor’s business. The Debtor routinely deposits,

 withdraws, and otherwise transfers money to, from, and between the Bank Accounts by various

 methods (collectively, the “Ordinary Transfer Methods”), including by checks, drafts, ACH

 transfers, and other electronic funds transfers.

          116.      The Debtor’s primary operating accounts are held at PNC Bank. These include an




 4832-9565-9953.4

Case
Case1:20-bk-00599-HWV
     1:20-bk-00599-HWV Doc
                       Doc840
                            15 Filed
                                Filed02/19/20
                                      12/23/21 Entered
                                                Entered02/19/20
                                                        12/23/2116:15:16
                                                                 17:42:59 Desc
                                                                          Desc
                      Main
                       MainDocument
                            Document PagePage234
                                              27 of 256
                                                    31
 operating account, payroll disbursement account, and insurance disbursement account. The

 Debtor also maintains operating accounts at First National Bank of Pennsylvania. These include

 a credit card, operating account, payroll, deposit account, money market account, and survivors

 compensation account. The Debtor also has one cemetery deposit account at M&T Bank.

          117.      In order to take advantage of the economies of scale and to reduce the costs

 associated with administrative and benefit program expenses, the Debtor and its non-debtor

 related entities (the “Related Entities”) participate in a consolidated payroll disbursement as well

 consolidated employee benefit plans (as more fully described in the Debtor’s Emergency Motion

 for Entry of Interim and Final Orders: (I) Authorizing the Debtor to (A) Pay Certain Prepetition

 Wages, Benefits, and Other Compensation and (B) Continue Employee Compensation and

 Benefits Programs; and (II) Granting Related Relief filed contemporaneously herewith) that are

 processed by Harrisburg Catholic Administrative Services, Inc. (“HCAS”). The Debtor and

 participating Related Entities each fund the costs associated with their own employees’ payroll

 and benefits to the Debtor’s payroll Bank Account. HCAS then disperses payments from the Bank

 Account to the appropriate parties on behalf of the Debtor and Related Entities, respectively.

          118.      The majority of the Related Entities maintain their own bank accounts registered

 under separate employer identification numbers (each, an “EIN”). However, some Related Entities

 maintain accounts for their day-to-day operations in bank accounts registered under the Debtor’s

 EIN. Although these accounts are registered under the Debtor’s EIN, they are not the Debtor’s

 Bank Accounts and the funds held in them are not the property of the Debtor’s estate. The list of

 Bank Accounts designated on Exhibit C attached to the Cash Management Motion does not

 include any Related Entities’ bank accounts registered under the Debtor’s EIN.




 4832-9565-9953.4

Case
Case1:20-bk-00599-HWV
     1:20-bk-00599-HWV Doc
                       Doc840
                            15 Filed
                                Filed02/19/20
                                      12/23/21 Entered
                                                Entered02/19/20
                                                        12/23/2116:15:16
                                                                 17:42:59 Desc
                                                                          Desc
                      Main
                       MainDocument
                            Document PagePage235
                                              28 of 256
                                                    31
          119.      In the ordinary course of business, the Debtor uses a variety of checks,

 correspondence, and business forms. To minimize expenses to the Debtor’s estate and avoid

 unnecessarily confusing the Debtor’s employees and creditors, the Debtor believes it is appropriate

 to continue to use the existing stock of checks, correspondence, and other business forms

 (including, without limitation, letterhead, purchase orders, and invoices) (collectively, the

 “Business Forms”) as such forms were in existence immediately before the Petition Date—

 without reference to the Debtor’s status as debtor-in-possession—rather than disposing of the

 existing forms and delaying operations until new Business Forms are obtained, or requiring the

 Debtor to include a legend on Business Forms that would cause unnecessary confusion. After

 existing Business Forms are depleted, but no later than forty-five (45) days from the Petition Date,

 the Debtor’s Business Forms will identify the Debtor’s status as debtor-in-possession.

          120.      The Debtor incurs periodic service charges and other fees in connection with the

 maintenance of the Cash Management System, which fees and services are generally paid each

 month (the “Bank Fees”). The Debtor has historically incurred Bank Fees of approximately $4,300

 per month, which are debited from the respective Bank Account for which the Bank Fee was

 incurred. As of the Petition Date, the Debtor estimates that approximately $4,300 in Bank Fees

 have accrued and remain unpaid and seeks permission to pay these Bank Fees and continue paying

 the Bank Fees in accordance with past practices.

          121.      The Debtor maintains a bank account at Orrstown Bank which is not on the list of

 approved depository banks in this District. As set forth below, the Debtor seeks an extension of

 the time to comply with certain U.S. Trustee guidelines and section 345(b) of the Bankruptcy Code

 with respect to the Bank Accounts held at the Unapproved Bank to forty-five (45) days from the

 Petition Date.




 4832-9565-9953.4

Case
Case1:20-bk-00599-HWV
     1:20-bk-00599-HWV Doc
                       Doc840
                            15 Filed
                                Filed02/19/20
                                      12/23/21 Entered
                                                Entered02/19/20
                                                        12/23/2116:15:16
                                                                 17:42:59 Desc
                                                                          Desc
                      Main
                       MainDocument
                            Document PagePage236
                                              29 of 256
                                                    31
          122.      In addition to its Bank Accounts, as of the Petition Date the Debtor, in the ordinary

 course of business, maintains twelve (12) investment accounts (the “Investment Accounts”) listed

 on Exhibit D to the Cash Management Motion with Select Asset Management, Bryn Mawr Trust,

 ISI Financial Group, and S&T Bank (the “Investment Banks”). While maintained by the Debtor,

 the Investment Accounts are custodial funds held in trust by the Debtor, which include, among

 other things, perpetual care funds and funds held on behalf of the FOCUS Trust, the Priest Pension

 Plan (as defined in the Informational Brief), Diocese of Harrisburg School and Parish Trust Fund

 (as defined in the Informational Brief), and Charitable Trust (as defined in the Informational Brief)

 for investment purposes. While maintained by the Debtor for purposes of improved investing, the

 Debtor holds only bare legal title to the funds, with the funds and use of the funds being governed

 exclusively by the respective trust documents (i.e., the Charitable Trust Agreement (as defined in

 the Informational Brief), Irrevocable Trust Agreement (as defined in the Informational Brief), and

 declaration of trust with respect to the FOCUS Trust). Because the funds in the Investment

 Accounts are custodial funds held in trust by the Debtor, the Debtor respectfully requests

 authorization to maintain the Investment Accounts at the Investment Banks.

          123.      The Debtor and PNC Bank are parties to a credit card agreement for the Credit Card

 (the “Credit Card Agreement”) with an aggregate charge limit of $500,000. The Debtor has issued

 262 Credit Cards to key staff and personal of the Debtor as well as certain Related Entities for their

 use in the ordinary course of business.

          124.      Therefore, on behalf of the RCDH, I submit the Cash Management Motion should

 be granted.

                               [Remainder of Page Intentionally Left Blank]




 4832-9565-9953.4

Case
Case1:20-bk-00599-HWV
     1:20-bk-00599-HWV Doc
                       Doc840
                            15 Filed
                                Filed02/19/20
                                      12/23/21 Entered
                                                Entered02/19/20
                                                        12/23/2116:15:16
                                                                 17:42:59 Desc
                                                                          Desc
                      Main
                       MainDocument
                            Document PagePage237
                                              30 of 256
                                                    31
          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

 and correct to the best of my knowledge, information, and belief.

 Executed on February 19, 2020


                                                /s/ Christopher G. Linscott
                                                Christopher G. Linscott




 4832-9565-9953.4

Case
Case1:20-bk-00599-HWV
     1:20-bk-00599-HWV Doc
                       Doc840
                            15 Filed
                                Filed02/19/20
                                      12/23/21 Entered
                                                Entered02/19/20
                                                        12/23/2116:15:16
                                                                 17:42:59 Desc
                                                                          Desc
                      Main
                       MainDocument
                            Document PagePage238
                                              31 of 256
                                                    31
                               EXHIBIT H




Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 239 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 240 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 241 of 256
                               EXHIBIT I




Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 242 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 243 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 244 of 256
Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 245 of 256
                               EXHIBIT J




Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 246 of 256
                                                                                                      Edwin Caldie
                                                                                                             PARTNER
                                                                                                  DIRECT: 612.335.1404
                                                                                                  OFFICE: 612.335.1500

                                                                                                  ed.caldie@stinson.com

 December 10, 2021

 VIA EMAIL

 Blake D. Roth
 Waller Lansden Dortch & Davis, LLP
 511 Union Street, Suite 2700
 Nashville, TN 37219


 Re:     In re: Roman Catholic Diocese of Harrisburg (Bankr. M.D. Pa., Case No. 1-20-bk-
         00599 (HWV)) – Demand to Prosecute Claims or Stipulate to Committee Standing to
         Prosecute Claims

 Dear Blake,

          The Official Committee of Unsecured Creditors for the Roman Catholic Diocese of Harrisburg (the
 “Committee”) has concluded that the bankruptcy estate (the “Estate”) of the Roman Catholic Diocese of
 Harrisburg (the “Debtor”) has claims against the Roman Catholic Diocese of Harrisburg Charitable Trust
 and the Roman Catholic Diocese of Harrisburg Real Estate Trust under the Pennsylvania Uniform Voidable
 Transactions Act (“PUVTA”), 12 Pa. Cons. Stat. §§ 5101-5110 and 11 U.S.C. 544 and 550 (the “Claims”) that
 it must pursue to maximize its value and fulfill its fiduciary and other duties to the Estate and its creditors.
 The Claims are summarized in the attached document titled “Analysis of Trust Transfer Claims.” Given your
 previous statements dating back to at least September 2020, and your failure to respond to the e-mail sent
 to you on December 1, 2021, which requested that the Debtor stipulate to an order granting the Committee
 derivative standing to pursue the Claims, the Committee does not believe that the Debtor has any intention
 of prosecuting the Claims or stipulating to Committee standing to prosecute the Claims. Nonetheless, the
 Committee hereby demands that the Debtor prosecute the Claims available to its estate under 12 Pa. Cons.
 Stat. §§ 5101-5110 and 11 U.S.C. 544.

          Please let me know no later than 4:30 p.m. prevailing eastern time on December 22, 2021,
 whether the Debtor agrees or declines to prosecute the Claims and, if it declines, whether the Debtor will
 stipulate to allow the Committee standing to prosecute the Claims. If we do not hear back from you by 4:30
 p.m. prevailing eastern time on December 22, 2021, we will assume that the Debtor both declines to
 prosecute the Claims on behalf of the estate and that it will not stipulate to allow the Committee to prosecute
 the Claims and will proceed by filing a motion for derivative standing to allow the Committee to prosecute
 the Claims in order to protect the Estate’s, and its creditors’ interests.

           Please be advised that the Committee does not concede that it must obtain derivative standing to
 bring one or more of the Claims and that the Committee reserves all rights to take a contrary position. This
 demand is being made in an abundance of caution to avoid timing issues. Specifically, given that the Debtor
 filed its bankruptcy case on February 19, 2020, the Claims likely must be asserted by February 19, 2022. 11
 U.S.C. 546(a).




                             50 South Sixth Street, Suite 2600, Minneapolis, MN 55402




Case 1:20-bk-00599-HWV            Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                         Desc
                                 Main Document   Page 247 of 256
 December 10, 2021
 Page 2


 Sincerely,

 Stinson LLP




 Edwin H. Caldie

 EHC:lrk




Case 1:20-bk-00599-HWV    Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59   Desc
                         Main Document   Page 248 of 256
                                    Analysis of Trust Transfer Claims

                                                    Background

         On November 13, 2009, the Roman Catholic Diocese of Harrisburg (“the Diocese”)
 transferred substantially all of its assets into two charitable trusts. In one trust instrument,
 then-Bishop Kevin Rhoades declared that he held all the Diocese’s non-real estate assets
 as Trustee of the Roman Catholic Diocese of Harrisburg Charitable Trust (“Charitable
 Trust”). See Charitable Trust § 1.2(a). In another, Bishop Rhoades declared that he held
 all the Diocese’s real estate as Trustee of the Roman Catholic Diocese of Harrisburg Real
 Estate Trust (“Real Estate Trust”). See Real Estate Trust § 1.2(a). For ease of reference,
 we refer to the Charitable Trust and Real Estate Trust as the “2009 Trusts.”

        The 2009 Trusts are significant for three reasons. First, at the moment of their
 creation, they contained all (or substantially all) of the Diocese’s assets. Thus, as of
 November 13, 2009, the Diocese purported to have no assets whatsoever. The Diocese’s
 informational brief embraces this scenario, claiming that the “Charitable Trust is the
 primary source of funding of the [Diocese]” and that the Diocese has “very limited assets.”
 Informational Br. ¶¶ 49, 150.

                                                                                         both
 Trusts exist solely to carry out Diocesan operations. The Charitable Trust states that its
 purpose is to “perform the functions of, and to carry out the purposes of the Roman
 Catholic Church, specifically in carrying out Diocesan operations within the territorial
 confines of the Diocese.” E.g., Charitable Trust § 1.1(a) (emphasis added). Similarly, the
 Real Estate Trust states that its purpose is to “carry[] out Diocesan operations relating to
 real property within the territorial confines of the Diocese.” Real Estate Trust § 1.1(a).

        Third, the 2009 Trusts both contain spendthrift clauses. Each Declaration of Trust
 states that Trust assets “shall not be subject to voluntary or involuntary assignment,
 transfer, anticipation, legal process, judgments or claims of creditors of . . . any other trust
 or other entity held or administered by the same Trustee, or affiliated in any way with the
 Diocese of Harrisburg.” Charitable Trust § 1.2(c); Real Estate Trust § 1.2(c). The Diocese
 goes a step further in its informational brief, stating that “no assets” of either 2009 Trust
 are assets of the estate. Informational Br. ¶¶ 50, 57.




        The Diocese has likely commingled Charitable Trust assets with other Diocese-
 related funds. The informational brief acknowledges that, until February 2018, the Diocese

 1 These figures are from the account statements for the period ending January 31, 2020.


                                 50 South Sixth Street, Suite 2600, Minneapolis, MN 55402



 CORE/9990000.2173/171463570.1
Case 1:20-bk-00599-HWV                Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59      Desc
                                     Main Document   Page 249 of 256
 held “funds and other property” belonging to parishes and schools in the Charitable Trust.
 Informational Br. ¶ 73-74. The Diocese purported to fix this problem in 2018 by creating
 yet another trust, the “Roman Catholic Diocese of Harrisburg Irrevocable Trust,” for
 purposes of holding funds deposited by parishes and schools. Id. ¶¶ 75-76.




                          This program resulted in $12.5 million in payments to survivors.
 Informational Br. ¶ 145. The Diocese’s website states that funding came from the priest
 pension plan and “other existing Diocesan assets.” The informational brief does not
 provide any more detail, stating only that the Diocese borrowed a portion of the settlement
 funds from the pension plan—which was underfunded at the time—while another portion
 came from “certain religious entities that also participated in the SCP.” Informational Br.
 ¶¶ 131, 145. This lack of specificity appears intentional, thus calling into question whether
 the Diocese tapped into Charitable Trust, or Irrevocable Trust, or both to fund the
 settlements.
                                                  In any event, since the Diocese has no other
 source of funds from which it could repay the pension plan, it follows that the Charitable
 Trust, at a minimum, is an indirect source of funding for the voluntary settlements.

        Lastly, there does not appear to be contemporaneous local media coverage
 discussing the creation of the 2009 Trusts. Indeed, we found no media coverage of the
 Trusts at all until after the Diocese filed its bankruptcy petition. We are also unaware of
 any facts that would have put a reasonable survivor on notice that the Diocese had
 transferred all (or nearly all) of its assets into the 2009 Trusts until after the petition date.

                                            Analysis

        This analysis addresses whether viable legal claims exist to unwind the 2009 Trusts
 or otherwise bring their assets into the bankruptcy estate. Three principle theories of
 recovery are addressed: fraudulent transfer, the rule against self-settled spendthrift trusts,
 and alter ego liability. Based on this analysis, strong claims exist to bring the 2009 Trusts
 into the bankruptcy estate under each theory.

     1. A strong claim exists for actual fraud under Pennsylvania fraudulent
        transfer law.

        The Pennsylvania Uniform Voidable Transactions Act (PUVTA) includes a cause of
 action for actual fraud. 12 Pa. C.S. §§ 5101-5110. A creditor may assert a claim for “actual
 fraud” if the debtor made the transfer or incurred the obligation with “actual intent to
 hinder, delay, or defraud any creditor of the debtor.” 12 Pa. C.S. § 5104(a)(1). The




 CORE/9990000.2173/171463570.1
Case 1:20-bk-00599-HWV            Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59           Desc
                                 Main Document   Page 250 of 256
 Diocese’s informational brief outlines sufficient information to assert claims for actual
 fraud.2

         A claim to avoid a transfer made with actual intent to defraud is extinguished unless
 it is brought “not later than four years after the transfer was made or the obligation was
 incurred or, if later, not later than one year after the transfer or obligation was or could
 reasonably have been discovered by the claimant.” 12 Pa. C.S. § 5109(1) (emphasis
 added).3 Under the discovery rule, the statute of limitations is tolled when “a plaintiff,
 ‘despite the exercise of due diligence, is unable to know of the existence of the injury and
 its cause.’” Cordua, 834 F. Supp. 2d at 306 (quoting Bohus v. Beloff, 950 F.2d 919, 924 (3d
 Cir. 1991)). The applicable limitations period therefore begins to run when the plaintiff
 discovers “the alleged fraudulent nature of the transfer at issue.” Santander Bank, N.A. v.
 Branch Banking & Tr. Co., No. 1:17-CV-01669, 2018 WL 8368857, at *3 (M.D. Pa. Feb. 5,
 2018).

         To determine when the discovery rule is triggered, a court must determine the point
 when the plaintiff knew or reasonably should have known that it was injured and that its
 injury was caused by another’s conduct. State Farm, 834 F. Supp. 2d at 306. “The relevant
 inquiry then is not plaintiff’s actual knowledge, but rather whether the knowledge was
 known, or through the exercise of diligence, knowable to the plaintiff.” Id. (quotation
 omitted). Fact issues pertaining to a plaintiff’s notice and diligence are typically reserved
 for the jury. See, e.g., Rice v. Diocese of Altoona-Johnstown, 212 A.3d 1055, 1066 (Pa.
 Super. Ct. 2019) (holding that whether abuse survivors exercised diligence in investigating
 tort claims was jury question), review granted (Pa. Mar. 2, 2020).

        In State Farm v. Cordua, the court determined that the defendants failed to
 establish that the plaintiffs knew or should have known about the fraudulent nature of the
 transfers, “[a]lthough the underlying claim reeked of fraudulent activity.” Cordua, 834 F.
 Supp. 2d at 308. Stating that an “action for fraudulent transfers requires money to be
 transferred to a third party,” the court concluded that “checks alone would not reasonably
 lead Plaintiffs to assume that Defendants were involved in a fraudulent check cashing
 scheme….” Id.; see also Santander Bank, N.A. v. Branch Banking & Trust Co., No. 1:17-
 CV-01669, 2020 WL 42724, at *6 (M.D. Pa. Jan. 3, 2020) (holding that summary
 judgment was inappropriate where defendant argued that plaintiff should have noticed


 2 The informational brief explains that, as part of the Diocese’s restructuring in 2009, it transferred all its
 assets into the 2009 Trusts. These transfers likely rendered the Diocese insolvent, supporting a claim for
 constructive fraud. See 12 Pa. C.S. § 5104(a)(2). As to actual fraud, at least five “badges of fraud” appear to
 exist based on the informational brief: (i) the Diocese retained possession or control of the property
 transferred after the transfers; (ii) before the transfers were made, the Diocese had been sued or threatened
 with suit; (iii) the transfers included substantially all of the Diocese’s assets; (iv) the Diocese likely became
 insolvent shortly after the transfers were made; and (v) the Diocese did not receive any consideration, much
 less consideration that was reasonably equivalent in value to the assets transferred. 12 Pa. C.S. § 5014(b).
 3 As a threshold issue, a “transfer” under the PUVTA includes “[e]very mode, direct or indirect, absolute or
 conditional, voluntary or involuntary, of disposing of or parting with an asset or an interest in an asset.” 12
 Pa. C.S. § 5101(b). This definition includes transfers to a trust. In re Ezra, 537 B.R. 924 (B.A.P. 9th Cir.
 2015) (affirming district court’s judgment avoiding two deeds of trust as fraudulent transfers under
 California law and the Bankruptcy Code).



 CORE/9990000.2173/171463570.1
Case 1:20-bk-00599-HWV             Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                         Desc
                                  Main Document   Page 251 of 256
 numerous red flags indicating fraud, but plaintiff maintained that a reasonably diligent
 banker would not have discovered the fraud before it actually did so).

        In a more analogous case, In re Archdiocese of Milwaukee, the court analyzed the
 discovery rule in a case involving a diocese’s transfer of funds to a trust. 483 B.R. 855
 (Bankr. E.D. Wis. 2012). There, the Archdiocese of Milwaukee transferred $35 million
 from the “Parish Deposit Fund” to a trust fund seven years prior to filing for bankruptcy.
 Id. at 858. The Committee of Unsecured Creditors asserted that the diocese made the
 transfer with actual intent to defraud creditors based on the minutes of a 2003 finance
 committee meeting, in which the committee discussed creating a trust to “shelter” the
 fund. Id. Noting that more than four years had passed since the date of the transfer, the
 court applied the discovery rule. Id. at 863.

        The diocese argued that the public disclosure of the transfer put creditors on inquiry
 notice. Id. at 864. In support of its argument, the diocese submitted the affidavit of an
 employee, who stated that the diocese disclosed the parish fund in financial statements on
 its website. Id. at 863. And after the diocese closed the fund, the employee explained that
 the diocese sent a letter to the Parishes advising them of the option to have their funds
 returned or to participate in the new trust. Id. at 864.

        The court disagreed, reasoning that the publicity of the financial statements,
 without more, did not clearly disclose the transfer. Id. at 866. Although the court
 acknowledged that the disappearance of a large “noncurrent asset” was available for
 investigation, the diocese’s brief statement that the fund was closed did not suggest that
 millions of dollars were transferred. The court further noted that the committee minutes
 stating that the purpose of the trust was to “shelter” the Parish Deposit Fund was not
 revealed until discovery in the bankruptcy case. Id. Accordingly, the court found that the
 Committee stated a plausible claim that a creditor reasonably could not have discovered
 the transfer. Id. at 866.

        Here, the Committee could survive a motion to dismiss a claim that the Diocese
 created the 2009 Trusts with actual intent to defraud creditors. We are not aware of
 anything that would have put a reasonable unsecured creditor (including an abuse
 survivor) on notice that the Diocese transferred all of its assets in November 2009. We
 found no local press coverage surrounding the creation of the Trusts, and nothing on the
 Diocese’s website informs readers that it transferred all of its assets into the Trusts (and
 thus would be unable to pay its creditors). This situation is analogous to the facts in the
 Milwaukee decision, where the court held that publication of financial statements alone is
 insufficient to place creditors on inquiry notice.

     2. A strong claim exists under Pennsylvania trust law.

        A strong claim also can be asserted on grounds that the spendthrift provisions in
 the 2009 Trusts, which purport to bar claims against Trust assets by creditors of the
 Diocese, are unenforceable under Pennsylvania law. Specifically, the spendthrift
 provisions in each Trust are likely void because the Trusts are, in effect, self-settled.
 Further, the 2009 Trusts are legally unenforceable to the extent they were created for an



 CORE/9990000.2173/171463570.1
Case 1:20-bk-00599-HWV            Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59       Desc
                                 Main Document   Page 252 of 256
 improper purpose—namely, to shield the Diocese’s assets from liability to abuse survivors
 or other unsecured creditors.

              a. The spendthrift provision in each trust instrument is invalid
                 because both trusts are self-settled.

                                                                                  , yet each
 plainly functions to benefit the Diocese and only the Diocese. Under these facts, there is a
 strong argument that the 2009 Trusts are self-settled, such that their spendthrift
 provisions are unenforceable.

        Under Pennsylvania law, a spendthrift trust exists when there is an express
 provision in the trust instrument that forbids alienation of a beneficiary’s interest by
 creditors. In re Keeler’s Estate, 3 A.2d 413, 415 (Pa. 1939); Wilson v. United States, 372
 F.2d 232, 234 (3d Cir. 1967). An owner may create a trust to give the beneficiary the
 beneficial interest of the property, while also protecting the property from the beneficiary’s
 creditors. C.I.T. Corp. v. Flint, 5 A.2d 126, 128 (Pa. 1939).

        It is against public policy, however, for the creator of a spendthrift trust and the
 beneficiary to be one and the same. A person may not establish a trust in which she retains
 the beneficial interest in the trust property, while at the same time placing the property
 beyond the reach of her creditors. In re Mogridge’s Estate, 20 A.2d 307 (Pa. 1941). A
 provision barring a creditor from reaching the interest of the settlor-beneficiary is
 therefore not enforceable under the common law of Pennsylvania. Morton v. Morton, 147
 A.2d 150, 151–52 (Pa. 1959). Bankruptcy courts in Pennsylvania have acknowledged that
 such an alleged trust does not fall within the scope of 11 U.S.C. § 542(c)(2) and should not
 be excluded from the bankruptcy estate. Walsh v. Hendrickson (In re Hendrickson), 274
 B.R. 138, 148 (Bankr. W.D. Pa. 2002) (holding that anti-assignment language in structured
 settlement agreement did not create a trust under Pennsylvania law).

        The Trusts are very likely self-settled. First, the Diocese appears to be the settlor of
 both Trusts. Under Pennsylvania law, a settlor is “[a] person, including a testator, who
 creates or contributes property to a trust.” 20 Pa. C.S. § 7703. “If more than one person
 creates or contributes property to a trust, each person is a settlor of the portion of the trust
 property attributable to that person’s contribution except to the extent another person has
 the power to revoke or withdraw that portion.” Id. Here, the plain terms of the trust
 instruments suggest the Diocese is the settlor: each Declaration of Trust states
                                                               ”




          Second,

                the Trusts operate solely to benefit the diocese. The general rule is that the
 beneficiary of a charitable trust is the general public “to whom the social and economic
 advantages of the trust[] accrue[s].” In re Pruner’s Estate, 136 A.2d 107, 109 (Pa. 1957). It



 CORE/9990000.2173/171463570.1
Case 1:20-bk-00599-HWV            Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59          Desc
                                 Main Document   Page 253 of 256
 is also well-established that “[t]he essential part of the definition of a charity is that the
 persons who are to receive it must be indefinite and uncertain; in other words, they must
 be of a class; for if a gift be made to individuals by name or description, so that they may
 be selected and set apart, although they are of a class, the gift is not a charity, but a legacy.”
 Case of Apprentices’ Fund, 2 Pa. D. 435, 437 (C. P. 1893). Although the 2009 Trusts
 purport to function solely for the benefit of the Roman Catholic Church, this benefit is
 limited to “carrying out Diocesan operations within the territorial confines of the Diocese.”
 Charitable Trust § 1.1(a). Thus, rather than benefitting the general public, the 2009 Trusts
 operate to fund the Diocese’s own operations or otherwise benefit the Diocese.

        If the court finds that the Diocese is both the settlor and beneficiary of the 2009
 Trusts, then the spendthrift provisions will be unenforceable, and creditors of the Diocese
 will be allowed to reach the Trust assets. In other words, they will become part of the
 Diocese's bankruptcy estate.

              b. The Charitable Trust is invalid because it has an improper
                 purpose.

         Under Pennsylvania law, “a trust may be created only to the extent its purposes are
 lawful and not contrary to public policy.” 20 Pa. C.S. § 7734. Generally, a trust has an
 illegal purpose if: (1) its performance involves the commission of a criminal or tortious act
 by the trustee; (2) the settlor’s purpose in creating the trust was to defraud creditors; or
 (3) the consideration for the creation of the trust was illegal. 20 Pa. C.S. § 7734 cmt. An
 assertion that the Diocese transferred the funds to the trusts with actual intent to hinder,
 delay, or defraud creditors under 12 Pa. Cons. Stat. § 5104(a)(1), would therefore also
 invalidate the 2009 Trusts as a matter of trust law.

     3. Creditors of the Diocese can pierce the 2009 Trusts under a theory of
        alter ego liability.

        Finally, a strong and viable claim exists that the 2009 Trusts are the alter egos of
 the Diocese.

        Pennsylvania law imposes a strong presumption against piercing the corporate veil.
 Lumax Indus. Inc. v. Aultman, 543 Pa. 38, 669 A.2d 893 (1995). The general rule is that
 a corporation will be regarded as an independent entity even if its stock is owned entirely
 by one person. Id. Nevertheless, “a court will not hesitate to treat as identical the
 corporation and the individuals owning all its stock and assets whenever justice and public
 policy demand and when the rights of innocent parties are not prejudiced thereby nor the
 theory of corporate entity made useless.” Kellytown Co. v. Williams, 426 A.2d 663, 668
 (Pa. Super. Ct. 1981). “[T]he corporate form will be disregarded only when the entity is
 used to defeat public convenience, justify wrong, protect fraud or defend crime.” First
 Realvest, Inc. v. Avery Builders, Inc., 600 A.2d 601, 604 (Pa. Super. Ct. 1991) (quotation
 omitted).

       An alter ego claim requires proof that: (1) the party exercised sufficient domination
 and control over the corporation; and (2) injustice will result if the corporate fiction is



 CORE/9990000.2173/171463570.1
Case 1:20-bk-00599-HWV            Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59            Desc
                                 Main Document   Page 254 of 256
 maintained despite a unity of interests between the corporation and its principal.
 Allegheny Energy Supply Co., LLC v. Wolf Run Min. Co., 53 A.3d 53, 58 n.7 (Pa. Super.
 Ct. 2012). For the second element, no single test has been enunciated. Rather, courts will
 look to whether the totality of the circumstances warrants piercing the corporate veil. See
 Ragan v. Tri–County Excavating, Inc., 62 F.3d 501, 516 (3d Cir. 1995) (identifying factors
 to be relied upon when determining alter ego liability); In re Diloreto, 2006 WL 2974156,
 at *3 (E.D. Pa. Oct.13, 2006) (“Under Pennsylvania law, courts apply a ‘totality of the
 circumstances’ test when determining whether to pierce the corporate veil and impose
 alter ego liability.”). Pennsylvania courts consider “undercapitalization, failure to adhere
 to corporate formalities, substantial intermingling of corporate and personal affairs and
 use of the corporate form to perpetuate a fraud.” Advanced Tel. Sys., Inc. v. Com-Net Prof’l
 Mobile Radio, LLC, 846 A.2d 1264, 1278 (Pa. Super. Ct. 2004) (quotation omitted).

         Pennsylvania state courts have not yet addressed whether veil-piercing principles
 apply to trusts. Rosenberg v. DVI Receivables, XIV, LLC, 400 F. Supp. 3d 236, 250 (E.D.
 Pa. 2019) (“The question of whether the theory of veil-piercing applies to trusts is a matter
 of state law, and Pennsylvania courts have not resolved this issue.”). In other jurisdictions,
 however, courts routinely apply alter ego theories to pierce the veil of trusts. In In re
 Maghezah, for example, the court pierced the veil of an estate planning trust where the
 debtor treated the trust “as his own personal vehicle to shield his assets from his creditors
 and to perpetrate a fraud.” 310 B.R. 5, 18 (Bankr. E.D.N.Y. 2004). Applying the badges of
 fraud, the court found that the debtor intended to conceal his assets from creditors, thus
 permitting creditors to reach the trust assets. Id.; see also Babitt v. Vebeliunas (In re
 Vebeliunas), 332 F.3d 85, 91 (2d Cir. 2003) (recognizing that New York courts have
 allowed trust piercing where the “respective parties used trusts to conceal assets or engage
 in fraudulent conveyances to shield funds from adverse judgments); Limbright v.
 Hofmeister, 688 F. Supp. 2d 679, 686 (E.D. Ky. 2010) (applying alter ego theory to family
 trusts); In re Gillespie, 269 B.R. 383 (Bankr. E.D. Ark. 2001) (concluding that trust was
 debtor’s alter ego making entire trust property of bankruptcy estate); Bracken v. Earl, 40
 S.W.3d 499, 503 (Tenn. Ct. App. 2000) (concluding that individual was alter ego of “so-
 called trust” which was created as a “means for defendant to protect himself from liability
 when investing in other people’s money in risky ventures”); In re Bellardita, No. 05-
 60471-A-7, 2008 WL 4296554 (Bankr. E.D. Cal. Sept. 19, 2008) (concluding that trust was
 alter ego of debtor because debtor treated trust assets as her own and disregarded
 formalities).4

         A strong claim exists that the 2009 Trusts are the alter egos of the Diocese and thus
 property of the bankruptcy estate. See Mass v. Bell Atlantic Tricon Leasing Corp. (In re
 Mass), 178 B.R. 626, 631 (M.D. Pa. 1995) (holding that debtors’ corporation was an alter
 ego of the individual debtors and therefore assets were included in bankruptcy estate).
 First, the Diocese exerts sufficient control over the Trusts, because the Bishop is Trustee
 and controls all Trust assets. Second, the 2009 Trusts are used for one purpose—to fund
 and carry out the Diocese’s operations. Nothing appears to have change between
 November 12, 2009, the day before the Trusts were created, and present. At all times, the

 4 One court has noted that nearly every court to have addressed the issue…has concluded that alter ego
 liability should apply to trusts to the same extent it applies to other legally created fictions.” Bash v.
 Williams, No. 5:16 CV 257, 2016 WL 1592445, at *3 (N.D. Ohio Apr. 20, 2016).



 CORE/9990000.2173/171463570.1
Case 1:20-bk-00599-HWV            Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59                   Desc
                                 Main Document   Page 255 of 256
 Bishop used the same assets for the same purpose; the change in title was in name only.
 Third, the Diocese claims to have no assets of its own, thus suggesting the Diocese is
 undercapitalized. And fourth, allowing the Diocese to avoid liabilities to survivors of sexual
 abuse would plainly constitute an injustice.

                                              Conclusion

         We believe the estate has at least three potential avenues for bringing the 2009
 Trusts into the bankruptcy estate: the law of fraudulent transfers, the rule against self-
 settled spendthrift trusts, and equitable principles of veil-piercing. Each of these claims is
 promising (i.e., far more likely than not to succeed on the merits) and could permit the
 estate to recover tens of millions of dollars for survivors of clergy abuse and other creditors.
 Either the estate must assert these Claims or the Committee must take the actions
 necessary to do so itself.




 CORE/9990000.2173/171463570.1
Case 1:20-bk-00599-HWV            Doc 840 Filed 12/23/21 Entered 12/23/21 17:42:59          Desc
                                 Main Document   Page 256 of 256
